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         Bagley Declaration
             Exhibit B
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                 Exhibit B(1)
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                                                                   Page 1

 1
 2                 UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK
 3      ---------------------------------x
        TWELVE SIXTY LLC, ARON
 4      MARDEROSIAN and ROBERT
        MARDEROSIAN,
 5
                              Plaintiffs,
 6
                    -against-
 7
                                                 Civil Action No.:
 8                                               1:17-CV-01479-PAC
 9
        EXTREME MUSIC LIBRARY LIMITED,
10      a division of Sony/ATV Music
        Publishing; EXTREME MUSIC
11      LIMITED; VIACOM INTERNATIONAL
        INC., NEW CREATIVE MIX INC.,
12      HYPE PRODUCTION MUSIC,
13                        Defendants.
14      ---------------------------------x
15                       November 1, 2018
16                       1:00 p.m.
17
18           Deposition of ROBERT H. KOHN, taken by
19      Defendants, pursuant to Notice, held at the law
20      offices of Pryor Cashman, LLP, 7 Times Square, New
21      York, New York, before Judith Castore, a Certified
22      Livenote Reporter and Notary Public of the State of
23      New York.
24
25

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                                                              Page 2                                                         Page 4
 1
 2       APPEARANCES
                                                                        1                    KOHN
 3   ON BEHALF OF PLAINTIFFS                                            2   R-O-B-E-R-T H. K-O-H-N,
       MARDEROSIAN & COHEN, PC
 4     1260 Fulton Street                                               3           Having been duly sworn by a Notary Public
       Fresno, California 93721
 5     559-441-7991
                                                                        4   within and for the State of New York, stated an
       BY: MICK MARDEROSIAN, ESQ.                                       5   address as 140 East 28th Street, Apartment 5-G, New
 6        mick@mcc-legal.com
          HEATHER COHEN, ESQ.                                           6   York, New York 10016, was examined and testified as
 7
                                                                        7   follows:
 8   ON BEHALF OF DEFENDANTS - Extreme Music Library
     Limited, Extreme Music Limited                                     8   EXAMINATION BY MR. ZAKARIN:
 9      PRYOR CASHMAN, LLP
        7 Times Square                                                  9       Q Good afternoon, Mr. Kohn.
10      New York, New York 10036                                       10       A Good afternoon.
        212-421-4100
11      BY: DONALD S. ZAKARIN, ESQ.                                    11       Q You've stated your name for
            dzakarin@pryorcashman.com
12          ROSS M. BAGLEY, ESQ.
                                                                       12   the record, so we'll dispense with
            rbagley@pryorcashman.com                                   13   that.
13          YEVGENIA S. KLEINER, ESQ.
            ykleiner@pryorcashman.com                                  14           Please give me your
14
15   ON BEHALF OF DEFENDANTS - Viacom International,
                                                                       15   educational background.
     Inc., New Creative Mix, Inc. and Hype                             16       A I have a law degree from
16   Production Music
         LOEB & LOEB                                                   17   Loyola Law School.
17       345 Park Avenue
         New York, New York 10154
                                                                       18           COURT REPORTER: I'm sorry.
18       212-407-4000                                                  19       If you could just keep your voice
         BY: WOOK J. HWANG, ESQ.
19           whwang@loeb.com                                           20       up. Law degree from?
             ERIN SMITH DENNIS, ESQ.                                   21       A Excuse me.
20           edennis@loeb.com
21                                                                     22       Q Loyola Law School --
22   ALSO PRESENT:
23     DAVID J. PRZYGODA, ESQ., Litigation                             23       A Loyola Law School in Los
       Counsel, Sony Corporation of America                            24   Angeles. I got a JD degree that I got
24
25                                                                     25   in 1981. If you want prior to that, I
                                                              Page 3                                                         Page 5
 1                                                                      1                   KOHN
 2     IT IS HEREBY STIPULATED AND AGREED, by and                       2   was at Cal State Northridge. I
 3 among counsel for the respective parties hereto,                     3   graduated with a business degree. I
 4 that the filing, sealing and certification of the                    4   majored in finance, minored in
 5 within deposition shall be and the same are hereby                   5   economics.
 6 waived.                                                              6          After law school, I took some
 7     IT IS FURTHER STIPULATED AND AGREED that all                     7   professional courses on the
 8 objections, except to the form of the question,                      8   entertainment business at USC here and
 9 shall be reserved to the time of trial;                              9   there. I have a LLM at Columbia Law
10     IT IS FURTHER STIPULATED AND AGREED that the                    10   School, which I got in 2016. That
11 within deposition may be signed before any Notary                   11   was -- I graduated with a Kent
12 Public with the same force and effect as if signed                  12   Scholar -- James Kent Scholar.
13 and sworn to before the court.                                      13      Q In what area?
14                ****                                                 14      A Nothing practical.
15                                                                     15   Jurisprudence, biblical jurisprudence,
16                                                                     16   philosophy of law, free speech,
17                                                                     17   theories of property.
18                                                                     18      Q So just a general LLM?
19                                                                     19      A Very general.
20                                                                     20      Q Okay.
21                                                                     21      A Yeah.
22                                                                     22      Q Give me your employment
23                                                                     23   history, please.
24                                                                     24      A Sure.
25                                                                     25      Q After you graduated law
                                                                                                                 2 (Pages 2 - 5)
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                                               Page 18                                                  Page 20
 1                    KOHN                                1                   KOHN
 2   you were retained as an expert for                   2   companies, whether it's Warner Chapel,
 3   purposes of testimony?                               3   Sony ATV, ABMG.
 4      A No.                                             4       A Not in --
 5      Q So you were retained --                         5       Q Just to distinguish them from
 6      A I was an expert from day one.                   6   a production music library.
 7      Q Okay.                                           7       A If you're asking in
 8          Because I wanted to                           8   connection with this case?
 9   differentiate if they're                             9       Q In connection with this case.
10   differentiating in terms of your fees.              10       A No.
11      A No.                                            11       Q And I'm actually asking in
12      Q So can you tell me how much                    12   connection with the generation of your
13   you have charged thus far to the                    13   report.
14   plaintiffs for your services?                       14       A No.
15      A Well, I charge at 650 an                       15       Q Have you ever been employed
16   hour; and I have bills that I think                 16   by a production music library company?
17   exceeded 100 hours. I believe it's                  17       A I wouldn't call it employed.
18   105, 110. I don't remember.                         18   My uncle ran one of the largest
19      Q Through what period of time?                   19   production music libraries in the world
20      A Starting -- the date of the                    20   of its time, which was Southern Music
21   retainer agreement was February 1st. I              21   Library which was owned by Peer Music.
22   think that was about when it started.               22           COURT REPORTER: I'm sorry?
23      Q Okay. So --                                    23       Owned by?
24      A From this year.                                24       A Peer Music, P-e-e-r. Peer
25      Q Since February 1st you have                    25   Music.
                                               Page 19                                                  Page 21
 1                   KOHN                                 1                    KOHN
 2   devoted something slightly north of 100              2      Q Did you work for him?
 3   hours to your work on this case?                     3      A Well, I provided him with
 4       A Yes.                                           4   advice. I never charged him.
 5       Q Okay. That's including                         5      Q When did you provide him with
 6   attending depositions and whatever                   6   advice?
 7   else?                                                7      A This would have been back in
 8       A Yes.                                           8   the 1980s.
 9       Q Okay.                                          9      Q Do you remember the subject
10          In connection with the                       10   matter in which you provided him
11   preparation of your report, did you                 11   advice?
12   communicate at all verbally or in                   12      A Yeah. My best memory is that
13   writing with any production music                   13   he invited me to his office, and
14   library companies?                                  14   because it was during the time in which
15       A No.                                           15   I was writing the first edition of Kohn
16       Q Have you communicated at all                  16   on Music Licensing. I think it was the
17   verbally or in writing with any                     17   1980s. It could have been the early
18   executives of any production music                  18   '90s, but I'm pretty sure it was before
19   library companies?                                  19   the first edition. As a matter of fact
20       A No.                                           20   I do -- it had to have been in the
21       Q Have you communicated at all                  21   '80s. I was living in Los Angeles. So
22   verbally or in writing with any music               22   probably prior to '87.
23   publishing companies? And when I say                23          I had visited his office,
24   music publishing companies, I'm                     24   which was a little one-man office in
25   referring to popular music publishing               25   Taluka Lake, California, which is near
                                                                                           6 (Pages 18 - 21)
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                                               Page 22                                                  Page 24
 1                   KOHN                                 1                 KOHN
 2   Burbank, I think. And I spent all                    2      Q     Okay.
 3   morning with him. He took phone calls.               3          So you were not employed by
 4   He was talking to people giving                      4   Music Production -- a production music
 5   licenses. I recall actually something                5   library company but you did this little
 6   pretty funny, at least he thought it                 6   consulting project on a sync license,
 7   was funny to me because he had got a                 7   as it were, for your uncle back in the
 8   call from -- that day from a company                 8   '80s?
 9   that wanted to use a needle drop in                  9       A Well, I would say, yeah. I
10   a --                                                10   mean, whatever questions he had for me
11           COURT REPORTER: I'm sorry,                  11   and other things that I might have over
12       sir. Can you just look this way?                12   the years that I don't really remember
13       A A needle drop -- yeah. A                      13   frankly.
14   needle drop in a porno film and they                14       Q Have you ever engaged in
15   came up with a song called Big Hammer.              15   licensing on behalf of a production
16   And he thought that was funny. And he               16   music library company?
17   takes the -- he had record albums at                17       A Not of a production music --
18   the time and then he would take a DAT               18   you said engaged in licensing?
19   tape, D-A-T, digital audiotape and do               19       Q Yeah.
20   recordings. Stick it in an envelope                 20       A Actually issuing a license?
21   and put a contract with it or license               21   No.
22   with it and send it off to the guy who              22       Q Have you ever been in
23   took the phone call.                                23   engaged --
24           And what I -- what I did for                24       A Not for a production music
25   him because I looked at the license                 25   library.
                                               Page 23                                                  Page 25
 1                   KOHN                                 1                   KOHN
 2   that he did, and by that time I had                  2       Q Have you ever been involved
 3   been out of Rudin's office and I had                 3   in licensing on behalf of a
 4   some experience in synchronization                   4   broadcaster?
 5   licenses and such, and I was kind of                 5          MR. MARDEROSIAN: Object to
 6   surprised how simple that form was.                  6       the term "involved."
 7   And it could be better. And I could                  7          Vague, ambiguous.
 8   make it better. And I actually put                   8       A I have never -- I don't
 9   together a synchronization license for               9   recall ever working for a broadcaster
10   him, which he thought was too long, and             10   in getting synchronization licenses. I
11   I got it down to one page and gave that             11   did on behalf of a production
12   to him and he went ahead and started                12   company -- while at Rudin's office we
13   using that. And, you know, I'd always               13   represented Warner Brother's Pictures.
14   see him at family events and things                 14   We represented 20th Century Fox. We
15   like that.                                          15   represented Irving Azoff, Front Line
16          And over the years we talked                 16   Management. We represented Scotti
17   about what he was doing, et cetera, and             17   Brothers.
18   he was using my license for quite a                 18          There was a period of time at
19   while. So I had that. It was a                      19   Warners Brothers Music when we were
20   one-man shop at that time, but he                   20   redoing -- this was probably 1982, '83
21   certainly had a lot of experience in                21   or so -- redoing all of Warner Brothers
22   dealing with a major production music               22   Music's synchronization licenses. It
23   library. And I got a sort of -- got an              23   was a project that I was heavily
24   idea of what that was through that                  24   involved with. I spent most of my time
25   experience.                                         25   on it for several weeks. It was a time
                                                                                           7 (Pages 22 - 25)
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                                               Page 30                                                  Page 32
 1                   KOHN                                 1                 KOHN
 2   picture, I was directly involved with                2      to object.
 3   the amount of money that was involved,               3          It calls for a legal opinion
 4   you know, in that. It was a -- you                   4      and conclusion.
 5   come to a point where some fee is                    5      Q You can answer the question.
 6   established and everyone answers for --              6      A There are royalty obligations
 7   no, most favored nations. So it                      7   that are specified in the contract, and
 8   becomes easy at a point.                             8   there are implied obligations that are
 9          There's only so many of these                 9   a part of every contract.
10   things you have to do in order to                   10      Q We'll get to the implied
11   become knowledgeable on how these                   11   obligations in due course. Right now
12   things are done. I don't need to do                 12   the question that I asked you was: On
13   10,000 synchronization licenses in                  13   a work for hire, the copyright owner is
14   order to learn how these things are                 14   the acquirer of the rights and that
15   negotiated.                                         15   acquirer is also under the law of the
16      Q Have you ever worked for a                     16   author; isn't that correct?
17   PRO in dealing with cue sheets and                  17          MR. MARDEROSIAN: I'm going
18   broadcasters?                                       18      to object.
19      A I never worked for a PRO, no.                  19          Calls for -- excuse me, Bob.
20      Q Now in your report you state                   20      You need to protect the record.
21   that acquiring a work on a                          21          I'm going to object as
22   work-for-hire basis does not mean that              22      calling for a legal opinion and
23   there are no other obligations owed to              23      conclusion, and it is an
24   the writer.                                         24      incomplete hypothetical.
25          Now, you know that a work for                25      Therefore, it's vague and
                                               Page 31                                                  Page 33
 1                     KOHN                               1                 KOHN
 2   hire makes the publisher of the work                 2       overbroad.
 3   not only the copyright owner but also                3       A Please read the question
 4   the author; isn't that correct?                      4   back.
 5           MR. MARDEROSIAN: I'm just                    5       Q I can say -- I'll say it
 6       going to object.                                 6   again, and the objection will be deemed
 7           It calls for a legal opinion                 7   to this so we don't have to waste time.
 8       and conclusion.                                  8           The acquirer of a work for
 9           It's vague and overbroad.                    9   hire under the Copyright Act is not
10       Q You can answer the question.                  10   merely the owner of the copyright but
11       A When a record company                         11   it is also deemed the author of the
12   acquires a master from a recording                  12   work; isn't that correct?
13   artist, it's under a work for hire                  13       A That's a different question
14   agreement. So -- but under that                     14   but I believe the answer to it is yes.
15   agreement there are royalty obligations             15       Q Okay.
16   back to the recording artist. Just                  16           And absent an agreement to
17   because they have a work for hire and               17   the contrary the author of the work
18   they're the author or considered the                18   would be entitled to the author share
19   author of the work, that is the record              19   of income; isn't that correct?
20   company, doesn't mean they have no                  20           MR. MARDEROSIAN: I'm just
21   financial obligation whatsoever to the              21       going to object.
22   person they're contracting with.                    22           It calls for a legal opinion
23       Q Those royalty obligations are                 23       and conclusion. And it is an
24   specified in the contract, correct?                 24       incomplete hypothetical.
25           MR. MARDEROSIAN: I'm going                  25
                                                                                           9 (Pages 30 - 33)
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                                               Page 54                                                 Page 56
 1                    KOHN                                1                     KOHN
 2   said, virtually give away the                        2       that's what the reports indicate.
 3   intellectual property in exchange for a              3       Q That wasn't my question. I
 4   small upfront fee and potential                      4   asked a different question.
 5   lucrative writer's share of public                   5           I said --
 6   performance royalties.                               6       A Yes.
 7          The month before this                         7       Q -- are those licenses
 8   agreement was signed they got $10,000                8   listed --
 9   from the same company that they signed               9       A Yeah.
10   this agreement with for a sync license              10       Q -- in the material --
11   for just -- they kept the intellectual              11       A They don't have to be
12   property. So they went from $10,000 on              12   listed --
13   a non-work for hire license down to                 13           COURT REPORTER: I'm sorry,
14   $200 for a work for hire. So that's                 14       sir. I just need a full question.
15   where the word "small" comes from.                  15       A They don't have to be listed.
16      Q I wasn't asking you about the                  16   I talked about Aron and Robert
17   word "small."                                       17   regularly command $60,000 for film
18      A Well, I wanted to clarify my                   18   trailers --
19   answer. You asked me -- you read the                19           COURT REPORTER: Sir.
20   whole thing to me.                                  20           MR. MARDEROSIAN: Slow down.
21      Q You have to wait -- when I'm                   21       Slow down, please.
22   talking, you wait. When you're                      22       A Aron and Robert regularly
23   talking, I'll wait. It will be much                 23   command $60,000 for film trailers that
24   better that way. Okay?                              24   use works they own and control.
25      A Are you finished?                              25       Q I understand --
                                               Page 55                                                 Page 57
 1                    KOHN                                1                  KOHN
 2       Q No, because now I'm going to                   2       A Where do you think I got that
 3   ask you the question --                              3   information?
 4       A Good.                                          4       Q I'm asking you a different
 5       Q -- that you didn't answer.                     5   question.
 6          You said that we were                         6       A Well, it's in my report.
 7   provided all of these licenses. And                  7       Q So you were provided with
 8   I'm asking you what licenses do you of               8   licenses. That's where you get the
 9   your own knowledge know we were                      9   information from; is that right?
10   provided of the brothers?                           10       A Yes.
11       A There's a set of licenses,                    11       Q Okay.
12   about 15 licenses or -- 15 to 20                    12         You also said that we were
13   licenses that I've seen in which the                13   provided those licenses. And I'm
14   brothers have licensed to third parties             14   asking you how do you know that?
15   of their own music that's not -- songs              15       A I just made an assumption on
16   and recordings that are not included in             16   that.
17   either of the contracts in this case,               17       Q So it was an assumption that
18   in which they licensed over the period              18   you made while you were sitting here?
19   of time from 2010 until about 2017.                 19       A Yes.
20       Q Are those licenses identified                 20       Q You don't know that as a
21   in the works that you reviewed, the                 21   fact?
22   materials you reviewed?                             22       A I don't get involved with
23          MR. MARDEROSIAN: He's been                   23   communications between the plaintiff's
24       provided with all of the materials              24   attorneys and you.
25       that were produced. I think                     25         So I have no personal
                                                                                         15 (Pages 54 - 57)
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                                               Page 58                                              Page 60
 1                    KOHN                                1                  KOHN
 2   knowledge of what they sent you and                  2    A Production music library
 3   what you sent them.                                  3 contracts, yes --
 4       Q I understand. All I'm trying                   4        COURT REPORTER: Sir. I'm
 5   to do is get a clear record as to when               5    sorry. Wait. I just need a full
 6   you know something and when you are                  6    question.
 7   assuming something.                                  7        MR. ZAKARIN: You're right.
 8       A Well, it's fair enough.                        8    We'll try to slow it down.
 9       Q Because there's a difference.                  9    Q The production music library
10       A It's fair enough.                             10 contract?
11       Q That's all.                                   11        MR. MARDEROSIAN: Excuse me.
12          How many production music                    12    It really -- this needs to slow
13   library work for hire contracts have                13    down.
14   you studied in your career? I know                  14        In all due respect to you,
15   these -- these two we know you have.                15    Don, you need to slow it down with
16   But beyond those?                                   16    the questions. And, Bob, in
17       A I don't remember.                             17    responding to the questions, we
18       Q More than 100? More than a                    18    need a moment, take a breath so
19   1,000?                                              19    that we don't wear the court
20       A I didn't do a lot of                          20    reporter out so we can get through
21   dealing --                                          21    the deposition today.
22       Q More than two?                                22        Okay. And I am as guilty as
23       A It might have been more than                  23    anyone in what advice I just gave
24   two; but it's probably less than 1,000.             24    the both of you. So let's get
25   I mean, it's less than 100.                         25    that skunk out on the table right
                                               Page 59                                              Page 61
 1                   KOHN                                 1                KOHN
 2       Q Less than ten?                                 2       now.
 3       A I haven't done a lot of                        3          But I'm just trying to help
 4   production music library work directly.              4       the process so that Mr. Zakarin,
 5   I've never worked for a production                   5       on behalf of his clients, can get
 6   music library.                                       6       your opinions and question the
 7       Q I understand.                                  7       opinions that you set forth in
 8       A But I've seen production                       8       your report.
 9   music library licenses over time in                  9          THE WITNESS: Thanks, Mick.
10   connection with studying and getting                10          MR. MARDEROSIAN: All right.
11   information from either my father or                11       Q Okay.
12   for other people in the industry or                 12          Where were we? Did we have
13   from sitting on panels with people like             13   an answer? Let's try to get back to
14   Mr. Massarsky, who's sitting here at                14   where we were. Give me a second.
15   the table. I might have been on a                   15          Now, you gleaned this -- the
16   panel with him at one point or another              16   knowledge of the custom and practice
17   where you pick up what the customs and              17   from being on panels with people like
18   practices are in the music industry.                18   Massarsky and from the production music
19       Q So you glean that from your                   19   library contracts, the work for hire
20   discussions with people like Massarsky              20   contracts you've looked at?
21   or --                                               21       A And discussions that I've had
22       A Or from looking directly at                   22   with my Uncle Roy and the advice that I
23   the contracts.                                      23   might have given him over a period of
24       Q The production music library                  24   years, that he might have asked me
25   contracts --                                        25   questions that I have given him. He
                                                                                        16 (Pages 58 - 61)
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                                               Page 62                                                  Page 64
 1                    KOHN                                1                   KOHN
 2   was the closest person in my life whose              2   public performance income; is that
 3   full-time business for 40 years was                  3   right?
 4   running a production music library. He               4       A Yes.
 5   was my uncle, and I would see him                    5       Q And that would be hopefully
 6   very -- almost every weekend, you know,              6   generated by successful placements of
 7   in California.                                       7   their works?
 8       Q Is he still alive?                             8       A Yes.
 9       A No. He passed away last                        9       Q Placements with whom?
10   year -- or two years ago.                           10       A Placements with anyone
11       Q I'm sorry.                                    11   producing audiovisual works that are
12       A He was 91, lived a good life.                 12   likely to be broadcast by organizations
13       Q But as you testified already,                 13   that are licensed by one of the
14   in connection with your forming of your             14   productions -- one of the PROs or
15   report, you did not consult with, talk              15   particularly in this case BMI.
16   to any production music libraries or                16       Q Well, in this case we're
17   executives at those companies?                      17   dealing with the 2010 agreement. Why
18       A No.                                           18   don't we just put that out there now
19       Q Okay.                                         19   just so we have it. Okay? We're not
20          Now, you've talked about                     20   going to directly refer to it right
21   having looked at some, I think, 15                  21   this minute, but you might as well mark
22   licenses, I think you said, of the --               22   it as K Exhibit 2 or K2.
23   of the plaintiff's work -- of their                 23          (Blanket Composer Agreement
24   self-published works, I guess it is; is             24       (Direct) dated as of May 19, 2010,
25   that right?                                         25       was marked K Exhibit 2, for
                                               Page 63                                                  Page 65
 1                 KOHN                                   1                    KOHN
 2      A Yes.                                            2       identification, as of this date.)
 3      Q Have you examined any of                        3       Q You can just put that next to
 4   their other production music library                 4   it. I'm not going to be questioning
 5   agreements other than the two in this                5   you about it.
 6   case?                                                6       A Okay.
 7      A I don't know whether they                       7       Q But I'll ask you one
 8   have other production music library                  8   question. Can you identify that as the
 9   contracts.                                           9   2010 agreement that you reviewed?
10      Q You're not aware of that?                      10       A Yes.
11      A No.                                            11           MR. MARDEROSIAN: Don, is
12      Q Okay.                                          12       this the one that's not
13      A One way or the other, I don't                  13       Bates-stamped? Is this the one
14   know whether they have or have not. I               14       that you folks produced pursuant
15   certainly haven't looked at that.                   15       to Judge Crotty's order or is this
16      Q You haven't looked at them?                    16       one that's been produced in
17      A No.                                            17       discovery or, excuse me, or is
18      Q If they exist?                                 18       this the one that the plaintiff's
19      A Well, if they exist, I                         19       produced.
20   haven't looked at them.                             20           MR. BAGLEY: I believe that
21      Q Okay. Fair enough.                             21       this is the copy that you sent to
22          Now, in your report what we                  22       the court after he asked for a
23   just looked at is what they were -- an              23       more legible copy of the
24   important consideration was the                     24       agreements.
25   potential lucrative writer share of                 25           MR. MARDEROSIAN: Yes.
                                                                                          17 (Pages 62 - 65)
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                                          Page 146                                                  Page 148
 1                 KOHN                               1                    KOHN
 2 not sure there's room. So let's just               2   Mix Viacom to register the works with
 3 mark this --                                       3   societies, correct?
 4       MR. MARDEROSIAN: And that's                  4       A Yes.
 5    demeaning. You need to stop that.               5       Q And turn to your report, if
 6       MR. ZAKARIN: Stop what?                      6   you would. We're also still on Page 8.
 7       MR. MARDEROSIAN: Do you have                 7   Not a major point, but it's the third
 8    a hearing problem as well?                      8   bullet point from the bottom.
 9       MR. ZAKARIN: I don't hear                    9          MR. MARDEROSIAN: Page 8?
10    you anymore.                                   10          MR. ZAKARIN: On Page 8.
11       MR. MARDEROSIAN: You need to                11       A On page 8 of my report?
12    stop trying to demean witnesses                12       Q Yes. Third bullet point from
13    and people.                                    13   the bottom.
14       MR. ZAKARIN: I don't hear                   14          Do you see it?
15    you anymore.                                   15       A Yes.
16       MR. MARDEROSIAN: Don't do                   16       Q And you say -- you have in
17    that --                                        17   italics that the registration is
18       MR. ZAKARIN: Let's mark                     18   required to be, in italics, on a timely
19    this Exhibit 3 --                              19   basis.
20       MR. MARDEROSIAN: -- or we're                20          Do you see that?
21    going to leave. I'm going to                   21       A Yes.
22    leave.                                         22       Q That language, you would
23       MR. ZAKARIN: Go. You can                    23   agree, is not specifically in the
24    leave.                                         24   contract?
25       MR. MARDEROSIAN: Yeah, I'm                  25       A I would say that it is
                                          Page 147                                                  Page 149
 1                   KOHN                             1                     KOHN
 2      going to leave with the witness.              2   specifically in the contract because if
 3          MR. ZAKARIN: That's up to                 3   it's not done in a timely basis the
 4      him. Let's mark this Exhibit 3,               4   performance royalties are not going to
 5      K3.                                           5   get paid from the performance rights
 6          MR. MARDEROSIAN: Let's take               6   societies, according to the performance
 7      a break. We're going to take a                7   rights societies, particularly ASCAP
 8      break.                                        8   but BMI too.
 9          (Whereupon, a brief recess                9        Q Is it your understanding that
10      was taken.)                                  10   performance royalties are based upon
11          (March 7, 2011 Agreement, was            11   the filing of a works registration?
12      marked K Exhibit 3, for                      12        A It could be a works
13      identification, as of this date.)            13   registration or a cue sheet
14      Q I'll ask you first, can you                14   registration.
15   identify K3 as the 2011 agreement that          15        Q Do you know -- if no cue
16   you reviewed?                                   16   sheets are filed but a works
17      A Yes.                                       17   registration is filed, would
18      Q And I've asked you to turn to              18   performance royalties be paid?
19   Paragraph 4.8.                                  19           MR. MARDEROSIAN: Objection.
20      A Yes.                                       20           Vague and overbroad.
21      Q And you have that in front of              21           Incomplete hypothetical.
22   you?                                            22        Q You can answer.
23      A Yes, I do.                                 23        A According to the societies,
24      Q Okay. And that's the                       24   it's likely that they're not going to
25   paragraph that required New Creative            25   be paid if there's no cue sheet
                                                                                   38 (Pages 146 - 149)
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                                               Page 150                                                  Page 152
 1                    KOHN                                 1                     KOHN
 2   registrations on file.                                2           And there were two
 3          There's one thing I want to                    3   depositions that I recall reading in
 4   talk about in terms of --                             4   which the Viacom representatives, I
 5      Q Mr. Kohn, if you would, I                        5   believe, admitted -- I'm not sure who
 6   don't want to interrupt you but --                    6   it is. Is it -- now I'm thinking about
 7      A Go ahead.                                        7   it, Ernesto and Quello, where they
 8      Q -- the way this goes is Qs                       8   told -- or they admitted to telling the
 9   and As. And it -- it doesn't go very                  9   boys or suggested that -- to the boys
10   well otherwise --                                    10   that the -- there is no online system
11      A Right.                                          11   for the boys to enter into cue sheet
12      Q -- and I want -- I don't want                   12   information. So don't worry. We'll
13   you to stay here until 2:00, 3:00 in                 13   take care of it.
14   the morning or whatever we have to go                14           And obviously the 2011
15   to. I'd rather try to get my questions               15   agreement, I guess, memorializes what
16   out, try to get your answers in so that              16   the understanding was in the 2010
17   we can finish. That's my goal.                       17   agreement with respect to the -- the
18          MR. MARDEROSIAN: This may                     18   company's obligation under a specific
19      just -- this may just be a further                19   expressed obligation under 4.8 to
20      part of the answer he was giving.                 20   register the work.
21      I don't know. Nobody asked, and                   21           COURT REPORTER: I'm sorry?
22      you interrupted him.                              22       4.8?
23      A Well, I wanted to clarify                       23       A 4.8.
24   another answer that in connection with               24       Q Let me see if I understand
25   now thinking about this I was looking                25   what you just said.
                                               Page 151                                                  Page 153
 1                    KOHN                                 1                 KOHN
 2   for the equivalent paragraph concerning               2       A Yeah.
 3   registration in the 2010 agreement.                   3       Q That -- you're pointing me to
 4       Q Yes.                                            4   Paragraph 5 where the Marderosians, the
 5       A And that refreshed my                           5   plaintiffs, were required to enter
 6   recollection that there is a provision                6   information for the preparation of cue
 7   in the 2010 agreement --                              7   sheets; is that correct?
 8       Q Can you tell me what it is?                     8       A Into --
 9       A Yeah. In the delivery                           9          MR. MARDEROSIAN: Objection.
10   provision on -- there's no page numbers              10       Misstatement of the testimony.
11   here. But --                                         11       A They would provide services
12       Q Is there a paragraph                           12   required in connection with the
13   reference?                                           13   preparation of cue sheets. It doesn't
14       A Paragraph 5.                                   14   talk about filing them.
15       Q Okay.                                          15       Q I understand that that part
16       A Where it talks about how the                   16   of it.
17   Aron -- Aron and Rob's company were to               17       A But in connection with the
18   enter -- provide services of entering                18   preparation of them. Okay? And then
19   cue sheet information directly into                  19   it says which who include entering the
20   company's proprietary --                             20   information directly into their
21          COURT REPORTER: I'm sorry?                    21   proprietary online cue sheet system,
22       Entering cue sheet information?                  22   which I understand from the testimony,
23       A -- entering cue sheet                          23   never existed.
24   information directly into company's                  24       Q You understand from whose
25   proprietary online cue sheet system.                 25   testimony?
                                                                                        39 (Pages 150 - 153)
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                                              Page 154                                                  Page 156
 1                    KOHN                                1                      KOHN
 2      A I'm trying to think back to                     2           It is an incomplete
 3   the names. I think it's Quello and                   3       hypothetical. It's vague and
 4   Ernesto -- no, Jose -- I'm thinking of               4       overbroad.
 5   something else. Cuervo.                              5       Q You can answer the question.
 6          Okay. It's just a vague                       6       A I disagree with the expert
 7   recollection that I have.                            7   reports provided by the defendant in
 8      Q You have a vague recollection                   8   the case who the experts in which -- in
 9   that there's deposition testimony to                 9   which the experts took the position
10   the effect that there was no such                   10   that there's no custom and practice in
11   online system, so that it got dealt                 11   the music publishing or music
12   with in the 2011 agreement through the              12   production library business of not
13   specific registration requirement?                  13   correcting cue sheets.
14      A Yes.                                           14           I do believe that there is a
15      Q If I understand the thrust of                  15   custom and practice of correcting cue
16   what you're saying then, and please                 16   sheets, especially when the cue sheet
17   correct me if I'm wrong, it's that, in              17   missed information, missed corrections
18   fact, there was no specific                         18   and manipulated incorrectly through
19   registration provision in the 2010                  19   metadata, however we want to discuss
20   agreement, there was this cue sheet                 20   that in terms of before, was caused by
21   preparation provision --                            21   the music publisher. So I -- if there
22      A Right.                                         22   is -- if the composer's name is wrong,
23      Q -- and then it got corrected                   23   there's a likelihood that the money is
24   or addressed in the 2011 agreement in               24   going to not be paid or be misdirected
25   Paragraph 4.8 that we just read?                    25   to someone other than the songwriter.
                                              Page 155                                                  Page 157
 1                 KOHN                                   1                     KOHN
 2      A      Right.                                     2          And it's as between the
 3      Q      Thank you.                                 3   songwriter and the publisher. It is
 4           I just wanted to understand                  4   not the songwriter's responsibility to
 5   what you were saying.                                5   do it. It's the -- to administer these
 6           MR. MARDEROSIAN: I think the                 6   properly, the cue sheets, but it's the
 7       witnesses he was referring to is                 7   music publisher's responsibility. So
 8       Jose Quello, Q-U-E-L-L-O, and                    8   if a major source of the income of the
 9       Ernesto Elias.                                   9   songwriter under the bargain that has
10           MR. ZAKARIN: I can't swear                  10   been entered into under both the 2010
11       you, but it doesn't matter. It                  11   agreement and the 2011 agreement is for
12       either was testified to, or it                  12   them to get their performance royalties
13       wasn't. We know who they are.                   13   from BMI, those cue sheets have to be
14       It's the Viacom witnesses.                      14   entered correctly and they have to have
15       A Thank you.                                    15   their composer's name on it, not
16       Q Again in Exhibit 3, if you                    16   something like Mix Tape or something
17   would, and other than whether there is              17   else.
18   an implied obligation or not, can you               18          So it is the responsibility
19   tell me any provision in the 2011                   19   of the publisher to perform those
20   contract which required Viacom to check             20   administrative duties so that the
21   any cue sheets that were filed with                 21   songwriter gets the benefit of the
22   BMI?                                                22   bargain.
23           MR. MARDEROSIAN: I'm just                   23       Q We're going to deal with the
24       going to object. Calls for a                    24   custom and practice pretty much right
25       legal opinion and conclusion.                   25   now that you just said exists. But
                                                                                       40 (Pages 154 - 157)
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                                               Page 158                                                  Page 160
 1                    KOHN                                 1                 KOHN
 2   that wasn't my question.                              2   any industry --
 3          My question was simply, other                  3       Q Yeah.
 4   than there, you know, being some                      4       A -- is what is typically done
 5   implied obligation or you say there's                 5   in connection with performing one's
 6   custom and practice, is there any                     6   obligations under contracts or
 7   provision in the agreement that                       7   performing one's obligations to
 8   requires Viacom to check the cue sheets               8   maximize the revenues or minimize the
 9   for accuracy? That's my question.                     9   costs for the business in question.
10          MR. MARDEROSIAN: I'm going                    10       Q So custom and practice is
11      to object. It's been asked and                    11   something that in an industry is
12      answered.                                         12   typically done by most companies in an
13          It calls for a legal opinion                  13   industry; is that right?
14      and conclusion.                                   14           MR. MARDEROSIAN: I'm just
15          The document speaks for                       15       going to object. It misstates the
16      itself, and it is an incomplete                   16       testimony. It's vague and
17      hypothetical and inconsistent with                17       ambiguous.
18      the facts of this case.                           18       Q You can answer.
19      Q You can now answer the                          19       A I would say that custom and
20   question.                                            20   practice is performed by companies in
21      A Okay. I am satisfied with my                    21   the industry who conform to their
22   previous answer, and the document                    22   obligations to fulfill the terms of the
23   speaks for itself.                                   23   contract, the bargains they've made and
24      Q Well, I'm not satisfied; but                    24   their implied obligations of good faith
25   you're satisfied. So I will move on.                 25   and fair dealing with those they
                                               Page 159                                                  Page 161
 1                    KOHN                                 1                 KOHN
 2          Now, Mr. Kohn, in defining                     2   contract with.
 3   custom and practice in an industry, I                 3        Q So isn't that a circular
 4   want to understand how you define                     4   definition, which is, custom and
 5   custom and practice. Does it mean that                5   practice is only that which the
 6   a custom and practice is something that               6   companies do who are properly doing
 7   some company in the industry does                     7   something as opposed to everybody else?
 8   sometimes, or is it something that all                8           MR. MARDEROSIAN: I'm going
 9   companies in the industry invariably do               9        to object to the question.
10   as a matter of consistent practice?                  10        Q Isn't that a circular
11          MR. MARDEROSIAN: Object to                    11   definition?
12       the question as it's vague and                   12           MR. MARDEROSIAN: The
13       overbroad.                                       13        question is argumentative. It's
14          It's an incomplete                            14        vague and overbroad.
15       hypothetical, and it calls for a                 15        A It's not a circular
16       legal conclusion.                                16   definition. It's a definition to a
17          MR. ZAKARIN: Let me do it                     17   term which you've even tried to
18       differently.                                     18   characterize in such abstract means. I
19       Q Tell me what your definition                   19   think the discussion is better had in
20   is of custom and practice.                           20   determining whether some particular
21          MR. MARDEROSIAN: In what                      21   activity is a custom and practice in
22       regard to what topic?                            22   the industry or not.
23          I object. It's vague.                         23        Q So you've given me your
24       Q You can answer the question.                   24   definition. Your definition is that
25       A Well, custom and practice in                   25   it's a -- custom and practice is
                                                                                        41 (Pages 158 - 161)
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                                               Page 170                                                  Page 172
 1                    KOHN                                 1                    KOHN
 2   now told us. So we can move on.                       2          And then you say going down,
 3          MR. MARDEROSIAN: Just for                      3   the last bullet point, it is the custom
 4      the record, I'm going to --                        4   and practice of music publishers to
 5      A And --                                           5   review cue sheets for accuracy and
 6          MR. MARDEROSIAN: -- excuse                     6   correct any mistakes. This is true of
 7      me -- I'm going to object. That                    7   even publishers who consider themselves
 8      was a misstate of what he said.                    8   to be music production libraries.
 9      And it's vague and ambiguous.                      9          Those are your statements in
10      A Typically done --                               10   your report. And when you refer to
11          MR. ZAKARIN: Okay. The                        11   custom and practice there, is that the
12      record will reflect it.                           12   custom and practice as you've just
13      A You didn't finish what I had                    13   previously defined it?
14   said. But it's typically done in                     14       A I don't understand the
15   compliance -- I might have said                      15   question. Say that again.
16   earlier, in conformance, but I may have              16       Q You've said -- you used the
17   misspoke -- but in compliance with                   17   term "custom and practice." Is that --
18   obligations that you have both express               18   is your use of the term "custom and
19   obligations and implied obligations                  19   practice" there consistent with the
20   with respect to those people that you                20   definition that you gave me just a few
21   are contractually dealing with in the                21   minutes ago, or is it anything
22   industry. Or to perform your duties                  22   different?
23   correctly for the sake of the company                23       A I think it is. I think it
24   that you're working for or for those                 24   is.
25   whom you're working for, such as                     25       Q It is consistent?
                                               Page 171                                                  Page 173
 1                   KOHN                                  1                      KOHN
 2   shareholders or employees or                          2       A It would -- it sounds
 3   songwriters and other third parties you               3   consistent.
 4   may be contracting with.                              4       Q Now, what I want to
 5       Q On Page 10 -- turn to Page 10                   5   understand is the factual basis for
 6   of your report if you would. I'm going                6   your statement. Let's -- these are a
 7   to read you a couple of things that you               7   couple of statements. Let's deal with
 8   said on the same topic.                               8   the last one.
 9          Top of the page you say, it                    9           It is the custom and practice
10   has long been the responsibility of the              10   of music publishers to review cue
11   songwriter's music publisher to monitor              11   sheets for accuracy and correct any
12   the cue sheets, submit it to the DROs                12   mistakes. This is true of even
13   and with the advent of cable television              13   publishers who consider themselves to
14   and the platform it has provided to                  14   be production music libraries.
15   independent television producers, the                15           What's the factual basis for
16   responsibility for reviewing cue sheets              16   your statement of that being the custom
17   for accuracy has now become a routine                17   and practice?
18   part of a music publisher's basic                    18       A The -- in terms of production
19   responsibilities.                                    19   music libraries, I actually didn't
20          You then go on and say in the                 20   mention earlier that I meant to do, but
21   next bullet point, as between the music              21   I -- I first learned the word -- what
22   publisher, the PRO and the songwriter,               22   the word "cue sheet" was when sitting
23   the publisher bears responsibility for               23   with my uncle who actually had a stack
24   making sure the cue sheets are filed                 24   of them and he explained to me what
25   with the proper PRO and are accurate.                25   they were. And he was -- he was
                                                                                        44 (Pages 170 - 173)
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                                           Page 174                                                  Page 176
 1                    KOHN                             1                    KOHN
 2   reviewing them.                                   2        Q   That's not what he said.
 3           I don't have any specific                 3        A   Yes, he did.
 4   recollection of what they -- where they           4        Q   Okay.
 5   were from and where they got them. It             5        A   He said -- that's the job of
 6   was actually paper that he got. It                6   --
 7   would have -- back in the '80s. Then              7       Q Whatever it says, it says.
 8   maybe ASCAP would have sent it to him.            8       A That's the job -- that's the
 9   But if he didn't make sure that the cue           9   job of commercial publishers. The CEO
10   sheets were filed properly with ASCAP,           10   of Extreme said it himself. So one of
11   he wouldn't have gotten the performance          11   the basis of my customs and practices
12   money on the back end, which is what he          12   is your own CEO saying in his
13   was explaining to me. Because he                 13   deposition that Sony ATV does it.
14   talked -- he told me what a needle drop          14          Dan Pounder in his
15   was. That he might charge $200 for a             15   declaration said that we don't have the
16   needle drop. And I go that doesn't               16   resources to do it like Sony ATV does.
17   sound like a lot of money. How do you            17   I read that. Okay?
18   make money on this? And he says I get            18          So why don't you ask your own
19   it all in the back end. And that                 19   client why they don't follow the
20   morning he had a stack of cue sheets,            20   customs and practices of the industry
21   whatever. And I didn't quite fully               21   that their own parent company follows
22   understand it at the time. Maybe over            22   as well. They say -- they chose not to
23   the years I got a better understanding           23   do it because they say they don't have
24   of that.                                         24   the resources. If they --
25       Q Who else --                                25       Q I'm sorry. I didn't want to
                                           Page 175                                                  Page 177
 1                KOHN                                 1                    KOHN
 2      A Now --                                       2   interrupt you.
 3      Q I'm sorry. I didn't want to                  3      A So the basis -- I've been to
 4   interrupt you.                                    4   panels. I have discussed this with
 5      A Just so it is on the -- as I                 5   people in the industry over the past 35
 6   mentioned in the third bullet on the              6   years since writing the book about how
 7   this page, according to BMI without cue           7   to make sure -- the whole book is Kohn
 8   sheets, it would be nearly impossible             8   on Music Licensing, there's a theme in
 9   for such composers and publishers to be           9   the book is that you shouldn't be --
10   compensated for their work. The ASCAP            10   that you should be willing to license
11   website says the same thing and                  11   your music out there so that you get
12   actually uses the term "production               12   the back end public performance
13   music libraries" in the sentence.                13   royalties. Everyone knows. It's plain
14          COURT REPORTER: Uses the                  14   as sight. It's on the ABMI and ASCAP
15      term?                                         15   websites. You can't be a production
16      A Production music libraries in               16   music library or a music publisher and
17   the sentence.                                    17   miss it, that if you don't have cue
18      Q Okay.                                       18   sheets on file, you're not going to be
19      A So the ASCAP website says it.               19   getting the largest piece of the income
20   The BMI website says it. Your client,            20   that music publishers make.
21   the CEO of Extreme in his deposition             21          So for your client to say
22   said that's not something we do, they            22   bizarrely to me, bizarrely to the
23   do that over at Sony ATV.                        23   court, bizarrely to the songwriters
24      Q Huh-uh.                                     24   that they represent that they don't
25      A Yes, he did.                                25   have any responsibility, and for you to
                                                                                        45 (Pages 174 - 177)
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                                               Page 178                                              Page 180
 1                   KOHN                                  1                    KOHN
 2   bring in expert witnesses who dare --                 2       interrupt the witness.
 3   the head of APM, okay, filed an expert                3       A I am done.
 4   report in this case. He's a production                4       Q Oh, okay. Well, now we'll go
 5   music library, and he denies any                      5   back.
 6   responsibility.                                       6          So in addition to your uncle
 7           Of course he's going to come                  7   who you sat with about 30 years ago and
 8   in -- you brought in an expert who's                  8   he had a stack of cue sheets on his
 9   the CEO of a production music library                 9   desk, what other production music
10   to tell you what -- the practices in                 10   libraries have you either talked to or
11   the industry. Of course he's going to                11   found out as a matter of custom and
12   say that we don't do it. That's not                  12   practice reviewed cue sheets, any
13   the practice, because he doesn't want                13   others?
14   to do the work.                                      14       A I don't remember any others.
15           You have -- you have                         15   I met Adam --
16   yesterday, the expert witness that you               16       Q Thank you. That's enough.
17   brought in yesterday that I sat in on                17       A I --
18   and, that's Mr. Katz. He was on the                  18          MR. MARDEROSIAN: Wait. What
19   board of APM. He also acquired a                     19       do you mean that's enough?
20   production music library called First                20          MR. ZAKARIN: No, no, that's
21   Com. And he sat there brazenly telling               21       enough.
22   Mr. Mardosian's [sic] --                             22          He's answered it. He's
23       Q Marderosian.                                   23       answered the question.
24       A -- Marderosian's client that                   24          MR. MARDEROSIAN: No, he
25   they have no responsibility either to                25       hasn't.
                                               Page 179                                              Page 181
 1                   KOHN                                  1                    KOHN
 2   do it. He's saying it's custom --                     2       A No, I didn't say I didn't
 3   there's no custom and practice in the                 3   talk to production music libraries. I
 4   industry.                                             4   met Adam Taylor a number of years ago.
 5          If you read books like Todd                    5   I don't -- I talked about his
 6   Brabec, who you called a putz the other               6   production music library. I don't
 7   week at a deposition, which was                       7   remember having discussed with him, but
 8   appalling and it was insulting to me                  8   I might have discussed with him what he
 9   and the people that I know in the music               9   does and how he does it. There are
10   industry --                                          10   lots of people -- how do you think I
11       Q Uh-huh.                                        11   wrote Kohn on Music Licensing?
12       A -- in his book he says that                    12   Virtually every word in that book,
13   it's customs and practice in the music               13   other than the forms, without having
14   industry. You don't have to be around                14   discussed with everybody in the music
15   much to understand that it is custom                 15   industry that I was in touch with
16   and practice for production music                    16   whether it was my uncle, my father,
17   libraries and music publishers as their              17   Barry Massarsky sitting at the end of
18   basic responsibility to make sure the                18   the table, other people that I learned
19   biggest source of income gets paid to                19   from, what custom and practice in the
20   the songwriters.                                     20   music industry are? How could I have
21       Q Okay. Are you done?                            21   possibly have described terms of art?
22          MR. MARDEROSIAN: Well,                        22       Q Damned if I know.
23       that's argumentative.                            23       A How can I sit here and give
24          MR. ZAKARIN: I just wanted                    24   you answers to your questions on issues
25       to know because I don't want to                  25   like Sound Exchange and other things if
                                                                                       46 (Pages 178 - 181)
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                                               Page 182                                                  Page 184
 1                    KOHN                                 1                   KOHN
 2   I didn't talk to a lot of people in the               2   that I remember specifically.
 3   music industry to know what a custom                  3           How would I be able to write
 4   and practice in the music industry is                 4   about these things in the book without
 5   or it isn't?                                          5   having talked to people about what they
 6           How does a federal judge in                   6   do for a living? And that's what I
 7   Los Angeles in federal court accept my                7   did --
 8   testimony as customs and practice in                  8       Q Do you write --
 9   the music industry as to the                          9       A -- for over 35 years.
10   interpretation of the ASCAP contract                 10       Q -- do you write in the book
11   with respect to performances in venues               11   about the custom and practice of music
12   across the country?                                  12   production library companies receiving
13       Q Are you done? I don't want                     13   and reviewing cue sheets?
14   to interrupt you.                                    14       A No, I do not specifically --
15       A That's not the -- I was                        15       Q Okay.
16   obviously done.                                      16       A -- cover in the book cue
17       Q I can't tell.                                  17   sheets. I can't cover every single
18           Now, so we've established                    18   custom and practice in the music
19   that you didn't talk to any production               19   industry. Now I will. And in the next
20   music companies or find out what they                20   version of the book, which will be
21   do --                                                21   coming out next year, is going to be
22       A That's not true.                               22   talking about this. And I'm going to
23       Q -- but you talked --                           23   use this as an example of how
24           COURT REPORTER: I'm sorry.                   24   songwriters can be mistreated by their
25       You didn't talk -- I'm sorry.                    25   publishers, and particularly production
                                               Page 183                                                  Page 185
 1                    KOHN                                 1                    KOHN
 2      Talk to any --                                     2   music libraries not just for not
 3      Q Music production library                         3   reviewing cue sheets but for the
 4   companies --                                          4   shenanigans that have been going on in
 5          COURT REPORTER: Music                          5   this -- this case with your CEO.
 6      production library companies.                      6       Q I look forward to it. And
 7      Q -- to find out what they do                      7   look forward to reading it. I may even
 8   as a matter of custom and practice?                   8   buy it.
 9      A I -- that's not the                              9           Now --
10   testimony.                                           10       A I would hope you --
11      Q Besides your uncle?                             11       Q -- did you contact --
12      A That's not my testimony.                        12       A -- copyright.
13   That's not my testimony.                             13       Q -- any music publishers to
14      Q It's what --                                    14   find out about whether they engage in
15      A No, it's not my testimony.                      15   this custom and practice of receiving
16          I have talked to production                   16   and reviewing cue sheets? Any music
17   music libraries, people who work for --              17   publishers, not production music
18      Q Who?                                            18   libraries, but music publishers? Have
19      A I even met -- I can't tell                      19   you gone --
20   you the names of the companies. I                    20       A I haven't --
21   can't tell you the names of the                      21           COURT REPORTER: I need a
22   companies. I can't tell you the                      22       full question, please. If you
23   individuals involved in those                        23       wait until he finishes --
24   companies. I told you I met with Adam                24       Q Have you contacted -- right.
25   Taylor. That's one name that came up                 25   Have you contacted any of them to find
                                                                                        47 (Pages 182 - 185)
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                                            Page 186                                                  Page 188
 1                 KOHN                                 1                    KOHN
 2   out?                                               2       used the word "survey." He's
 3       A Since I was engaged in this                  3       asking you to define what you mean
 4   case, no.                                          4       by survey so he can answer your
 5       Q Did you do a survey of any                   5       question.
 6   production music libraries or music                6       Q Yeah. Did you -- did you
 7   publishers?                                        7   submit questionnaires to music
 8       A Since I've been engaged in                   8   publishers -- you didn't talk to
 9   this case, no.                                     9   them -- but did you submit
10       Q Did you do a survey before                  10   questionnaires or some sort of document
11   you were engaged in this case?                    11   to music publishers or production music
12       A It depends on what you mean                 12   libraries to find out if they engaged
13   by "survey." If it means that --                  13   in this custom and practice of
14       Q A survey to find --                         14   reviewing --
15       A If it means that --                         15       A I --
16       Q Let me finish.                              16       Q -- receiving, reviewing and
17           You're asking me. So I'm                  17   correcting cue sheets?
18   going to tell you.                                18       A I submitted questionnaires,
19       A Go ahead.                                   19   no more than the expert witnesses that
20       Q A survey to determine whether               20   you have put forth have submitted
21   it's a custom and practice of music               21   questionnaires to provide answers to
22   publishers to receive and review and              22   their questions.
23   correct cue sheets.                               23       Q So the answer is no?
24       A You didn't define survey.                   24       A That's right.
25   Try again.                                        25       Q Okay. That's all we need to
                                            Page 187                                                  Page 189
 1                KOHN                                  1                 KOHN
 2    Q Do you want to know what a                      2   know.
 3 survey is?                                           3          Now, on Page 8 -- we're going
 4    A Yes.                                            4   back for a second. You talk about the
 5       MR. MARDEROSIAN: Okay.                         5   50 percent of gross receipts, correct?
 6    We're getting conversational                      6       A I'm sorry? Where do I talk
 7    again.                                            7   about it?
 8       MR. ZAKARIN: No, no.                           8       Q Page 8, you talk about, in
 9       MR. MARDEROSIAN: Maybe we                      9   the second bullet point. It's the
10    need -- maybe we need another                    10   50 percent of gross receipts. I'm just
11    break.                                           11   trying to orient you. The obligation
12       MR. ZAKARIN: No. No break.                    12   to pay 50 percent of gross receipts.
13    A We don't need a break.                         13       A Correct. Based on Page 8.
14       MR. MARDEROSIAN: Hold on                      14       Q Page 8, the second bullet.
15    everybody. Let's go back to                      15   I'm just trying to --
16    questions and answers.                           16       A Got it.
17       MR. ZAKARIN: I want to know                   17       Q -- work with -- you know, I'm
18    what the witness means by survey.                18   just trying to orient the witness.
19    That's all.                                      19   Okay.
20       MR. MARDEROSIAN: So, Don, he                  20          Now, under Exhibit 3, K3, the
21    told you about what he went                      21   payment of gross receipts is not
22    through in writing his book and                  22   unlimited. There are conditions,
23    the people that he talked to.                    23   aren't there?
24       MR. ZAKARIN: I heard him.                     24          MR. MARDEROSIAN: Objection.
25       MR. MARDEROSIAN: Now, you                     25       Calls for a legal opinion and
                                                                                    48 (Pages 186 - 189)
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                                         Page 190                                              Page 192
 1                KOHN                               1                    KOHN
 2      conclusion.                                  2   condition or whatever. It's a
 3          Incomplete hypothetical.                 3   definition.
 4      Let's refer to the document                  4      Q Exclusion. Okay.
 5      itself.                                      5          That are actually received by
 6      Q Let's do that. Let's go to                 6   Extreme or company or credited to
 7   Paragraph 1.4 of the 2011 contract,             7   Extreme or company against a prior
 8   which is Exhibit K3.                            8   advance.
 9          MR. MARDEROSIAN: Did you say             9          So it's all monies that are
10      7.4, Don?                                   10   actually received, correct?
11          MR. ZAKARIN: I said 1.4 I'm             11          MR. MARDEROSIAN: I'm going
12      pretty sure.                                12      to object.
13      Q Do you have it in front of                13          It calls for a legal opinion
14   you?                                           14      and conclusion.
15      A Yes.                                      15      A Well, it's actually received
16      Q And there are two categories              16   or credited to.
17   of gross receipts really. One comes            17      Q Right. Credited against an
18   from blanket licenses; and one is,             18   advance, correct?
19   we'll call them, from needle drops,            19          MR. MARDEROSIAN: I'm going
20   right?                                         20      to object.
21      A I would say blanket licenses              21          It calls for a legal opinion
22   and discrete licenses.                         22      and conclusion.
23      Q Okay.                                     23      A Well, it says what it says.
24          Discreet license is your                24      Q Where there's an advance you
25   terminology for a needle drop?                 25   get -- you may get a credit against
                                         Page 191                                              Page 193
 1                   KOHN                            1                     KOHN
 2      A No. Discrete license would                 2   that advance and that reduces the level
 3   be not a blanket license.                       3   of advance; am I right?
 4      Q Okay. Either way.                          4           MR. MARDEROSIAN: I'm going
 5          Now, there are conditions in             5        to object.
 6   any event to what is gross receipts, is         6           It calls for a legal opinion
 7   there not?                                      7        and conclusion.
 8      A Let's read it and see what it              8        Q You can answer.
 9   says.                                           9        A Yes.
10          MR. MARDEROSIAN: Objection.             10        Q Okay.
11      Q Okay. Let's read it.                      11           And other than an advance,
12          MR. MARDEROSIAN: Calls for a            12   it's monies that are actually received,
13      legal opinion and conclusion.               13   correct?
14      Q Gross receipts mean --                    14           MR. MARDEROSIAN: I'm going
15          MR. MARDEROSIAN: Don, let me            15        to object.
16      state the objection. Calls for              16           It calls for a legal opinion
17      legal opinion and conclusion.               17        and conclusion.
18          Argumentative.                          18        A That's what it says.
19      Q Gross receipts means all                  19        Q And then it goes through that
20   monies exclusive of value added tax.           20   represent the relevant share of Hype
21   So we already have one exception,              21   Music blanket licensing income, which
22   right, exclusive of value added tax?           22   is -- you agree that's a defined term
23   Do you disagree?                               23   in the agreement?
24      A It's a definition. I'm not                24           MR. MARDEROSIAN: I'm going
25   going to characterize something as a           25        to object.
                                                                                 49 (Pages 190 - 193)
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                                               Page 198                                             Page 200
 1                 KOHN                                    1                     KOHN
 2      A Yes.                                             2        mischaracterizes the testimony.
 3      Q And the phrase without                           3        A Yeah. I -- I don't remember
 4   prejudice to the generality of the                    4   it, but I can't comment on something I
 5   foregoing, which is -- it doesn't -- it               5   don't remember.
 6   means it's without detraction from the                6        Q Okay. If you don't remember
 7   foregoing provisions; is that right?                  7   it, then it is what it is.
 8      A Well, it's --                                    8           Now, you mentioned something
 9      Q I mean, it's not in                              9   in your book before about licensing,
10   derogation of those -- the obligations               10   you know, and I want to try and pull
11   on gross receipts, but these are                     11   it.
12   certain deductions, so they're not                   12           I want to mark as Exhibit 4 a
13   restrictions?                                        13   section of your -- or a page from your
14          MR. MARDEROSIAN: I'm just                     14   book, which I think is consistent with
15      going to object.                                  15   what you just said.
16          It calls for a legal opinion                  16           MR. MARDEROSIAN: Objection.
17      and conclusion.                                   17           Argumentative.
18      Q Okay.                                           18           MR. ZAKARIN: Okay.
19          If you have a view.                           19           It's Exhibit K4.
20      A I don't have a view.                            20           THE WITNESS: What am I
21      Q Okay.                                           21        looking at?
22      A It says without prejudice to                    22           COURT REPORTER: One second.
23   the generality of the foregoing.                     23           MR. ZAKARIN: Nothing yet.
24      Q Do you have any understanding                   24           THE WITNESS: Oh.
25   of what that meant?                                  25           (Excerpt from the book
                                               Page 199                                             Page 201
 1                     KOHN                                1                    KOHN
 2           MR. MARDEROSIAN: Objection.                   2       entitled, Kohn On Music Licensing,
 3           Calls for a legal opinion and                 3       was marked K Exhibit 4, for
 4      conclusion.                                        4       identification, as of this date.)
 5           MR. ZAKARIN: I just want to                   5       Q General advice to music
 6      get an understanding of the                        6   copyright owner. That's in your book.
 7      witness' view.                                     7          Did you write that or your
 8      A It seems to be just                              8   father?
 9   clarifying what gross receipts include                9       A I wrote it.
10   and what they don't include.                         10       Q Okay.
11      Q Now, have you read Robert's                     11       A But it was based on his
12   deposition, Robert Marderosian that is?              12   philosophy.
13      A I would have read it, yes.                      13       Q Okay.
14      Q Do you recall that he                           14          This is an admonishment to
15   testified that if Extreme did not get                15   copyright owners that you have in your
16   paid, it had no obligation to pay the                16   book, right? And I think it's sort of
17   plaintiffs any money?                                17   what you said before which is --
18      A If Extreme did not --                           18       A That's advice.
19           MR. MARDEROSIAN: I'm going                   19       Q -- do not let your perception
20      to object --                                      20   of the value of the copyright go to
21      Q If Extreme did not actually                     21   your head. Remember that no matter how
22   receive monies from licenses, it had no              22   small the license fee you receive, in
23   obligation to pay the plaintiffs?                    23   the long run you will tend to make up
24           MR. MARDEROSIAN: For the                     24   more than the difference from
25      record I'm going to object. That                  25   maintaining a continuing active
                                                                                      51 (Pages 198 - 201)
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                                               Page 202                                                 Page 204
 1                      KOHN                               1                 KOHN
 2   relationship between the song and the                 2      testimony.
 3   listening public.                                     3      A What was I expressing before?
 4       A Where are you reading from so                   4      Q About the licensing, that you
 5   I can --                                              5   want to encourage activity in the song.
 6       Q Top paragraph. You see --                       6   But regardless --
 7       A Oh, before exploring?                           7      A Well --
 8       Q After exploring.                                8      Q -- you wrote those words,
 9           Do you see do not get mired                   9   didn't you?
10   in the details for example --                        10      A I think what --
11       A Okay. Now I do.                                11          MR. MARDEROSIAN: Hold on.
12       Q -- then do not let your                        12      I'm just going to object.
13   perception.                                          13          MR. ZAKARIN: Go ahead.
14           These are your words, aren't                 14          MR. MARDEROSIAN: The
15   they?                                                15      question is vague and confusing --
16       A Well, it says do not                           16          MR. ZAKARIN: I'll withdraw
17   get mired on the details for example.                17      the question.
18       Q Yeah.                                          18          MR. MARDEROSIAN: Thank you.
19       A Right? Okay.                                   19          MR. ZAKARIN: And I'll ask a
20       Q That says don't let the                        20      new one.
21   negotiation of legal boilerplate                     21          MR. MARDEROSIAN: Okay.
22   obscure your vision.                                 22      Q You wrote those words in the
23       A Right.                                         23   book, didn't you?
24       Q And then you say, don't                        24      A Yes.
25   let -- this is -- you're saying this to              25      Q And you believe that, don't
                                               Page 203                                                 Page 205
 1                    KOHN                                 1                 KOHN
 2   the copyright owners who are                          2   you?
 3   exploiting, right? Don't let your                     3       A I agree with my father's
 4   perception of the value of the                        4   general philosophy, yes.
 5   copyright go to your head. Remember                   5       Q Well, that's your father's
 6   that no matter how small the license                  6   philosophy; and wrote it --
 7   fee you receive, in the long run you                  7       A Yes.
 8   will tend to make up more than the                    8       Q -- you said.
 9   difference for maintaining a continuing               9       A Yes.
10   active relationship between the song                 10       Q And if you didn't believe it,
11   and the listening public. Don't let                  11   you wouldn't write it, would you?
12   fear and uncertainty rule the day.                   12       A No.
13   Recognize that life is decision-making               13       Q Okay. So that is your view?
14   and don't be afraid to make a decision.              14       A Well, you said something
15   A good rule to follow is when in doubt,              15   earlier. I mean, this has got to be
16   license. Music copyright owner's                     16   read in the context of the reason why
17   primary interest should always be to                 17   you -- maybe I could be more clear
18   encourage as much activity in the song               18   here. But when you're licensing, you
19   as possible.                                         19   are sync licensing. And the reason why
20          I think that was sort of what                 20   you're going to make more money in the
21   you were expressing before, am I right?              21   long run is you're going to get money
22          MR. MARDEROSIAN: I'm going                    22   in the back end. I think that's what
23       to object.                                       23   you're referring to a moment ago about
24          That's argumentative.                         24   what I said earlier. That you license,
25       Mischaracterizes the previous                    25   you get the sync licenses out and you
                                                                                       52 (Pages 202 - 205)
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                                           Page 210                                                  Page 212
 1                    KOHN                             1                     KOHN
 2           Do you recall that statement?             2   registered in the name of Extreme's
 3       A Yes.                                        3   CEO. Extreme's CEO also registered
 4       Q Okay.                                       4   songs under his names that duplicated
 5       A I said a year and a month. I                5   titles of songs previously registered
 6   think I corrected myself.                         6   by Aron and Rob.
 7       Q Something -- that's why I                   7           That's the statement that you
 8   wasn't specific and said a year or a              8   have on Page 9, correct?
 9   year and a half, something like that.             9        A That is a summary of another
10   If it's a year and a month, it is what           10   portion of my expert report.
11   it is.                                           11        Q But I read it accurately,
12           Have you identified any                  12   correct?
13   performance income that the plaintiff            13        A I believe you have. And if
14   should have received that they didn't            14   it's been transcribed accurately, we
15   receive as a result of that year and             15   have that now.
16   one month non-registration of a works            16        Q Okay.
17   registration?                                    17           Can you tell me what you mean
18           MR. MARDEROSIAN: I'm going               18   by the utter confusion? What was the
19       to object that it's vague and                19   utter confusion you are referring to?
20       overbroad and an incomplete                  20        A I'm turning to the part of
21       hypothetical.                                21   the report --
22       Q You can answer the question.               22        Q Sure.
23       A I haven't been asked to opine              23        A -- that that summarizes.
24   on that.                                         24        Q Sure.
25       Q Okay.                                      25           This is the utter confusion
                                           Page 211                                                  Page 213
 1                     KOHN                            1                   KOHN
 2          So that's not part of your                 2   from the changing of titles. That's
 3   brief; is that right?                             3   what I want to see.
 4       A It wasn't in my report, and I               4      A On Page 37 of my report I
 5   wasn't asked to have an opinion on it.            5   mention that Mr. Elias of Viacom told
 6       Q Okay. Turn to Page 9, if you                6   Aron and Rob, I think it was in an
 7   would.                                            7   e-mail, that Extreme would
 8          There are some statements                  8   cross-reference all of Aron and Rob's
 9   that I want deal with, and one of them            9   song titles with existing tracks in the
10   starts on the first full bullet point            10   Extreme library to make sure there were
11   in the page. It says complicating the            11   no duplicates.
12   delay in registration. The accurate              12      Q Does that reflect any
13   tracking of performance and the                  13   confusion?
14   collection and distribution of Aron and          14      A I'm trying to answer your
15   Robert's writer share of performance             15   question. I'm not finished.
16   royalties was the utter confusion that           16      Q Okay.
17   resulted from the changing of many of            17      A Okay.
18   the song titles originally chosen by             18         The next paragraph shows, and
19   Aron and Robert. Many of these changes           19   also my recollection from the Extreme
20   were apparently -- many of these                 20   CEO's deposition where he admitted to
21   changes were made apparently by                  21   changing titles of the songs. All
22   Extreme's CEO and the changes caused             22   right? The next paragraph here says,
23   duplicate titles in Extreme's catalogs,          23   one of the most popular songs among
24   including duplicates that caused                 24   those delivered by Aron and Robert.
25   confusion with songs previously                  25         Now, as you know, documents
                                                                                    54 (Pages 210 - 213)
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                                               Page 242                                                  Page 244
 1                    KOHN                                 1                     KOHN
 2   deposition as marketing.                              2   going to get one out of 24,000 of the
 3          I look at a guy who's filing                   3   income coming in from these blanket
 4   under various names and I see 13,000                  4   licenses.
 5   songs under his name. So he -- as he                  5           You could have 3,000 of Russ
 6   explained in his deposition, well,                    6   Emanuel songs that have never been
 7   10,000 of those were under, I think it                7   sync'd during the period of time of the
 8   was Bruce Fingers or something like                   8   blanket license that gets a piece of
 9   that, that gets funneled off to a                     9   the action, the same piece of the
10   company that he's the CEO of, which I                10   action that songs that were used and
11   think is a Sony ATV company. Right?                  11   sync'd during the period. I have seen
12          And I look at that and I go                   12   your experts incredibly try to explain
13   well something seems to be wrong here.               13   to this court -- I just got a
14   All right? Using alias names to funnel               14   dizziness. Excuse me. It's from my ear
15   off to another company. Now, my                      15   problem.
16   understanding is from his deposition,                16           Okay. Hold on. Sorry.
17   which I'm not going to dispute because               17           MR. BAGLEY: Do you want to
18   he says what he says, that that money                18       take a short break?
19   is being paid to other songwriters.                  19           THE WITNESS: I might because
20   Fine. That leaves 4,000 songs under                  20       if i -- I might faint.
21   his name at ASCAP. I don't know how                  21           MR. MARDEROSIAN: Why don't
22   many songs are filed under his name at               22       we do that?
23   PRS because I don't have any access to               23           THE WITNESS: No, no. Wait,
24   the PRS repertoire database. So I                    24       I think I just recovered.
25   haven't had a chance to look at that.                25           The room spins a little bit,
                                               Page 243                                                  Page 245
 1                   KOHN                                  1                   KOHN
 2          So I see 4,000 songs. I go                     2       you know, when I am doing this.
 3   to the Extreme website and I pull out                 3           Okay. Let me -- let me
 4   about 3,500 songs and I've eliminated                 4       finish. Okay.
 5   duplicates of all -- using the aliases                5       A All right.
 6   that I knew of, not the aliases I                     6           So your experts get up there
 7   didn't know of, of 20 -- it was about                 7   and say I said that everything's on
 8   2500 to 3,000 songs, which I don't                    8   actual usage basis and that's the way
 9   know, I haven't been able to dig into                 9   its got to be. Well, that's a strawman
10   the detail here. I need to ask for                   10   that they created to defend the
11   discovery on this, which I think has                 11   practice which only has occurred in the
12   not been produced.                                   12   instance of Extreme, as far as I know.
13          But there are 24,000 --                       13   And maybe one other, and that is you
14   you're shaking your heads.                           14   had -- yesterday Mr. Katz said that he
15       Q I'm am. But I'm allowed.                       15   acquired a company called First Com
16       A Fine.                                          16   that apparently also allocated its
17          There are 24,000 songs among                  17   songs, a production music library based
18   the catalog that's been allocated. If                18   upon the number of songs in the
19   3,000 songs are the CEO's songs, and if              19   catalog.
20   you are using a non-usage based way of               20           What Dan Pounder admitted
21   allocating to the songwriters, if                    21   to -- Dan Pounder admitted to that he
22   you're using based upon the number of                22   knows songs are going to get paid that
23   songs, then you're taking a song like                23   never were used in a sync license or
24   Mulholland Drive and Figueroa Street                 24   performed at all. You have experts,
25   and these other songs, and I'm only                  25   maybe one sitting in this room, that
                                                                                        62 (Pages 242 - 245)
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                                               Page 246                                                  Page 248
 1                   KOHN                                  1                    KOHN
 2   suggests that people are paying for an                2        Q Every bit of it.
 3   access license. Well, show me where in                3        A Good.
 4   the copyright law you have an exclusive               4        Q Are you done?
 5   right of access. What a blanket                       5        A No, I'm not done.
 6   license is --                                         6        Q Oh, good. Keep going.
 7          COURT REPORTER: I'm sorry?                     7        A So I look at this, and I see
 8       Copyright law where you?                          8   this. And you've brought in people who
 9       A An exclusive right of access.                   9   are from the production music library
10   You have an exclusive right to                       10   businesslike; like Mr. Katz and Adam
11   reproduce the work in copies or phono                11   Taylor who are basically circling the
12   records. But you have an exclusive                   12   wagon saying that this is something
13   right to prepare derivative works. You               13   that's proper and standard -- oh, sure,
14   have an exclusive right of                           14   it's standard of practice to do that,
15   distribution, exclusive right of public              15   but they don't even do it themselves.
16   performance, et cetera, et cetera.                   16   Adam Taylor wouldn't possibly do it
17          You don't have an exclusive                   17   himself. Why would he -- how could he
18   right of access. What you are doing                  18   pay the song writers to do that?
19   with a blanket license, you are                      19           Now, next stage. Next stage.
20   providing your customer with the                     20   The joint venture agreement between
21   ability to reduce transaction costs by               21   Viacom and Extreme -- it's getting late
22   saying you can choose anything among                 22   in the day -- the joint venture
23   these to use in your works. Okay?                    23   agreement specifically says -- I have
24          You can choose any of these                   24   this in my report. And can you sit
25   works to sync. The license is for the                25   there and smile all you want because I
                                               Page 247                                                  Page 249
 1                   KOHN                                  1                 KOHN
 2   sync -- the license is for the fixing.                2   know --
 3   The license is for the reproduction.                  3       Q I am smiling.
 4   And the license could be for the public               4       A Yeah, you are smiling.
 5   performance as well, whether it's BMI                 5       Q I am. I know.
 6   or whether it's on a direct license.                  6       A You'll be really happy to see
 7          So if you take the -- if you                   7   what's going happen. Right?
 8   take what I just said and you have                    8       Q I'm enjoying this.
 9   someone with several thousand songs in                9       A Okay. Terrific, you know.
10   a catalog, and that's not been -- you                10          So the joint venture
11   know, I don't know how many songs he                 11   agreement between Viacom and Extreme
12   has in the catalog. He's getting --                  12   has a provision in it that says advise
13   people are getting paid for not being                13   that Extreme will make sure that Viacom
14   sync'd. And you have experts coming in               14   gets paid -- its the public performance
15   here saying that's a standard practice               15   royalties directly from performance
16   in the industry. They know that's not                16   rights societies, BMI.
17   true. They know that's not true. Adam                17          The reason why they did that
18   Taylor in his report doesn't do it that              18   is because Viacom is not in the same
19   way. APM does it based upon usage. He                19   position as an APM. Right? You said
20   says so in his report. He gets usage                 20   it yourself, and I quoted you in my
21   reports from his licensees. It's                     21   expert report. You said that the --
22   not -- I never said it has to be actual              22   Viacom is acting both -- and I'm not
23   usage. Actual usage might be data                    23   trying to be contentious here. I'm
24   reports or performances coming in.                   24   just trying to get everyone -- I'd like
25   Okay? Follow what I'm saying?                        25   to be helpful to the court so they can
                                                                                        63 (Pages 246 - 249)
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                                               Page 250                                              Page 252
 1                      KOHN                               1                   KOHN
 2   understand what's going on here.                      2   says to Extreme, you will make sure
 3           But Viacom entered into this                  3   that you will file work registrations
 4   agreement because when you are a                      4   and cue sheeting, and whatever it says
 5   broadcaster and when you are a                        5   in that paragraph that I have in my
 6   publisher, you have a conflict of                     6   report, so that we get our income paid
 7   interest. The broadcaster's -- part of                7   directly from the performance right's
 8   his business is to minimize the music                 8   society. The next paragraph says all
 9   costs that are coming in that -- you                  9   other income that needs to be paid to
10   know, and that's why they even set up                10   us and to composers, you guys
11   New Remote, MTV to do that. Music                    11   administer. They separated out
12   publisher is to maximize the income                  12   performance licensing from the rest of
13   coming in for him and as well as any                 13   us. That protected Viacom from any
14   songwriters who might deserve a share                14   accusation from songwriters that they
15   of that. That is the conflict.                       15   were not, you know, trying to screw
16           So Viacom could not, for                     16   them out of their public performance
17   example, enter -- after entering into                17   royalties because that's all they were
18   the 2010 agreement issue a license to                18   going to get out of the 2010 agreement.
19   itself to, let's say, do a direct                    19          MR. HWANG: Apparently it
20   performance license because that would               20       wasn't enough protection.
21   of -- it doesn't say that they can't.                21       A Apparently it wasn't enough
22   Mr. Zakarin, over here, keeps on saying              22   protection because Extreme immediately
23   where does it say in this agreement you              23   gave direct public performance licenses
24   can't do it. And I keep on saying it's               24   to ABC, Disney, NBC, CBS, Fox, Turner
25   an implied obligation of good faith and              25   Broadcasting, five or six, seven
                                               Page 251                                              Page 253
 1                 KOHN                                    1                    KOHN
 2   fair dealing.                                         2   other -- you know, I have -- we have
 3          There's no way in hell that                    3   all the direct performance licenses,
 4   Viacom could have issued to itself a                  4   you know, that was produced here.
 5   free performance license, a direct                    5          They went ahead and did all
 6   performance license to eliminate its                  6   of that. Okay. So now the money is
 7   obligations to the boys. You know                     7   not going through BMI anymore, to the
 8   that. Okay. So when it entered into                   8   songwriters or to Viacom. The money
 9   the agreement with Extreme, it had to                 9   for performances presumably it could
10   recognize its special position as both               10   only be through -- back through
11   the publisher and a broadcaster. APM                 11   Extreme. Now remember, Extreme decided
12   is not in that position. It's owned by               12   not to do this on the basis of usage,
13   Sony ATV and so is First Com and so is               13   which is what you know BMI would.
14   the other production music library that              14   That's why Viacom said I want BMI doing
15   they have. That's a different                        15   it, and not you doing it. That's why I
16   position.                                            16   say, look, you should be sitting on our
17          You wanted to make sure that                  17   side of the table here.
18   your interest was aligned. And I'm                   18          So it's not a question. So
19   pointing to you because you represent                19   the -- now -- so the money is
20   Viacom. You wanted to make your                      20   throwing -- will be flowing through.
21   interest aligned with the songwriters                21   What does Viacom do with a direct
22   to keep you out of trouble of doing the              22   public performance license? It goes to
23   wrong thing, especially when you're                  23   BMI to get its cost reduced. It
24   dealing with a third party. So the                   24   gets -- it goes to BMI to say we should
25   reason why that joint venture agreement              25   pay you less -- less annual public
                                                                                       64 (Pages 250 - 253)
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                                             Page 274                                                  Page 276
 1                    KOHN                               1                    KOHN
 2   the way I read it.                                  2   pages here. So the Mulholland Drive
 3       Q Okay.                                         3   one was an instance in which, as I
 4       A But, you know, it may have                    4   mentioned earlier, where Aron and Rob
 5   been ambiguous. There was a reason why              5   were told that Extreme would be --
 6   I used word the apparently.                         6   might be changing titles to make sure
 7       Q I just want to make sure what                 7   there were any duplicates that they
 8   we're saying here. So if you were                   8   weren't being -- there would not be any
 9   using the term apparently, you're not               9   duplicates with respect to any other
10   100 sure, as you sit here now, what                10   songs in their catalog. And that
11   Russel Emanuel said. But your source               11   didn't occur here. And that did
12   of whether Russel Emanuel changed                  12   apparently cause confusion because
13   titles is from his deposition; is that             13   money that should have gone to Rob and
14   correct?                                           14   Aron went to Thomas Bergersen and
15       A Yes.                                         15   Nicholas Phoenix. If there's a
16       Q Okay.                                        16   situation where confusion may have
17       A I think -- unless there was                  17   cussed a mispayment, that's certainly
18   something else that I received that I              18   one. I don't --
19   read and gave me that impression in my             19       Q I don't disagree. But I'm
20   mind, but sitting here today that's the            20   looking --
21   only thing I can recollect.                        21       A Okay.
22       Q Can you identify specific                    22          So let's go through these so
23   instances where the changed titles                 23   I can be complete.
24   created confusion with songs previously            24       Q On Page 40 -- I haven't seen
25   registered in the name of Mr. Emanuel              25   anything on Pages 37, 38, 39. But now
                                             Page 275                                                  Page 277
 1                   KOHN                                1                   KOHN
 2   or under one of his known pseudonyms?               2   you have Extreme change on Page 40, you
 3          MR. MARDEROSIAN: I'm just                    3   refer to By the Boot Straps in the
 4       going to object.                                4   middle paragraph. Okay.
 5          The question is vague,                       5       A But on page --
 6       ambiguous, and overbroad.                       6       Q Bruce Fingers.
 7          Incomplete hypothetical.                     7       A Hold on a second.
 8       Q Do you understand the                         8       Q Okay. This is where you're
 9   question?                                           9   showing various aliases or pseudonyms,
10       A Well, to the extent I do, I                  10   starting on Page 40.
11   think I discussed several examples,                11       A Okay.
12   which I thought I had listed on Pages              12          So on Page 39 --
13   36 through --                                      13       Q Okay.
14       Q Thirty-six, I don't see                      14       A -- middle paragraph, you
15   anything.                                          15   know, the first paragraph is where I
16       A Thirty-six though, I guess,                  16   point out I've seen cue sheets
17   40.                                                17   generated by Viacom which says Mix Tape
18       Q I'm looking at that. Okay.                   18   as the composer name.
19          You're not suggesting that                  19       Q How many --
20   Mulholland Drive, which I think you                20       A The second --
21   identified as a confusion issue, is                21       Q I'm sorry.
22   Russel Emanuel song?                               22          How many cue sheets have you
23       A No. What I -- what I                         23   seen that say Mix Tape?
24   suggest -- no.                                     24       A A handful.
25          Yeah, so this is the general                25       Q More than one?
                                                                                     70 (Pages 274 - 277)
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                                             Page 278                                              Page 280
 1                    KOHN                               1                KOHN
 2       A Yeah. Yeah. There was like                    2   out --
 3   about five of them or six of them                   3      A So the next thing I want to
 4   mentioned yesterday.                                4   point out here. So I have in the
 5       Q I don't think they're all Mix                 5   middle of 39.
 6   Tape, but it is whatever it is. The                 6      Q Yes.
 7   record will reflect whatever it is.                 7      A Extreme COO Dan Pounder
 8       A I thought I saw it but --                     8   dismisses this as a one-off mistake.
 9       Q There's certainly at least                    9      Q This is referring to the
10   one that was Mix Tape.                             10   Mulholland Drive issue.
11       A Okay.                                        11      A Yes.
12          I think there's five or six,                12      Q I don't think it's the Mix
13   but anyway.                                        13   Tape.
14       Q Out of how may -- by the way,                14      A Okay. Fair enough.
15   out of how many, do you know?                      15      Q It's he Mulholland Drive
16       A I don't know.                                16   issue.
17       Q A thousand?                                  17          COURT REPORTER: Okay.
18       A I don't know.                                18      Gentlemen, you're talking over
19       Q How many cue sheets did you                  19      each other.
20   look at?                                           20          MR. MARDEROSIAN: This record
21       A Oh, there were a lot. But I                  21      is going to miserable. I mean --
22   flipped through them and -- on my                  22      A I'm reading. Okay. A single
23   computer.                                          23   misattribution. This is in -- I cited
24       Q I'm not suggesting that you                  24   the page. But he is contradicted by
25   studied them.                                      25   the testimony of his own -- of his CEO
                                             Page 279                                              Page 281
 1                   KOHN                                1                     KOHN
 2       A I don't know.                                 2   who testified with respect to the
 3       Q Do you have an estimate                       3   company's retitling practices. So the
 4   whether a 1,000 or 2,000 cue sheets?                4   CEO, Russel Emanuel himself, says that
 5       A No, I don't.                                  5   retitling practices, it's changed over
 6       Q You don't know?                               6   the years. It used to be practice that
 7       A No.                                           7   it didn't matter at all. More
 8       Q There are a lot?                              8   recently, and we're talking about
 9       A Yeah. You bet there are.                      9   probably 2018, Dan Pounder and his
10       Q And so we're now talking                     10   department have kind of tightened up
11   about five or six cue sheets out of                11   that process because we were made aware
12   however many you looked at?                        12   of some title changes going into
13       A Regarding the most popular                   13   suspense.
14   song these two guys wrote for your                 14       Q It doesn't say changes. Some
15   client --                                          15   tiles going into suspense.
16       Q Albeit --                                    16       A Oh. Some titles -- thank
17       A -- where money was actually                  17   you. Some titles going into suspense.
18   received by somebody else rather than              18   I'm losing my voice today. The society
19   the client.                                        19   started -- maybe it was too long of a
20       Q Performance income.                          20   speech. I don't know really. Okay.
21       A Okay.                                        21   The societies -- that's just humor.
22       Q We've gone through that                      22   Okay. Thank you for laughing on the
23   particular one.                                    23   other side.
24       A Okay. Fine.                                  24           The society started to put --
25       Q I'm just trying to find                      25   I can't -- this is what he says. I'm
                                                                                     71 (Pages 278 - 281)
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                                               Page 282                                                 Page 284
 1                     KOHN                                1                    KOHN
 2   going to read that line. Because we                   2   to be -- very likely to be a unique
 3   were made aware of some titles going                  3   title. Nevertheless, someone at
 4   into suspense, dash, the societies                    4   Extreme, and I said perhaps Russel
 5   started to put, dash, I can't remember                5   Emanuel --
 6   the term he uses, dash, anyway they put               6       Q Speculating?
 7   the titles on hold until they can                     7       A I was speculating. From his
 8   format any dispute. I would say that's                8   own words, who admittedly personally
 9   the only -- that's only in the past                   9   changing song titles, and my
10   couple of years until we had -- until                10   recollection is is that he was talking
11   then we had multiple works with the                  11   about these boys titles. Changed the
12   same titles.                                         12   title to By the Boot Straps. There
13           I point that out because                     13   happens to be a song registered at
14   apparently this showed to me that they               14   ASCAP called By the Boot Straps.
15   knew they had a title problem, and it                15           COURT REPORTER: Sir, I know
16   was causing problems. Money was not                  16       you're reading; but I need you to
17   being spent. It wasn't being done                    17       slow down.
18   correctly. Money was being put in                    18       A There happens to be a song
19   suspense and not being distributed                   19   registered at ASCAP called By the Boot
20   correctly as a result of a policy that               20   Straps, published by a PRS music
21   went on from 2010, at least as early as              21   publisher called Directors Cuts
22   that, until 2018. That shows me that                 22   Production Music Limited, I don't know
23   there is a problem. That shows me that               23   who owns that, which according to
24   if nothing else they didn't do their                 24   ASCAP's publically available records is
25   job, and that means a breach of                      25   either owned by or administered by
                                               Page 283                                                 Page 285
 1                    KOHN                                 1                   KOHN
 2   contract. But that's a legal                          2   Extreme. The song was cowritten by
 3   conclusion that I shouldn't be making.                3   Mr. Bruce Fingers, which is an alias
 4           I know. Let's go on.                          4   that he uses to funnel money -- the
 5       Q My question --                                  5   songwriter's money to a corporation
 6       A I'm getting there.                              6   called Fingers -- I forgot what it is.
 7       Q So -- all right.                                7      Q Bleeding Fingers.
 8       A -- I'm just trying to get                       8      A Bleeding Fingers.
 9   help you get there sooner so we can                   9      Q Let me try and help you to
10   work through the deposition.                         10   cut through this.
11           Okay. In fact, so Mr. Elias,                 11      A Go ahead. Thank you.
12   as I said earlier, of Viacom, after he               12      Q You've identified here on
13   had suggested to the plaintiffs that                 13   Page 40 one song which apparently is,
14   their titles would be -- might be                    14   you know, changed to a title that
15   changed so that they wouldn't be the                 15   corresponds to a title of Russel,
16   same as other titles, here I say the                 16   Emanuel under one of his pseudonyms,
17   exact opposite seem to be -- the exact               17   correct?
18   opposite was happening.                              18      A Um-hum.
19       Q Do you remember what my                        19      Q Have you identified any
20   question was because it may help?                    20   income that was diverted to Russel
21       A Yeah. Okay.                                    21   Emanuel as a result of that title?
22           So, for example, a song                      22      A I wasn't asked to go into
23   written by Aron and Robert delivered to              23   that.
24   Viacom, which Extreme published, was                 24      Q So you don't know? You don't
25   entitled ML Lettie. I considered this                25   know, correct?
                                                                                        72 (Pages 282 - 285)
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                                              Page 286                                                Page 288
 1                    KOHN                                1                   KOHN
 2       A I wasn't asked to opine on                     2   could say I don't know, but if you --
 3   that if I have facts.                                3       A Would you repeat the question
 4       Q So you don't know? That's                      4   again so I can --
 5   all I'm saying?                                      5       Q Would you read it back,
 6           MR. MARDEROSIAN: I don't                     6   please.
 7       think you produced income records                7       A It's getting very late in the
 8       reflecting Mr. Emanuel's                         8   day for me and I'm beginning to --
 9       royalties, Don.                                  9          MR. MARDEROSIAN: The
10       Q Have you seen cue sheets or                   10       objection stands.
11   anything else, any other evidence that              11          (Whereupon, the record was
12   shows that income was diverted to --                12       read.)
13   from the plaintiffs to Russel Emanuel               13       A It did get diverted to --
14   on that song?                                       14       Q We've dealt with Mulholland
15           MR. MARDEROSIAN: I'm just                   15   Drive. I'm asking about this song.
16       going to object.                                16       A Okay. Okay.
17           The question is vague and                   17          Oh, I'm not thinking
18       overbroad and an incomplete                     18   altogether right right now.
19       hypothetical.                                   19          No.
20       A I think if you would get in                   20       Q Okay.
21   touch with ASCAP, I think it would                  21          There is then -- I'm trying
22   be -- Bruce Fingers would be Russ                   22   to see if there was any other songs
23   Emanuel's Social Security number. So I              23   that you do -- that you mention. If
24   don't know how that money eventually                24   you turn to Page 42, I think there's
25   goes there. I don't have --                         25   another one.
                                              Page 287                                                Page 289
 1                   KOHN                                 1                 KOHN
 2       Q But that wasn't my question.                   2      A    Right.
 3   My question was just -- I'm not                      3      Q    I've gone through this.
 4   disputing whether or not that is Russel              4          Page 42 you refer to Uphill
 5   Emanuel or whether he gets paid for his              5   Battling in the second paragraph.
 6   version of the song.                                 6      A Right.
 7          My question was: Do you know                  7      Q Do you see that?
 8   whether any of the plaintiffs' money                 8      A The boys had entitled a song
 9   was diverted to Russel Emanuel on that               9   called The Silence.
10   song? It's a sole question --                       10      Q And now it's Uphill Battle.
11          MR. MARDEROSIAN: Just going                  11      A The song was changed to
12       to object.                                      12   Uphill Battle. There's a song
13       Q -- by virtue of the change in                 13   registered at ASCAP called Uphill
14   title?                                              14   Battles. The song published by
15          MR. MARDEROSIAN: It's vague                  15   Directors Cuts. And it was cowritten
16       and overbroad and an incomplete                 16   by Bruce Fingers, which one of
17       hypothetical.                                   17   Emanuel's alias.
18       Q Yes or no?                                    18      Q The question is the same.
19       A I have to give it some                        19      A The question is the same. Do
20   thought in the context of what I was                20   I know --
21   discussing earlier.                                 21      Q Yes.
22       Q I can wait.                                   22      A -- whether this
23       A It may take more thought than                 23   specifically --
24   that.                                               24      Q There was any money diverted
25       Q Well, if you don't know, you                  25   for that change in title?
                                                                                       73 (Pages 286 - 289)
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                                           Page 290                                                  Page 292
 1                 KOHN                                1                 KOHN
 2    A No.                                            2       Q Yes.
 3        MR. MARDEROSIAN: Diverted in                 3       A -- in money going from the
 4    the Russel Emanuel's pocket?                     4   guys to this. No.
 5        MR. ZAKARIN: Yes. Either                     5           My point here was to show
 6    Russel Emanuel or to that song,                  6   that titles were changed --
 7    whether it went into Russel                      7       Q I know.
 8    Emanuel's pocket or somebody else.               8       A -- in a very suspicious way.
 9        MR. MARDEROSIAN: Well, Aron                  9   But, you know, I don't have any.
10    and Robert didn't get paid.                     10       Q If I asked you about the next
11        MR. ZAKARIN: No, we haven't                 11   couple of songs, which is Big Guns --
12    established that. We've just                    12       A Guns. Glock Sucker.
13    talking about titles here.                      13       Q Glock Sucker.
14        And I'm asking whether that                 14           Is your answer the same that
15    change in title resulted in --                  15   it would -- you have no evidence that
16    that you know of in any diversion               16   money was diverted as a result of these
17    of income to the Russel Emanuel                 17   title changes?
18    version. That's all.                            18           MR. MARDEROSIAN: I'm just
19        MR. MARDEROSIAN: For the                    19       going to object.
20    record -- hold on.                              20           It calls for a legal opinion
21        I object. It's vague. It's                  21       and conclusion.
22    an incomplete hypothetical.                     22           MR. ZAKARIN: It's factual.
23    Q You can answer the question.                  23           MR. MARDEROSIAN: It's vague
24    A So I'm focusing on the word                   24       and is an incomplete hypothetical.
25 result. Did it result from, because I              25       Q You can answer the question.
                                           Page 291                                                  Page 293
 1                    KOHN                             1                     KOHN
 2   don't want that to be construed --                2       A Yeah, I don't have any
 3      Q Did it happen? Do you have                   3   personal knowledge of any of that.
 4   any knowledge that it happened?                   4       Q Okay. Okay. And by the way,
 5      A I don't want that to be                      5   I will say I'm not including in that so
 6   construed that I -- because I do think            6   we're clear. So your caveat before is
 7   because of the way, as I described                7   clear, the -- your methodology of
 8   earlier, this has been set up to                  8   allocation that you think is proper and
 9   allocate synchronization income and               9   how that may or may have not affected
10   direct public performance licenses               10   on blanket licenses, I'm not dealing
11   through Extreme, and money is being              11   with that.
12   allocated on the basis of the number of          12       A I appreciate you saying that
13   songs as opposed to usage, money would           13   because I was -- earlier I was --
14   be funneling -- be funneled to the               14       Q You've made your point.
15   Extreme's CEO.                                   15       A I wanted to make sure I
16          But you're asking me a                    16   wasn't confusing the two things.
17   different question.                              17       Q No. You've made your point.
18      Q But I'll make that easier for               18   And we can disagree, but that's your
19   you.                                             19   point.
20      A No, but -- no, no, no. Let                  20           I think from what you've said
21   me just -- so you're asking me a                 21   before, and I want to make sure that
22   different question, which is does the            22   this is correct, and it may not be part
23   change in title -- do I have any                 23   of your opinion. You haven't
24   information that the change in title             24   identified any money that was paid to
25   here resulted --                                 25   Russel Emanuel that should have been
                                                                                    74 (Pages 290 - 293)
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                                               Page 294                                            Page 296
 1                   KOHN                                  1                KOHN
 2   paid to the plaintiffs putting to the                 2       MR. ZAKARIN: I have a
 3   side your allocation theory; is that                  3   concern right now. My concern is
 4   correct?                                              4   the witness has said a couple of
 5          MR. MARDEROSIAN: I'm just                      5   times that he's not thinking
 6       going to object.                                  6   clearly. And I understand. And
 7          That's vague and an                            7   you have vertigo. I have a
 8       incomplete hypothetical.                          8   concern about -- because I've got
 9       A I think that if I did a                         9   a lot more to do and I don't want
10   further review of the tremendous amount              10   to have a statement or a concern
11   of information that I've been provided               11   that the witness's testimony is
12   with that I might have the evidence and              12   the product of impairment, lack of
13   I might have seen the evidence, but                  13   physical, you know, fortitude,
14   you're trying to sort of say other than              14   being unwell. I'm very concerned
15   that. I won't -- I won't agree to                    15   about it.
16   that.                                                16       MR. MARDEROSIAN: Here's the
17          You follow me?                                17   only alternative to that. He's
18       Q You won't agree to that                        18   going to have to come out to Los
19   because you can't speak to the                       19   Angeles if that's the case and
20   evidence --                                          20   we'll add another day out in Los
21       A Because there's so much                        21   Angeles if that's the case.
22   evidence --                                          22       MR. ZAKARIN: I don't know
23          COURT REPORTER: I --                          23   what else to do here because I've
24       Q You're right. I'm sorry.                       24   got hours.
25   That was his fault though.                           25       MR. MARDEROSIAN: I
                                               Page 295                                            Page 297
 1                    KOHN                                 1                KOHN
 2       A There's so much evidence. I                     2   understand. And you don't want
 3   just don't want to be misrepresented or               3   the record to be jeopardized or
 4   kind of what I say be misconstrued.                   4   have me claim that something that
 5   Okay?                                                 5   he said wasn't valid because he
 6       Q Am I correct --                                 6   wasn't feeling well. I have been
 7       A Because I very well may have,                   7   there and I understand that.
 8   at this point in time I'm not thinking                8      I do want to say this, too,
 9   clearly, but I may well have other                    9   Don. When you use terms like
10   evidence that I've seen that I have not              10   evidence, that's calling for a
11   brought to light. But I appreciate                   11   legal opinion and conclusion
12   what you're trying to do. You're                     12   because there could be direct and
13   trying to say other than what I said                 13   circumstantial evidence. And we
14   earlier. All right?                                  14   know that circumstantial evidence
15          But when you say that I also                  15   has the same effect as direct
16   put a caveat on what I said earlier as               16   evidence. So asking an expert
17   being something that I would want to                 17   who's not a legal expert in this
18   supplement with everything that I have               18   case if there's evidence is kind
19   looked at and everything that I've said              19   of a waste of time. And I know
20   before. It's a -- it's a rhetorical                  20   that you know that.
21   trick that I don't want to get caught                21      So that -- those types of
22   up in.                                               22   questions are eating our time up,
23          You follow me?                                23   as well. Let me -- let me do
24       Q I'm -- let's -- do you want                    24   this. Let me take a quick break
25   to --                                                25   and talk to him and if he's not
                                                                                    75 (Pages 294 - 297)
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                                               Page 310                                                  Page 312
 1                   KOHN                                  1                   KOHN
 2           MR. MARDEROSIAN: I have to                    2   not copyrightable?
 3       make objections if the questions                  3       A It doesn't mean they're that
 4       aren't proper questions.                          4   not protectable. There is the Thomson
 5       Q On Page 9, in the middle of                     5   versus Walt Disney case in California
 6   the page, it says, music publishers                   6   where unfair competition or palming
 7   where they can have influence over the                7   off -- the Lovebug case in which a
 8   titles of songs will customarily                      8   California court held that under unfair
 9   attempt to avoid duplicate titles to                  9   competition law or palming off the
10   avoid the obvious problem of                         10   titles could be protectable as in the
11   misdirected or suspended public                      11   form of a trademark under unfair
12   performance revenues.                                12   competition but not copyrightable.
13           Do you see that statement?                   13       Q Yes, I know that.
14       A You said page 9.                               14           Have you either spoken with
15       Q Page 9 of your report?                         15   or surveyed any music publishers that
16       A Music publishers where they                    16   told you that they will customarily
17   can have influence?                                  17   change titles to avoid duplicates?
18       Q Yes, that statement. Do you                    18       A I think -- I don't know
19   see that?                                            19   whether it was music publishers that I
20       A I'm reading it again. Yes.                     20   learned the problem from or people in
21       Q Is it your testimony that                      21   the -- PROs. But in discussions that
22   this is another custom and practice in               22   I've had over 35 years, I've come to be
23   the industry?                                        23   aware that duplicate titles have been a
24       A I am aware over many yours                     24   problem and it would be good if we
25   that one of the problems that the                    25   could try to avoid them where possible.
                                               Page 311                                                  Page 313
 1                    KOHN                                 1                    KOHN
 2   industry faces in allocating income,                  2       Q You're aware that the PROs
 3   particularly blanket income, was the                  3   have thousands of songs that have the
 4   problem of duplicate titles. And there                4   same title?
 5   have been lots of ways that performance               5       A Yes.
 6   societies and others have tried to deal               6       Q Did you ask any of the PROs
 7   with that problem. So I'm aware that                  7   whether those thousands of common
 8   it's a problem and that -- I'm aware                  8   titles present an obvious problem for
 9   that there are publishers who try to                  9   them in allocating income?
10   avoid duplicate titles where they can.               10       A I have -- since the beginning
11   It's not always up to them.                          11   of this case, no.
12           So I would say that it's a                   12       Q Did you ask them before the
13   custom and practice in the industry to               13   beginning of this case?
14   avoid duplicates where practical.                    14       A I might have been on panels
15   Sometimes it's the songwriter. He's                  15   that might have talked -- that's
16   going to do what he wants to do. There               16   probably -- may have been where I have
17   are publishers who have always insisted              17   heard that it is a common problem or it
18   that the first three words of the song               18   was a common problem 20 years ago
19   is going to be the title. There was                  19   before the automation of cue sheets
20   this guy Jerome, I don't know, Robbins               20   through RapidCue and other kinds of
21   of Robbin's Music. So each publisher                 21   systems. Things change over time.
22   has its own, sometimes, quirkiness. As               22           MR. MARDEROSIAN: Don, you
23   metadata improves over time, that may                23       are aware your own expert, Adam
24   not be a problem anymore.                            24       Taylor, says his company does not
25       Q You're aware that titles are                   25       change titles, right? Was that
                                                                                        79 (Pages 310 - 313)
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                                         Page 314                                                  Page 316
 1                KOHN                               1                    KOHN
 2    included in your question of                   2       A I don't remember that
 3    evidence?                                      3   specifically, but...
 4        MR. ZAKARIN: I'm fully aware               4       Q Now if duplicate titles is,
 5    of it. Adam Taylor, they don't                 5   as you say in your opinion, an obvious
 6    change duplicators either.                     6   problem, do you have any understanding
 7        MR. MARDEROSIAN: Yeah, they                7   as to why BMI or ASCAP or the major
 8    don't change titles.                           8   publishers have not done something to
 9        MR. ZAKARIN: They don't                    9   eliminate this problem over the past 75
10    change duplicates.                            10   years?
11        MR. MARDEROSIAN: I think the              11       A I would -- I would say that
12    specific phrase in his report is              12   they're not necessarily in the position
13    his company does not change                   13   to eliminate it. They're not in
14    titles.                                       14   control of who registers what titles or
15        MR. ZAKARIN: Yes.                         15   not. And they are finding other ways
16        MR. MARDEROSIAN: At all.                  16   to deal with the problem.
17        MR. ZAKARIN: And it's                     17       Q To be clear it's not your
18    explained.                                    18   testimony, is it, that having
19        MR. MARDEROSIAN: I just want              19   identically titled songs automatically
20    to make sure that that was                    20   creates confusion and results in a loss
21    included.                                     21   of performance income?
22        MR. ZAKARIN: It's explained               22       A Not automatically.
23    why.                                          23       Q It can happen?
24    A I read Adam's report, and I                 24       A Yes.
25 remember him saying that.                        25       Q But it's not something that
                                         Page 315                                                  Page 317
 1                    KOHN                           1                   KOHN
 2      Q I'm well aware of Adam's                   2   is caused automatically by duplicate
 3   report as well.                                 3   titles?
 4          And you're also aware that               4       A Well, it could be caused --
 5   publishers like Warner Chappell, BMI,           5   well, it could be caused automatically
 6   UMPG, Sony ATV, just by way of example,         6   by a specific duplicate title but not
 7   have multiple songs in their catalogs           7   in general.
 8   with the same titles?                           8       Q Have you had any
 9          MR. MARDEROSIAN: Objection.              9   communication with any PRO regarding
10      Vague. Overbroad.                           10   the error rates on cue sheets that they
11          Incomplete hypothetical.                11   receive from either producers of
12          Assumes facts not in                    12   programming or broadcasters?
13      evidence.                                   13       A No.
14      A I trust that they do since                14       Q Do you have any knowledge on
15   there are so many duplicate titles at          15   your own as to what the error rate is
16   the PROs that they could be from the           16   for ASCAP or BMI on the cue sheets they
17   same music publishing company.                 17   get?
18      Q And you read Adam Taylor's                18       A No.
19   report. You said that?                         19       Q You understand, don't you,
20      A Yes.                                      20   that cue sheets are created one way or
21      Q So by way of example I think              21   another by music supervisors or other
22   Adam Taylor's report reflects that APM         22   people at either broadcasters or
23   has four titles of Mulholland Drive,           23   programs?
24   separate songs in its own catalog.             24           MR. MARDEROSIAN: I'm going
25          Do you recall that?                     25       to object. Excuse me. I'm going
                                                                                 80 (Pages 314 - 317)
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                                              Page 318                                                  Page 320
 1                 KOHN                                   1                    KOHN
 2      to object.                                        2   something that -- I've never used it.
 3          That assumes facts not in                     3   I've never input into RapidCue. But I
 4      evidence. Vague and overbroad.                    4   understand it get automatically
 5      Incomplete hypothetical.                          5   generated to ASCAP and BMI and
 6          As to what is meant by                        6   presumably the other performance rights
 7      prepared, it's vague.                             7   societies. I'm not sure.
 8      Q You can answer.                                 8       Q Do you know how information
 9      A My understanding is that                        9   is input into RapidCue by the
10   they're largely generated by                        10   broadcaster or the programmer?
11   broadcasters and producers based on                 11       A I just said I don't.
12   information that they have sometimes                12       Q Okay.
13   from the publishers themselves.                     13       A Yeah.
14      Q And you acknowledge, don't                     14       Q Are you aware that the PROs
15   you, that there is the possibility of               15   have large bodies of employees who
16   human error in the creation of cue                  16   actually receive and review cue sheets?
17   sheets?                                             17          MR. MARDEROSIAN: I'll just
18          MR. MARDEROSIAN: I'm just                    18       object.
19      going to object.                                 19          It assumes facts not in
20          It's argumentative. It's                     20       evidence. Vague and overbroad.
21      vague. And overbroad.                            21          Calls for speculation.
22      Q You can answer.                                22       A Receive is one word and
23      A Yes, but I would think with                    23   review is another. That's a compound
24   increasing automation the human error               24   question.
25   might be less than it was in the past.              25          I certainly would be aware
                                              Page 319                                                  Page 321
 1                   KOHN                                 1                   KOHN
 2      Q Well, the automation still                      2   that they have people and staffs who
 3   requires information being inputted,                 3   receive them. I'm not -- personal
 4   doesn't it?                                          4   knowledge of how they may review them
 5          MR. MARDEROSIAN: I'm just                     5   or not review them.
 6      going to object.                                  6       Q So you have no knowledge one
 7          This is vague and overbroad.                  7   way or the another whether the PROs
 8      Incomplete hypothetical. Calls                    8   review the cue sheets that they get and
 9      for speculation.                                  9   if there's erroneous information or
10      Q You can answer.                                10   incomplete information, how they deal
11      A But information could be                       11   with it?
12   automatically generated from somebody's             12       A I have no personal knowledge
13   metadata. So if the publisher provides              13   of how cue sheets are received other
14   metadata, it's the old expression                   14   than electronically, you know, and
15   garbage in garbage out. So you can                  15   reviewed and handled by PROs. I have
16   have an automated system that's                     16   not worked in the PRO. I don't know.
17   reproducing an error made by someone                17       Q So that's not part of your
18   that may not be an error, that may be               18   knowledge as to how the PROs function?
19   an intentional act.                                 19       A Well, generally it's part of
20      Q Do you know how each                           20   my knowledge of how they function. I
21   broadcaster that has a license with                 21   know they receive cue sheets from
22   either BMI or ASCAP goes about filling              22   RapidCue. I don't think that's
23   out and filing cue sheets, the process?             23   generally known by a lot of people.
24      A I know -- I know of the                        24       Q They also receive cue sheets
25   system called RapidCue which is                     25   that are paper cue sheets or Excel
                                                                                      81 (Pages 318 - 321)
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                                               Page 322                                              Page 324
 1                   KOHN                                  1                    KOHN
 2   spreadsheets from broadcasters and                    2   the music industry over time a problem.
 3   program suppliers, don't they?                        3      Q Do you have any understanding
 4       A Yes.                                            4   of any -- strike that.
 5       Q And indeed you've looked at a                   5          Do you have any understanding
 6   lot of the cue sheets that they                       6   that BMI, ASCAP or SESAC cannot
 7   received?                                             7   properly allocate performance income
 8       A That's correct.                                 8   among identically titled songs?
 9       Q By the way, I may have asked                    9      A Say that again please.
10   this and I apologize, did you look at                10      Q Sure.
11   all of the cue sheets that were -- that              11          Do you have any understanding
12   BMI produced?                                        12   or any knowledge that the PROs cannot
13       A No.                                            13   properly allocate performance income
14       Q You only looked at some?                       14   among identically titled songs?
15       A Some.                                          15          MR. MARDEROSIAN: I'm going
16       Q Did you have access to all of                  16      to object. That assumes facts not
17   them?                                                17      in evidence.
18       A I think they were all sent to                  18          Vague and overbroad.
19   me, yes.                                             19      Incomplete hypothetical.
20       Q Did anybody -- strike that.                    20      A My general understanding is
21   I won't do it.                                       21   that they will go by the entire set of
22           Have you ever suggested to a                 22   metadata, such as the songwriter names
23   music publisher that they perhaps                    23   and will be able to distinguish between
24   consider changing titles to avoid                    24   songs that have duplicate titles by
25   duplicates?                                          25   other fields in the metadata such as
                                               Page 323                                              Page 325
 1                   KOHN                                  1                    KOHN
 2       A Well, I had a discussion with                   2   the composer's names and the
 3   my father about it with respect to the                3   publisher's name, et cetera.
 4   story I told you earlier about Robbins                4          I want to supplement a prior
 5   Music in the early days consisting --                 5   answer before I forget. And that is
 6   like a song like I'm In the Mood For                  6   you've been asking me questions about
 7   Love, the first three words of the song               7   whether monies could be diverted to the
 8   is I'm In the Mood for Love, and                      8   wrong songwriter or diverted to the
 9   Robins -- the head of Robins Music                    9   wrong publisher as a result of
10   could care less what the songwriter                  10   duplicate titles. But the other side
11   thought. That's what the title was                   11   of the --
12   going to be, the first three words of                12       Q That wasn't quite my
13   it.                                                  13   question, but it's okay.
14          So we talked about that. And                  14       A Okay.
15   we did talk about the notion -- I                    15       Q My question was more
16   remember having this conversation with               16   specific.
17   my father about duplicate titles and                 17       A Okay.
18   how is that all dealt with. Because                  18          MR. MARDEROSIAN: Go ahead.
19   I've seen duplicate titles before. And               19       Q You can go ahead.
20   he was a music publisher at the time.                20       A Right.
21   So I have to answer yes, but I do not                21          There's also another aspect
22   recall any specific other instances                  22   here is that if someone is calling up
23   where I might have had specific                      23   and they know a song that they've heard
24   discussions with anybody. I just knew                24   and they somehow learned the title of
25   generally that people considered it in               25   the work, let's says it's Uphill
                                                                                       82 (Pages 322 - 325)
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                                           Page 334                                                  Page 336
 1                  KOHN                               1                   KOHN
 2     that you -- you stepped over the                2   changing song titles. I think he led
 3     line when you produced something                3   me to believe that it looked like he
 4     like that, but you did.                         4   was changing Rob and Aron's song
 5         MR. ZAKARIN: You have no                    5   titles. What other song titles could
 6     comprehension of what you're                    6   he have been discussing during his
 7     talking about.                                  7   deposition other than Aron and Rob's
 8         MR. MARDEROSIAN: I have                     8   songs.
 9     plenty of comprehension.                        9           So you have him changing song
10         MR. ZAKARIN: I agree. You                  10   titles. He was asked why do you do
11     do.                                            11   that? He says he did it for marketing
12         MR. MARDEROSIAN: And it's                  12   reasons, which is inconsistent with the
13     going to be used to defeat your                13   answer that Dan Pounder had given,
14     motion. Really? I mean, think                  14   which is inconsistent with what Rob and
15     about it, Don.                                 15   Aron were told by Viacom's employee
16         MR. ZAKARIN: There's no                    16   or -- who said specifically in an
17     graveyard near here, Mick, so you              17   e-mail that the titles would be changed
18     don't have to whistle.                         18   for the purpose of avoiding duplicates.
19         MR. MARDEROSIAN: Just stop                 19   And just the opposite had happened.
20     arguing with the witness. Stop                 20   And it looks like the CEO was doing it.
21     trying to elicit legal opinions                21           And what I'm suggesting is
22     and conclusions so we can get                  22   that there's plenty of circumstantial
23     through this.                                  23   evidence in the record that shows that
24         MR. ZAKARIN: You can stop it               24   it was being done for the purpose of
25     at any point and show it to the                25   diverting revenues to the song tiles
                                           Page 335                                                  Page 337
 1                   KOHN                              1                   KOHN
 2      judge if you think that I'm asking             2   that were registered by the CEO under
 3      improper questions.                            3   his own name.
 4          Let's go back to my question.              4      Q Now, let's deal with my
 5      Please read it back because it                 5   question.
 6      was -- it followed his answer and              6      A That is the answer to your
 7      I want my question.                            7   question. That is evidence.
 8          (Whereupon, the record was                 8         MR. MARDEROSIAN: Hold on.
 9      read.)                                         9      We're arguing again.
10      Q Do you have knowledge of the                10         Please, question and answer.
11   facts or evidence that anybody called            11      No argument in between.
12   Upstream and asked for one of Aron and           12      Q I asked you a very specific
13   Robert's songs and were instead                  13   question: Do you know of anybody that
14   misdirected to somebody else's song.             14   called Extreme and asked for Rob and
15   That was the question. You identified            15   Aron's title and were instead
16   that as a possibility.                           16   misdirected to a different title?
17          So my question is, do you                 17      A Of course not.
18   know if that ever happened?                      18      Q Thank you.
19          MR. MARDEROSIAN: Objection.               19      A And nor do I know of
20      Calls for a legal opinion and                 20   anyone -- whether someone at Extreme
21      conclusion.                                   21   had any outbound phone calls selling
22          Incomplete hypothetical.                  22   them on songs that should have been Rob
23      A You asked me if I had any                   23   and Aron's song when people were
24   evidence, and the evidence is that we            24   looking for a song.
25   know that Russ Emanuel has admitted to           25      Q You have no knowledge of
                                                                                   85 (Pages 334 - 337)
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                                         Page 338                                                 Page 340
 1                 KOHN                              1                    KOHN
 2 either one?                                       2       Q Have you read any of these
 3    A I don't have any personal                    3   license agreements between BMI and the
 4 knowledge of phone calls.                         4   broadcasters?
 5    Q Okay.                                        5       A Yes, I did. Except where
 6        That's all we needed.                      6   there was a redaction, I didn't.
 7    A Well, I think we have all we                 7       Q Well, you read it; but you
 8 need here.                                        8   didn't see what was there?
 9        (Whereupon, a brief recess                 9       A Right.
10    was taken.)                                   10       Q Before this case, had you
11    Q Let's mark as Exhibit K5 --                 11   ever seen any licenses between a
12        MR. MARDEROSIAN: Anyone                   12   broadcaster and a PRO?
13    would know that an audio is                   13       A I might have one in my book
14    completely useless.                           14   or several in my book. Yes. The
15        MR. BAGLEY: Don't tell me                 15   answer is yes.
16    what anyone would know, Mick.                 16       Q These are blanket licenses,
17        MR. MARDEROSIAN: I'm sorry.               17   these licenses?
18    But, I mean, you -- you say those             18       A Yes.
19    things like you're trying to argue            19       Q You're familiar with PRO
20    the case, and I just have to                  20   blanket licenses?
21    respond how ridiculous it is --               21       A Yes.
22    how ridiculous it is.                         22       Q And you're familiar with the
23        MR. BAGLEY: Argue the case?               23   fact that they're based upon a
24        MR. ZAKARIN: Stop it. Both                24   percentage of the broadcaster's
25    of you because we want to get this            25   revenue?
                                         Page 339                                                 Page 341
 1                   KOHN                            1                 KOHN
 2      deposition done.                             2       A Yes.
 3          If you want to do this, I'm              3       Q And you're also familiar --
 4      telling you that we will go                  4   turn to Page 14, the first one. We'll
 5      straight into Massarsky's                    5   just deal with the first one, which is
 6      deposition tomorrow at 9:00.                 6   Turner.
 7          This is going to be K5.                  7          This is one of the exhibits.
 8          (Document entitled, Turner -             8   It identifies the information to be
 9      BMI Music Performance License                9   contained in a cue sheet in paragraph,
10      Agreement, was marked K Exhibit 5,          10   I think, 6A, doesn't it?
11      for identification, as of this              11       A Yes.
12      date.)                                      12       Q And the information is not
13      Q Mr. Kohn, you attended                    13   nearly this long title. It's a number
14   Allison Smith's deposition, right?             14   of other items, correct?
15      A Yes.                                      15       A Yes.
16      Q And you remember, these are               16       Q It includes, by way of
17   exhibits for her deposition 12 through         17   example, writer, composer, publisher,
18   15. And these are contracts between            18   nature and type of use, manner of
19   BMI and various broadcasters.                  19   performance, duration of performance
20          Do you recall that?                     20   and the relevant PRO, correct?
21      A Yes.                                      21       A Yes.
22          MR. MARDEROSIAN: This is K              22       Q So that's a number of items.
23      what, Don?                                  23          And it's correct, isn't it,
24          MR. ZAKARIN: K5.                        24   that the publisher doesn't supply all
25          MR. MARDEROSIAN: Thank you.             25   of that quote/unquote metadata, does
                                                                                  86 (Pages 338 - 341)
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                                          Page 342                                                  Page 344
 1                KOHN                                1                    KOHN
 2   it?                                              2   said in her deposition. If it's there,
 3      A Correct.                                    3   it's there.
 4      Q By way of example the                       4        Q Page 9 also you have a
 5   publisher doesn't provide the nature             5   statement as follows -- it's the third
 6   and type of use, does it?                        6   from the bullet point, I think: The
 7      A Well, that might be in the                  7   evidence suggests -- the evidence
 8   sync license, right? I'm not sure                8   suggests that the information provided
 9   whether the sync license would end up            9   by the Extreme defendants to
10   in metadata, no.                                10   broadcasters and program producers was
11      Q Doesn't include the manner of              11   not accurate as many cue sheets reflect
12   performance, doesn't come from the              12   inaccurate information.
13   publisher?                                      13           Do you see that?
14      A Well, it certainly wouldn't                14        A Yes.
15   include -- it wouldn't include the              15        Q And when you're talking about
16   episode name for example, right?                16   many cue sheets, I think -- can you
17          MR. MARDEROSIAN: Don't guess             17   tell me if you've identified more than
18      or speculate.                                18   five or six that have inaccurate
19      Q Doesn't include the duration               19   information?
20   of performance either, does it? These           20        A I saw a number of them.
21   are all broadcaster pieces of                   21        Q Is the number between one and
22   information.                                    22   ten that had inaccurate information?
23      A Right. Exactly.                            23        A That may be where I stopped,
24      Q So cue sheets are not merely               24   yeah.
25   the publisher-supplied metadata,                25        Q And that's out of the -- how
                                          Page 343                                                  Page 345
 1                    KOHN                            1                   KOHN
 2   there's other pieces of information              2   many do you think you looked at? I
 3   that the PRO requires that could come            3   know that there's probably 1,000 or
 4   only from the program supplier or the            4   more.
 5   broadcaster, correct?                            5          How many -- do you think you
 6       A Correct.                                   6   looked at 100, 200? Do you know?
 7           MR. MARDEROSIAN: I'm going               7      A No, that much. Maybe 20 or
 8       to object. It calls for                      8   so. I looked at the ones that were --
 9       speculation.                                 9   had mistakes in it. And then I found
10           Vague and overbroad.                    10   others that I couldn't really tell.
11       Incomplete hypothetical.                    11      Q How would you --
12       Q And you recall from                       12      A Well, the things that said
13   Ms. Smith's deposition, don't you, that         13   Mix Tape on it as the composer name.
14   she says this is the type of                    14      Q But in looking at the cue
15   information that BMI requires from all          15   sheets, how would you know before
16   of its licensees in order to allocate           16   you -- how would you know there were
17   performance income?                             17   mistakes on cue sheets unless somebody
18           MR. MARDEROSIAN: I'm just               18   told you to look at particular cue
19       going to object.                            19   sheets if you're just going into the
20       Q Do you recall that?                       20   body of cue sheets?
21           MR. MARDEROSIAN: Outside the            21      A They might have.
22       scope of the opinion.                       22      Q They might have told you?
23           Vague and ambiguous. Calls              23      A Yeah.
24       for speculation.                            24      Q So the mistaken or the
25       A I don't recall everything she             25   incorrect cue sheets may have been
                                                                                  87 (Pages 342 - 345)
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                                               Page 346                                                  Page 348
 1                    KOHN                                 1                   KOHN
 2   preselected for you to look at?                       2   screenshot, correct?
 3        A Some of them. Some of them                     3       A Yes.
 4   were pointed out to me.                               4       Q Okay. But it starts on
 5        Q Okay. And you didn't                           5   Page 47 is where you're talking about
 6   undertake to try to assess, you know,                 6   this?
 7   whether there was a large or small                    7       A Right.
 8   number relative to the total number of                8       Q Now, that is the one cue
 9   cue sheets?                                           9   sheet that you do identify as having
10        A No, I wasn't asked to do                      10   inaccurate information in your report,
11   that.                                                11   correct? Because I looked at it. I
12        Q Okay.                                         12   don't know if there's any others you
13          In your report -- well, you                   13   identify.
14   say here there were many cue sheets                  14       A And I think I made a
15   reflecting inaccurate information and                15   statement in here --
16   you've testified now as to the range of              16       Q You did.
17   numbers that you saw, I think in your                17       A -- where I kind of -- I said
18   report you actually only identify one                18   limitations of space in this report
19   cue sheet that was inaccurate because                19   prevents an accounting of the full
20   it didn't identify the plaintiffs as                 20   picture of inaccurate cue sheets
21   authors; is that right?                              21   submitted by Viacom and others that
22        A Yeah, I identified one. That                  22   went unchecked by Extreme. Let one
23   was probably the most glaring one that               23   example referenced below suffice at
24   I --                                                 24   this time.
25        Q Page 47 of your report, I                     25          So I basically stopped after
                                               Page 347                                                  Page 349
 1                    KOHN                                 1                   KOHN
 2   think, is where you identify this.                    2   I saw a number of these and just
 3       A Yeah.                                           3   focused on this one and decided to use
 4       Q This is --                                      4   this screenshot.
 5       A Wait a minute. On 47?                           5       Q And so you identified one and
 6       Q I think it's on 47.                             6   you said that there are -- the
 7       A I thought I had a picture of                    7   limitations of space prevented you from
 8   it.                                                   8   identifying others, correct?
 9       Q I think you're talking                          9       A It didn't prevent me from
10   about -- well, you may have a picture                10   identifying others. It prevented me of
11   of it.                                               11   making this a 400-page report rather
12       A I thought I did.                               12   than a 90-page report or whatever it
13       Q But No Turning Back by AMC                     13   is. It was getting to -- at some point
14   regarding Better Call Sol.                           14   I had to stop.
15       A Right.                                         15       Q Did anybody tell you that
16       Q Okay.                                          16   your report had to be limited in terms
17       A Right.                                         17   of pages?
18       Q I think that was -- that was                   18       A No.
19   the one -- it's actually -- and can you              19       Q Okay.
20   carry on, I think -- you the -- on Page              20          And do you think that
21   50, I think. No, you don't. It's                     21   identifying the other five or six or
22   50 -- maybe it's 53 -- 54 is where you               22   seven cue sheets would have expanded
23   have it.                                             23   your report to 400 pages?
24       A Right.                                         24       A Well, maybe I was
25       Q Okay. Fifty-four is your                       25   exaggerating a little bit.
                                                                                         88 (Pages 346 - 349)
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                                              Page 350                                                  Page 352
 1                   KOHN                                 1                 KOHN
 2       Q You know, it's a little                        2   right.
 3   hyperbole.                                           3       A But I also went on TuneSat
 4       A I -- you know, I had to lot                    4   and I took a look at the catalog of
 5   do in this report. There was a lot                   5   these recordings that Rob and Aron did.
 6   to -- there was a lot to parse out and               6   And the detections on the TuneSat. It
 7   think through and understand. And you                7   was in the tens of thousands. So that
 8   can't do everything to 100 percent                   8   was the basis of my statement.
 9   degree. You know, you try to do the                  9       Q Is it your understanding that
10   best you can.                                       10   every time a program or promo is
11       Q And, again, I think that                      11   broadcast, even if it's broadcast
12   you've testified to this, you don't                 12   dozens or hundreds of times, that a
13   have any -- you haven't done a                      13   separate cue sheet is filed for each
14   percentage, you know, sort of                       14   and every single broadcast?
15   inaccuracy rate?                                    15       A Not broadcast but every
16           MR. MARDEROSIAN: Hold on.                   16   single sync should have one.
17           You've asked and answered                   17       Q So you understand, don't you,
18       that.                                           18   that it's only the initial broadcast,
19       Q Okay.                                         19   the synchronization license broadcast
20       A You have asked and answered                   20   that would have a cue sheet?
21   that.                                               21       A You're confusing a broadcast
22       Q I haven't answered it, but I                  22   with a fixation. That is, when you
23   certainly asked it.                                 23   synchronization something, that's the
24       A Sorry.                                        24   license for the synchronization is to
25       Q Okay.                                         25   fix the work and that's the
                                              Page 351                                                  Page 353
 1                   KOHN                                 1                    KOHN
 2          You also say in your second                   2   synchronization license that you're
 3   basis for your -- I think it's on                    3   giving.
 4   Page 9 again. Okay? Maybe not. Let                   4       Q And the initial broadcast of
 5   me look. It's on 47, I think, where                  5   it is one broadcast -- you don't get a
 6   you talk about the -- yeah, it's on 47               6   new sync for every broadcast, do you?
 7   where we talk about Better Call Sol,                 7       A No, but you get -- the sync
 8   that particular statement.                           8   license is for the reproduction that's
 9          Do you recall that?                           9   being made.
10      A Yeah.                                          10       Q Correct.
11      Q Okay.                                          11       A All right.
12          What you say is, and through                 12           And the broadcast is the
13   a comparison of the amount of TuneSat               13   public performance. Don't get the two
14   detections when compared to the small               14   confused.
15   number of cue sheets on file with BMI.              15       Q I don't think I do, and I'll
16          Do you see that?                             16   try to be clear.
17      A Yes.                                           17           The cue sheet is only issued
18      Q Okay.                                          18   for the initial broadcast; isn't that
19          On number one you didn't                     19   right?
20   count the cue sheets, correct?                      20       A It's the -- the cue sheet --
21      A I didn't count them, but my                    21   oh, the cue sheet --
22   understanding is there was a couple                 22       Q Is only issued for the
23   thousand or something -- or something               23   initial broadcast of the
24   like that.                                          24   synchronization license work?
25      Q I think that's probably                        25       A Well, the cue sheet is
                                                                                       89 (Pages 350 - 353)
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                                           Page 366                                                 Page 368
 1                   KOHN                              1                  KOHN
 2   first got involved in the case I took a           2   many unique syncs that it was.
 3   look at the TuneSat data and came up              3       Q So back of the envelope?
 4   with about 16,000 unique syncs or                 4       A Back of the envelope would be
 5   unique programs that contained those              5   a good way to put it.
 6   musical works that are part of the --             6       Q Now, did you listen to any of
 7       Q Original broadcasts, you're                 7   the audio clips?
 8   saying?                                           8       A Yes, I did.
 9       A You know, I don't like                      9       Q And were you able to make an
10   original broadcasts. But you could say           10   assessment of how many of the
11   unique programs that contain the                 11   detections you identified were promos
12   musical work that were broadcast,                12   as compared to in-program uses or
13   right, once. And not including all the           13   didn't you do that?
14   other broadcasts of the same programs.           14       A I did. Well, I didn't -- I
15   I came up with about 16,000.                     15   would have had to have listened to
16       Q Now as I recall the --                     16   16,000 individual, which I didn't do
17          MR. MARDEROSIAN: You were                 17   because I wasn't asked to do that. And
18       done?                                        18   it would have taken my time and it
19          THE WITNESS: Yes.                         19   wouldn't have been worth the effort.
20       Q As I recall Aron and Robert                20   But I saw there was a good mix. There
21   said there were about 30,000 to 33,000           21   was certain in-program uses of music
22   total detections; is that right?                 22   and there were promos being
23       A That sounds about right.                   23   advertisements for it. They were a
24       Q So -- and of that it's your                24   good mix of it. I don't think I -- I
25   testimony that about half of them were           25   might have looked at a the Land Rover
                                           Page 367                                                 Page 369
 1                     KOHN                            1                   KOHN
 2   just unique original broadcast?                   2   commercial and the Starbucks commercial
 3       A I told you I did a rough                    3   in there. I might have found it. I
 4   pivot table which took the data and did           4   might have listened to it, but I don't
 5   a rough on that. There is another way             5   remember.
 6   that I didn't do where you can strip              6          But I poked around it to see
 7   out on how it goes on multiple                    7   what was there but I did not do what
 8   networks. Okay? Because as you                    8   you had asked me. And I did not do a
 9   mentioned earlier, you can have a                 9   calculations as to how much were this
10   particular program on the TuneSat that           10   kind and how much were that kind.
11   happened to be broadcast on Turner in            11       Q Turn to Exhibit B of your
12   the United States and then broadcasted           12   report, if you would.
13   on some German station some time later.          13          (Whereupon, a brief recess
14           I didn't go to the length of             14       was taken.)
15   stripping out the multiple networks              15       Q Okay.
16   that it could be. But when I looked at           16          I think when we broke, I had
17   the data, 67 percent were the United             17   asked you to look at your Exhibit B --
18   States. A program that was on MTV was            18       A Yes.
19   likely to be on MTV. So if I came up             19       Q -- to your report. Do you
20   with 16,000, I'm looking at maybe                20   recall? Pull it out.
21   there's 15,000 that I could strip -- if          21       A Okay. Exhibit B.
22   I had to strip out some duplicates on            22       Q And you say these are unique
23   alternative networks around the world.           23   TuneSat detections?
24           So it was a -- it was a quick            24       A That's what the title of it
25   look at it to give me an idea of how             25   is.
                                                                                    93 (Pages 366 - 369)
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                                               Page 370                                             Page 372
 1                  KOHN                                   1                   KOHN
 2      Q Are they unique?                                 2   what unique is.
 3      A Yes. That's my understanding                     3      Q Do you know how many of these
 4   of what they are. I didn't produce                    4   detections -- I assume you're going to
 5   these.                                                5   know the answer -- are Viacom
 6      Q You didn't --                                    6   detections, detections of broadcasts on
 7      A No.                                              7   Viacom networks?
 8      Q -- create this document?                         8      A I could do that.
 9      A No.                                              9      Q You could pull it out from
10      Q So somebody else created it,                    10   the list?
11   and told you what it was?                            11      A Right. Like MTV Classic is
12      A Well, I was given it by                         12   MTV2. MTV -- we can probably pull out
13   attorneys; and I understand that Karen               13   and add the numbers up.
14   Rodriguez had prepared it.                           14      Q So we can add up what the
15      Q Okay.                                           15   total number of MTV detections are?
16          And the total number of                       16          MR. MARDEROSIAN: Well, he
17   detections when you add them up are                  17      said he did not prepare this.
18   about 21, nearly 22,000, correct?                    18          MR. ZAKARIN: I understand.
19   You've got 6,848 and 15,093.                         19          MR. MARDEROSIAN: And I think
20      A Fifteen plus six, yeah, about                   20      that's a question for Karen
21   22,000, something like that.                         21      Rodriguez.
22      Q I said about 22,000 or close                    22          MR. ZAKARIN: Well, the
23   to 22,000.                                           23      problem is it's attached to his
24          And you multiplied $200                       24      report.
25   against every one of these detections?               25          MR. MARDEROSIAN: I think
                                               Page 371                                             Page 373
 1                 KOHN                                    1                  KOHN
 2      A Yeah.                                            2     just to be fair about it, I think
 3      Q But you don't know if these                      3     he relied on it on a specific
 4   are unique detections, correct?                       4     narrow topic in his report, Don.
 5      A Well, it says unique                             5     And that was the extent of his use
 6   detections. And I understood them to                  6     of this document.
 7   be unique detections. I had previously                7         But you can ask whatever you
 8   given a back of the envelope done in my               8     want, but I think these are
 9   own way, way back in February when I                  9     questions for Karen Rodriguez.
10   started working on the case and using                10         MR. ZAKARIN: Unusually, you
11   data that went all the way back to 2013              11     know, I ask witnesses about their
12   or something like that. And -- like I                12     reports and other witnesses about
13   said. So when I saw these numbers I                  13     their reports. And if he relied
14   said it's in the realm of -- again, I                14     upon somebody else to do something
15   did back of the envelope and I just                  15     and he's basically just, in
16   took these as what it was.                           16     effect, saying what somebody has
17      Q But now they've gone up by                      17     told him, I'm entitled to know
18   some nearly 7,000 from your number?                  18     that. That's all.
19      A Apparently.                                     19         MR. MARDEROSIAN: I get that,
20      Q And you don't know whether                      20     absolutely. But the operative
21   they are or not unique detections?                   21     phrase is do something and I'm
22      A I'm not the one who generated                   22     saying you should ask him what it
23   this. So I don't know whether they're                23     is that he used it for.
24   unique in the way that you and I have                24         MR. ZAKARIN: I know what he
25   been talking about my understanding of               25     used it for. It's in his report.
                                                                                      94 (Pages 370 - 373)
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                                           Page 374                                              Page 376
 1                   KOHN                              1                    KOHN
 2          Anyway, let's continue on.                 2      because I want to object to it
 3      Q In terms of -- so we could                   3      before you agree to it.
 4   figure out which are Viacom channels              4      Q -- they have to get backed
 5   and therefore which are Viacom                    5   out?
 6   detections, correct?                              6          MR. MARDEROSIAN: I'm going
 7      A Yes, if we knew what Viacom's                7      to object.
 8   channels are.                                     8          It's an incomplete
 9      Q For which you applied $200                   9      hypothetical, and it doesn't
10   for each and every one of the                    10      include the fact that there's
11   detections, correct?                             11      evidence that Extreme is taking
12      A Well, are you just saying the               12      Aron and Robert's own publishing
13   same thing for each -- yeah, I used the          13      for Lonely Orchard and Brothers
14   total numbers here and multiplied it by          14      Heathen.
15   $200.                                            15      Q You can answer my question as
16      Q And in terms of these                       16   opposed to the rhetoric there.
17   detections, do you know how many are             17      A My understanding is that
18   not works that were delivered to Viacom          18   these were unique detections of
19   Extreme but are owned by others                  19   music -- musical work, sound recordings
20   including the plaintiffs?                        20   that were created by Aron and Rob and
21          MR. MARDEROSIAN: Objection.               21   delivered under the contract.
22      Vague.                                        22      Q But in fact you don't know
23      Q You know that the plaintiffs                23   whether these were, in fact, delivered
24   self-published works, right?                     24   or are self-published?
25      A Yes.                                        25          MR. MARDEROSIAN: I'm just
                                           Page 375                                              Page 377
 1                    KOHN                             1                     KOHN
 2      Q Do you know how many of these                2       going to object.
 3   detections are of the plaintiffs'                 3           It's an incomplete
 4   self-published works?                             4       hypothetical and vague.
 5      A I think -- I didn't generate                 5       Q You can answer.
 6   this. So I don't have the underlying              6           MR. MARDEROSIAN: And doesn't
 7   data that was used to generate this. I            7       include the issue over whether or
 8   wouldn't be able to answer any of those           8       not Extreme is taking the
 9   questions.                                        9       plaintiffs' published --
10      Q You with agree with me though               10       self-published songs.
11   that there's no reason to charge or              11       A And I don't know whether this
12   make a claim against Extreme or Viacom           12   is an underrepresentation and doesn't
13   for $200 per each of the plaintiffs'             13   include all of their songs that were
14   own works?                                       14   delivered and used.
15      A No.                                         15       Q So you don't know very much
16      Q Okay.                                       16   at all about this document?
17      A Absolutely not.                             17       A That's right.
18      Q So if the plaintiffs'                       18       Q Essentially, what you did is
19   self-published works or works published          19   you took the number of detections
20   by third parties are among these                 20   without knowing what they are and
21   detections --                                    21   multiplied each one by 200?
22      A Right.                                      22       A And that wasn't the essential
23      Q -- they have --                             23   part of my report. The essential part
24          MR. MARDEROSIAN: Hold on.                 24   of my report was coming up with the
25          Let him finish the question               25   $200 figure. If this wasn't included,
                                                                                   95 (Pages 374 - 377)
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                                               Page 378                                                  Page 380
 1                    KOHN                                 1                    KOHN
 2   it wouldn't have mattered because                     2   to each of these. So your view is, at
 3   whichever the true number is would be                 3   the very least, for the CBS promo use
 4   multiplied by $200. If it was --                      4   200 would be the right number?
 5   instead of 21,000, if it was 16,000, if               5       A 200 would be the right number
 6   it was 30,000, whatever that number is.               6   to use across the board for the
 7   And I'm sure enough good minds can get                7   detections -- unique detections that
 8   together and figure out using the                     8   were discovered during the period from
 9   TuneSat data what the proper number is.               9   mid-2014 to the present.
10       Q We'll come to the 200 in due                   10       Q But one of those is you look
11   course.                                              11   at CBS promo use and you figure they
12           In any event, if I understand                12   charge 120. I think 200 is the right
13   you correctly you -- it's your view                  13   one?
14   that the 200 is the right number for --              14       A Well, there might have been
15   for these -- for all of those                        15   an in-program use -- well, I call it an
16   detections, that's your opinion?                     16   in-program use -- that might have been
17           MR. MARDEROSIAN: Right                       17   worth $20,000 or worth more. But I
18       number for what?                                 18   picked 200 as an overall way of just
19       Q The right number for the sync                  19   going across the board to simplify it.
20   fee for each of these 200 detections                 20       Q Could you look at Exhibit A
21   that you have opined?                                21   of your report for a second. And we'll
22       A My report says what it says                    22   come back to that.
23   about the $200 number. We can turn to                23       A Yes.
24   it. I don't want to say anything                     24       Q Exhibit A, this you have done
25   that's inconsistent and be --                        25   all by yourself?
                                               Page 379                                                  Page 381
 1                   KOHN                                  1                 KOHN
 2      Q Well, let's look at Page 86                      2       A No.
 3   which is where I think come up with                   3       Q Who helped with you with this
 4   this.                                                 4   one?
 5      A Thank you. Thank you.                            5       A I had asked Rob and Aron to
 6      Q Okay.                                            6   come up with what they think are
 7      A That's helpful.                                  7   reasonable fees based upon their works.
 8      Q I think this is where you                        8   I asked them to send me license
 9   explain how you came up with your $200.               9   agreements that they had for their own.
10      A I'm there.                                      10   And I took their numbers and validated
11      Q Okay.                                           11   them. I didn't think -- I didn't
12          And if I -- I want to                         12   disagree with any of them.
13   characterize this correctly, what you                13       Q Did you examine the terms of
14   did was you looked at the license of                 14   those license agreements?
15   their works to CBS for a promo use for               15       A Yes.
16   $120, correct?                                       16       Q You don't know whether those
17      A Yes.                                            17   license agreements were provided to the
18      Q And you compared that to an                     18   defendants, do you?
19   in-program license use of one of their               19       A No.
20   own works, meaning Rob and Aron, for                 20       Q I was curious about a couple
21   $300. And you then -- and you                        21   of things.
22   reference to up to 20,000 for works                  22           MR. MARDEROSIAN: Do you know
23   they own control. You mentioned that.                23       if the defendants even asked for
24   And then you conclude, I think you just              24       those?
25   say I therefore applied the sum of 200               25           THE WITNESS: I don't know.
                                                                                        96 (Pages 378 - 381)
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                                              Page 382                                                  Page 384
 1                   KOHN                                 1                   KOHN
 2      Q I was curious about                             2          MR. MARDEROSIAN: Incorrect.
 3   something.                                           3      This is for direct needle drop
 4      A Go ahead.                                       4      licenses here.
 5      Q In the middle of the page you                   5          MR. ZAKARIN: I know what it
 6   have CBS on-air promos fourth quarter                6      is.
 7   2016, CBS marketing third quarter 2016               7          MR. MARDEROSIAN: It's not
 8   promos.                                              8      for the figure that he applies to
 9          Do you see that?                              9      the blanket --
10      A No, I don't.                                   10          COURT REPORTER: Excuse me.
11      Q It's down about one-third of                   11          THE WITNESS: Sorry. My
12   the way down.                                       12      fault.
13      A What's the first word? CBS?                    13          MR. ZAKARIN: You're not
14      Q CBS.                                           14      testifying. So please answer my
15      A On-air promos.                                 15      question.
16      Q Yes. And there are promos --                   16          MR. MARDEROSIAN: Well, then
17   there's two entries for promos.                     17      let me just object that you're
18          Do you see that?                             18      mischaracterizing the evidence.
19      A CBS on-air promos, fourth                      19      A Yeah. When I applied the
20   quarter 2016.                                       20   $200 figure I was taking into
21      Q Two in a row.                                  21   consideration that there's all sorts of
22      A And this is CBS marketing?                     22   things and under 21,000 different uses.
23      Q CBS marketing third quarter                    23          It would have been
24   2016 promos.                                        24   impractical for me to go through every
25      A Yes, I see them now.                           25   single one and do an evaluation as to
                                              Page 383                                                  Page 385
 1                    KOHN                                1                    KOHN
 2      Q They're both the 120?                           2   whether it was a commercial or a
 3      A Right.                                          3   foreground vocal use versus a source
 4      Q As you -- as in your --                         4   use like coming out of a radio in a car
 5   Page 86 of your report, correct?                     5   or that kind of a thing. And also here
 6      A Correct.                                        6   I looked at -- when I saw it says
 7      Q But here instead of $200 you                    7   promos, I may have taken a look at that
 8   apply $10,000 for each of them as the                8   and said maybe that was multiple
 9   proper fee, right? That's what you                   9   different promos. I might have done
10   think is the fair fee there?                        10   that and not taken it as a single
11          MR. MARDEROSIAN: No, you're                  11   promo. But they're apples and oranges,
12      misreading this.                                 12   is what I'm saying. These were, for
13          MR. ZAKARIN: No, actually                    13   the most part, discrete licenses that
14      I'm reading it accurately.                       14   were issued by Extreme as opposed to
15          MR. MARDEROSIAN: No, no. I                   15   the --
16      think you're misreading it but you               16       Q Page 86 aren't you referring
17      can treat it anyway that you want.               17   to a discreet license?
18      Q You total -- if you total up                   18       A That's right. These are
19   the second column, it comes out                     19   discreet licenses.
20   $1,975,000, right? Mr. Kohn?                        20       Q Okay.
21      A When I looked at -- okay,                      21          And you've applied $200
22   yeah, the total says $1,975,000.                    22   rather than 120. And now here you're
23      Q And in calculating your                        23   applying $10,000 rather than 200; isn't
24   damage claim, you take 50 percent of                24   that correct?
25   that number, don't you?                             25          MR. MARDEROSIAN: No, it's
                                                                                       97 (Pages 382 - 385)
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                                               Page 386                                                  Page 388
 1                 KOHN                                    1                    KOHN
 2      not.                                               2   talks about needle drops. And
 3          MR. ZAKARIN: You're not                        3   basically that's about the -- that's
 4      testifying, Mick.                                  4   about the price that you would get,
 5          MR. MARDEROSIAN: You're                        5   $200.
 6      mischaracterizing the evidence and                 6       Q Okay.
 7      the document.                                      7          And so here for the CBS
 8      Q Here it's $10,000 that you                       8   promos the appropriate price is not
 9   think is the right amount or at least                 9   $200 but it's $10,000 for each promo,
10   Rob and Aaron figure was the right                   10   right? That's your -- that's what
11   amount and in Exhibit A it's $200?                   11   you've done here?
12      A There's a huge difference                       12       A No, but you're taking apples
13   between CBS and some cable channel --                13   and oranges.
14   Yes channels or some whatever. This is               14       Q Okay.
15   CBS. It's a network.                                 15          That's -- your testimony is
16      Q Take a look on Exhibit B, if                    16   whatever your testimony is there.
17   you will. Okay. Exhibit B again.                     17       A Okay. That's my testimony.
18   Unique TuneSat detections. Okay.                     18       Q Okay.
19          Do you see CBS is listed                      19       A I mean, you're trying to
20   right there?                                         20   suggest that these are the same thing.
21      A Okay.                                           21   When I take $200 and do it as an
22          But so is --                                  22   average some of them are CBS, which is
23      Q So now you've -- so CBS is                      23   a huge network, and some of them are
24   real different. You're including it.                 24   networks you've never heard of. NY9 I
25      A But so is something called                      25   never heard of. Maybe nobody watched
                                               Page 387                                                  Page 389
 1                     KOHN                                1                    KOHN
 2   GAC, which I've never even heard of.                  2   the NY9 and got $200 for the promo for
 3   What about the Oxygen channel -- the                  3   it.
 4   Ovation channel I've never heard of.                  4       Q Is the $10,000 that you put
 5   The Hub I've never heard of. Something                5   in there, is that also in your Exhibit
 6   called Showtime East, 1,674. This --                  6   B? Is it the same use as Exhibit B?
 7   when I have to apply -- I'm not going                 7       A I don't know.
 8   to go through every single one of                     8       Q So you could have a
 9   those. So I gave 200 to CBS, but I                    9   duplication there?
10   gave 200 to something called TLC.                    10       A I might have a duplication.
11       Q And you have no idea what                      11       Q You don't know that?
12   they do. You don't even know some of                 12       A Neither do you. I don't know
13   those broadcasters, right?                           13   whether I do.
14       A I don't -- I -- that's the                     14       Q Not my burden.
15   point.                                               15          Did you -- by the way on your
16       Q Okay.                                          16   Exhibit B, did you back out what was
17       A You know.                                      17   actually paid on any of those licenses?
18       Q So you just arbitrarily                        18       A I was not asked to do that.
19   picked the $200?                                     19       Q Okay.
20       A I didn't arbitrarily pick it.                  20          So you were just asked to
21   I picked it -- if you're going to                    21   come up with a gross number and put
22   take -- try to come up with a                        22   that forward as the damage claim?
23   reasonable amount that wasn't 120, that              23       A I was asked to come up with
24   wasn't 300, and I thought 200.                       24   the $200 amount. All right. I was
25   Basically if you look in my book, it                 25   given the unique numbers. I did the
                                                                                        98 (Pages 386 - 389)
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                                               Page 390                                                 Page 392
 1                    KOHN                                 1                 KOHN
 2   multiplication. It was towards the end                2       role.
 3   of this. I didn't have the information                3       A Yeah. I --
 4   to back it out. And I wasn't provided                 4       Q It's in his report.
 5   to -- but it. But it could be backed                  5       A I wasn't asked to back it
 6   out by somebody else.                                 6   out.
 7       Q Lots of things could be done,                   7          MR. MARDEROSIAN: Your
 8   but it wasn't done. So this is put                    8       question on this topic is not in
 9   forth -- you're aware that you've put                 9       his report.
10   this forth as a damage claim, $200                   10          You're mischaracterizing the
11   times 20 -- almost 22,000 detections?                11       evidence.
12       A Well, I also said to you that                  12          MR. ZAKARIN: Well, we'll
13   I'm not the one who came up with the                 13       see.
14   22,000 detections. All right?                        14       Q And you don't know whether
15       Q Is it your testimony --                        15   that 2,194,000 duplicates your other
16       A Somebody -- you know,                          16   number in Exhibit A in any respect, do
17   somebody else came up with that number               17   you?
18   and I came up with the $200. I made a                18          MR. MARDEROSIAN:
19   multiplication of the two numbers. One               19       Mischaracterizes the evidence.
20   number I came up with. Another number                20          Vague. Incomplete
21   somebody else came up with, and that's               21       hypothetical.
22   what I put in here.                                  22       A So if we backed out -- how
23       Q At the bottom of -- here,                      23   many uniques are on Exhibit A? Can we
24   based on my calculations, Page 86, Aron              24   count them? Two, four, six, ten, maybe
25   and Rob share of these broadcast                     25   30.
                                               Page 391                                                 Page 393
 1                   KOHN                                  1                    KOHN
 2   licensing fees for the 15,093 unique                  2       Q I'm more interested in your
 3   audiovisual works, it's really almost                 3   number.
 4   22,000 --                                             4       A Let me ask you this: There
 5       A Yeah.                                           5   are 30 of them there, right?
 6       Q -- in which their music was                     6       Q Yes.
 7   suffixed for the period spanning                      7       A Okay.
 8   July 1, 2014 to August 1, 2018 is                     8           Let's subtract 30 from
 9   $2,194,100.                                           9   21,000.
10          That's put forth as a damage                  10       Q Let's subtract 1,975,000 from
11   claim. Are you aware of that?                        11   it.
12       A I'm not familiar with the                      12       A No, because these are
13   term damage claim as litigators use it.              13   completely different. This is a Land
14   So I --                                              14   Rover commercial for example.
15       Q Are you aware that that is                     15       Q Which is also time barred.
16   part of the plaintiffs' claim that they              16   You're aware of that, aren't you?
17   have supposedly been deprived of that                17           MR. MARDEROSIAN: No, it's
18   money?                                               18       not time barred because there's an
19       A Yes.                                           19       e-mail from your client after
20       Q Okay.                                          20       July 1, 2014, offering to pay them
21          And you don't know whether                    21       the money. It's still a claim
22   what they were actually paid is or is                22       that's on the table. I'm sorry.
23   not backed out of that number?                       23       By the admission of your own
24          MR. MARDEROSIAN: It calls                     24       client.
25       for speculation. This is not his                 25           MR. ZAKARIN: The claim is
                                                                                        99 (Pages 390 - 393)
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                                               Page 394                                                  Page 396
 1                 KOHN                                    1                     KOHN
 2    gone, long gone.                                     2   to blanket licenses or fees from
 3        MR. MARDEROSIAN: Don't try                       3   blanket licenses, that it should be
 4    to instruct the client as to what                    4   allocated on a usage basis not across
 5    the damage claim is because this                     5   the libraries licensed?
 6    is not his realm, and it's                           6       A I said that it was the custom
 7    contrary to the evidence. Okay?                      7   and practice to take blanket -- fees
 8        MR. ZAKARIN: No, it's not                        8   that were generated on a blanket basis
 9    contrary to the evidence.                            9   and allocate them based upon usage, not
10        MR. MARDEROSIAN: Yes, it is.                    10   based upon the number of songs.
11        MR. ZAKARIN: It's in his                        11       Q Well, actually the next
12    report.                                             12   statement tells us what you say, which
13        MR. MARDEROSIAN: Whatever,                      13   is -- give me a second.
14    Don. It's argumentative.                            14           It says the determination --
15        MR. ZAKARIN: It's in his                        15       A Would you please tell us the
16    report.                                             16   page --
17        MR. MARDEROSIAN: What's in                      17       Q Page 11. The determination
18    his report?                                         18   of the relevant share based on the
19        MR. ZAKARIN: The damage                         19   number of songs rather than the usage
20    claim.                                              20   of the songs is inconsistent with both
21    Q Let's continue, Mr. Kohn.                         21   the terms of the 2011 composer
22        So you've got here -- you've                    22   agreement and customs and practices in
23 taken from Aron and Robert their                       23   the industry.
24 proposed numbers and you've included                   24           What I want to try to do
25 that here and you totaled them up,                     25   first is deal with -- because you just
                                               Page 395                                                  Page 397
 1                 KOHN                                    1                    KOHN
 2   right?                                                2   said it's inconsistent with customs and
 3       A Yes.                                            3   practices, correct?
 4       Q Okay. I just wanted to know                     4      A Yes.
 5   where it came from.                                   5      Q Okay.
 6           We'll come back to this a                     6      A Not just that but --
 7   little bit later. Page 11 and onto                    7      Q You've said the contract and
 8   Page 12 of your report. Now we get to                 8   customs and practices.
 9   your allocation theories.                             9      A Right.
10           You say towards the bottom,                  10      Q Let's deal with customs and
11   the next to last bullet point on Page                11   practices first.
12   11, when licenses are granted on a                   12          In terms of the customs and
13   blanket basis Aron and Robert are                    13   practices of production music libraries
14   entitled to a pro rata share, their                  14   in determining how they allocate
15   relevant share based upon the usage of               15   blanket licenses, did you contact any
16   their songs and recordings, not based                16   production music libraries to find out
17   upon the number of songs they delivered              17   how they did it?
18   in relation to the total number of                   18      A Excuse me. I was distracted.
19   songs in the catalogs licensed.                      19      Q I'm sorry.
20           So let's parse that a little                 20          MR. ZAKARIN: Why don't we
21   bit and go through it. You propose                   21      reread the question, please.
22   that there should be a usage based                   22          (Whereupon, the record was
23   allocation model, correct?                           23      read.)
24       A Repeat the question.                           24      A Not since I was engaged in
25       Q You propose that with respect                  25   this case.
                                                                                       100 (Pages 394 - 397)
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                                              Page 398                                             Page 400
 1                    KOHN                                1                     KOHN
 2       Q Did you do it before?                          2   is just a summary. Let's go back to
 3       A I learned it through 35 years                  3   the section of my report where I
 4   of discussing it with people, at least               4   discuss this. You will have to help me
 5   the past ten years of discussing it                  5   here.
 6   with people in the industry.                         6           MR. MARDEROSIAN: Take your
 7       Q Who did you discuss it with                    7       time.
 8   over the last ten years, can you                     8       A Okay. I think it's Page 71.
 9   identify anybody?                                    9   Okay?
10       A No, I can't -- no, I can't                    10       Q Yes.
11   identify any specific person.                       11       A All right.
12       Q And since you were retained,                  12           So you're going to ask me a
13   you didn't talk to anybody?                         13   series of questions about who talked I
14       A Well, I'm trying to think --                  14   to and since I didn't talk to -- I
15   no, since I've been retained, I didn't              15   can't remember who I talked to, it's
16   need to.                                            16   not fair to me at all.
17       Q And you can't identify any of                 17           So it really is on Page 76.
18   these people in the production music                18       Q Okay.
19   library --                                          19       A Where I give a number of
20       A Well --                                       20   examples. I start with, I believe --
21       Q Let me finish. It will be                     21   and after I discuss the PROs usage if
22   clear if I finish.                                  22   ASCAP or BMI allocated --
23       A You started a question before                 23       Q Where on 76 is this?
24   I finished the last answer. But answer              24       A I think I'm going back to 74.
25   your -- ask your question.                          25       Q Okay. Now we're on 74.
                                              Page 399                                             Page 401
 1                    KOHN                                1                   KOHN
 2       Q You can't identify anybody                     2      A I'm sorry. I may have
 3   that you've spoken with since you were               3   misspoke.
 4   retained to discuss that issue. And                  4      Q PRO is like ASCAP and BMI?
 5   I'm asking you, you can't identify any               5      A PRO is like ASCAP and BMI.
 6   of the people that you spoke with who                6   What I'm --
 7   were in the production music library                 7      Q I see it.
 8   business in the ten years prior to your              8      A -- I'm saying here is it
 9   retention; is that right?                            9   would be unfair and unreasonable for
10       A Look, where did I say in                      10   ASCAP or BMI to distribute income based
11   these two sentences -- where are the                11   upon the number of songs and their
12   words production music library here?                12   respective repertoire because a vast
13   That the first thing we have to do is               13   number of songs in the catalog, which
14   going from top down not from bottom up.             14   may never be performed, would receive
15       Q You're talking about customs                  15   the same share of income as frequently
16   and practice in the industry, right?                16   performed songs.
17       A Yes.                                          17      Q Now, we're not talking --
18       Q What industry are you talking                 18      A No, no.
19   about?                                              19      Q You're still talking. Go
20       A The entire industry. The                      20   ahead.
21   entire record industry. Let's go back               21      A I'm still talking.
22   to what I --                                        22      Q Please, go ahead.
23       Q We're not in the record                       23      A I'm still talking. Because
24   industry.                                           24   we're talking -- because as I said
25       A This is just a summary. This                  25   customs and practices in the music
                                                                                    101 (Pages 398 - 401)
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                                               Page 402                                                  Page 404
 1                   KOHN                                  1                    KOHN
 2   industry and that applies across the                  2   that have been performed a lot or
 3   board.                                                3   sync'd a lot or used a lot get the same
 4       Q The music industry?                             4   amount of money as songs who don't get
 5       A Yeah. And it includes -- the                    5   used at all. That is unfair and
 6   music industry includes the record                    6   unreasonable. It may be practical
 7   companies, PROs, music publishing                     7   because it makes your job easier, but
 8   companies and music production                        8   it's unfair and it's unreasonable.
 9   libraries or production music                         9   That's the music industry. Everyone
10   libraries.                                           10   does that. And if you don't do it --
11       Q We're talking about sync                       11   if you don't do it, you're being unfair
12   licenses now, aren't we, blanket sync                12   and you're being unreasonable.
13   licenses?                                            13        Q So -- oh, you're still
14       A No, we're looking at -- we're                  14   talking?
15   looking at blanket revenue.                          15        A Yeah.
16       Q No.                                            16          So I have those examples in
17       A Yes, we are. Oh, yes, we                       17   this report on 76. I say it's a common
18   are.                                                 18   practice for record companies to
19       Q Yes, we are?                                   19   allocate blanket income on the basis of
20       A Yes, we are. We're looking                     20   the most practical means available.
21   at blanket -- a blanket license is a                 21   For example, sometimes a record label
22   form of license where you -- one of                  22   must pay royalties on what is called
23   your experts would like to use the word              23   breakage income. That is, they might
24   access. So you have -- we're going to                24   have received an advance from an
25   reduce your transaction costs, you                   25   organization that does streaming from,
                                               Page 403                                                  Page 405
 1                    KOHN                                 1                     KOHN
 2   know, read US versus ASCAP and BMI.                   2   let's say, ten years ago, a company --
 3   You know a 1979 Supreme Court case, the               3   Cue Tracks, it's a company that paid
 4   reason why they don't violate the                     4   millions of dollars to the record
 5   antitrust laws, music publishing                      5   companies, and they may have gone out
 6   companies, is because they're reducing                6   of business before they even went
 7   the transaction cost of their                         7   online. All right? So now a record
 8   customers. That's what a blanket does.                8   company is at advance of let's say 10
 9   A -- it's something that's issued in a                9   or $20 million, and how do they
10   blanket form that you can go ahead and               10   distribute that money to the artist?
11   use what's here. All right? And                      11   They have no reports whatsoever. What
12   whenever money is brought in on a                    12   they do is they look at other streaming
13   blanket basis whether it's from a PRO                13   companies, look at the reports that
14   issuing for performance licenses,                    14   they do have, do an extrapolation and
15   whether it's a blanket for                           15   allocate the money based upon usage.
16   synchronization licenses, whether it's               16   They do not allocate the money counting
17   from a record company who's got                      17   the number of recordings that they have
18   breakage, whether it's from black box                18   in their catalog and giving everyone
19   money that's overseas from music                     19   the same amount. Okay?
20   publishing companies, you always                     20           So that's the record
21   allocate it to the best of your ability              21   industry. And I say here -- and you
22   on a fair and reasonable basis which is              22   were asking who did I talk to. Well,
23   always based upon usage.                             23   in that particular instance when I was
24          If you don't base it upon                     24   in my company at Royalty Share I sat in
25   usage you're going to have some songs                25   policy discussions at Sony Music, which
                                                                                      102 (Pages 402 - 405)
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                                           Page 406                                              Page 408
 1                   KOHN                              1                    KOHN
 2   is a sister company to Sony ATV, and              2   strawman. I said it's based upon
 3   that's how they do it. The Sony                   3   usage. Adam Taylor agrees it's based
 4   corporation does it that way. That's              4   upon usage. I think anyone who would
 5   the way it's supposed to be done.                 5   do it on the basis of the number of
 6           Now, black box monies is                  6   songs -- if ASCAP did it they'd be out
 7   monies overseas that music publishers             7   of business the next day. If record
 8   receive that do not come accompanied by           8   companies did it, they'd be sued by
 9   usage reports because it's money that             9   their recording artists. And if a
10   was unallocated to anyone specifically.          10   production music company did it to
11   The music publisher gets it and an               11   their songwriters, they would be sued
12   honest music publisher will distribute           12   by their -- sued by their songwriters.
13   that monies -- its portions to the               13   And that's what this case is about.
14   other publishers, sub-publisher,                 14       Q Okay. Let me know when
15   original publishers or others,                   15   you're done.
16   copublishers and to songwriters on a             16       A I'm done.
17   fair and reasonable basis. And that's            17       Q Okay.
18   going to be based upon some projected            18          You talked about custom and
19   usage or if they have the report it              19   practice, but the custom and practice
20   will be actual usage. And that's the             20   now you're talking about is the music
21   way it's done.                                   21   industry generally and not related to
22           Nobody that I've ever heard              22   sync licensing by production music
23   of, except in the past day I heard of            23   libraries; is that right?
24   First Com, your last -- Mr. Katz said            24          MR. MARDEROSIAN: I'm going
25   that he acquired a company when he was           25       to object.
                                           Page 407                                              Page 409
 1                    KOHN                             1                    KOHN
 2   at Zamba that did it that way. I was              2            Mischaracterizes the
 3   surprised to hear that. A small                   3        testimony. Argumentative.
 4   production music library did it that              4        A I am using it as sync
 5   way.                                              5   licenses for a production music
 6           And then you have your own                6   library. I mentioned Adam Taylor
 7   witness, Adam Taylor, he runs a                   7   two -- how many times did I mention him
 8   production music library; and he does             8   in the past ten minutes? He runs a
 9   it the right way. He basis it on                  9   production music library, has admitted
10   usage -- usage reports. Now, all of              10   that his blanket sync licenses, when he
11   your experts went to great lengths to            11   gets the income -- when he gets his
12   say that I said in my report that it             12   income he also gets usage reports to
13   has to be done on actual usage. I                13   find out what songs have been sync'd.
14   suspect that that someone may have put           14   And he uses some message -- some
15   in their heads that I said actual                15   methodology based upon his usage. He
16   usage. But I didn't say that it had to           16   wasn't specific in his report, but I
17   be done in actual usage, BMI and ASCAP           17   was very happy to hear that he's doing
18   don't do it on actual usage all the              18   it in some. I don't know for sure. I
19   time. They do get numbers based upon             19   haven't seen his calculations, but if
20   electronic usage reports that reflect            20   it's based upon usage, it's likely to
21   accurate usage pretty well.                      21   be more fair and more reasonable than
22           But when your experts set up             22   basing it upon the number of songs in
23   strawman that says that nobody can do            23   the catalog, which virtually nobody
24   it in actual usage, that's simply not            24   does except your client.
25   what I said in my report. It's a                 25        Q You said virtually nobody
                                                                                 103 (Pages 406 - 409)
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                                               Page 410                                         Page 412
 1                   KOHN                                  1                   KOHN
 2   does. What -- who have you talked to?                 2    Q I don't know what you're
 3      A I don't have to talk to                          3 saying.
 4   everybody in the industry.                            4        MR. MARDEROSIAN: Hold on.
 5      Q You don't have to talk to                        5    Stop.
 6   anybody it appears.                                   6        He's answered the question.
 7      A I --                                             7    You're now arguing with him. Stop
 8          MR. MARDEROSIAN: Folks,                        8    arguing with him, Don.
 9      you're arguing with each other.                    9        Let's go to the next topic.
10      Q You haven't identified a                        10    You've got his testimony on the
11   single --                                            11    subject.
12          COURT REPORTER: Excuse me.                    12        MR. ZAKARIN: He hasn't
13      A I have -- I don't have to --                    13    identified a single production
14      Q You haven't identified a                        14    music --
15   single production music library that                 15        MR. MARDEROSIAN: Incorrect.
16   you've contacted, spoke to, or found                 16        You haven't listened to what
17   out how they do it; is that right?                   17    he said.
18      A I sat in a deposition -- I'm                    18        MR. ZAKARIN: I was --
19   sorry -- in a deposition yesterday. If               19        MR. MARDEROSIAN: You -- save
20   you don't remember, you can get the                  20    it for trial, Don.
21   transcript and read it. Right?                       21        MR. ZAKARIN: No.
22      Q I remember it well.                             22        MR. MARDEROSIAN: Save it for
23      A His report says usage. He                       23    trial and let's see --
24   was asked specifically whether he                    24        MR. ZAKARIN: That's not how
25   thought that was fair. Now, this is a                25    it goes.
                                               Page 411                                         Page 413
 1                    KOHN                                 1                 KOHN
 2   guy who sat on the board of APM, the                  2        MR. MARDEROSIAN: -- if the
 3   production music library that your                    3    jury accepts your argument on
 4   other expert is the CEO of.                           4    this.
 5       Q Um-hum.                                         5        MR. ZAKARIN: That's not how
 6       A He circled the wagon saying                     6    it goes, Mick. My questions get
 7   of course it's okay to do this because                7    answered, or else I don't leave
 8   I had a company like that myself that                 8    them.
 9   that did it.                                          9        MR. MARDEROSIAN: His
10       Q You didn't answer my                           10    question -- he did answer your
11   question.                                            11    question, you're now just arguing
12       A I did answer your question.                    12    it.
13   I just told you -- I just told you a                 13    A You just don't like the
14   production music library out of the                  14 answer to the question.
15   voice of your own experts, two of them,              15    Q Well, you -- if you gave an
16   okay, are saying that they -- that's                 16 answer, I might like it.
17   the way they do it.                                  17        I asked you --
18       Q I just want to make sure. So                   18        COURT REPORTER: Excuse me.
19   your testimony about custom and                      19    Gentlemen, please.
20   practice is now based upon what Paul                 20        MR. MARDEROSIAN: Hold on,
21   Katz testified to yesterday and what                 21    Don. Give her -- give her a
22   Adam Taylor has in his report; is that               22    moment.
23   it?                                                  23        COURT REPORTER: I just need
24       A That's not what I'm                            24    you to speak one at a time,
25   testifying. It's not what I said.                    25    please.
                                                                                  104 (Pages 410 - 413)
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                                           Page 414                                            Page 416
 1                   KOHN                              1                   KOHN
 2          MR. ZAKARIN: We'll try.                    2       about your own experts, Don.
 3       Q You've talked about custom                  3       Q What you haven't talked
 4   and practice and my question was very             4   about -- we have Adam Taylor who says
 5   simple. What production music                     5   that they do it on a -- on a reported
 6   libraries have you ascertained allocate           6   usage basis and that's fine. And Adam
 7   blanket license income on any kind of a           7   Taylor says what he says. And it's in
 8   usage basis? We know APM does it on a             8   his report.
 9   reported usage basis. What else? What             9          I'm asking you what
10   other production music library                   10   production music libraries do you
11   allocates it, however they allocate it?          11   know -- do you know how other
12   Do you have any information? Any                 12   production music libraries allocate
13   information?                                     13   blanket license income?
14       A I suspect that every other                 14       A Yes, they all do it.
15   one does it except your client today             15       Q Who?
16   and maybe First Com if it still exists.          16       A They all do it except
17       Q I didn't ask what you                      17   Extreme. APM is one example of it.
18   suspect. I asked what you know, facts.           18   And over the years --
19       A I know the customs and                     19       Q Give me another examples.
20   practices of the music industry. I               20       A Over the years -- I can't
21   can't tell you over 20 years of being            21   imagine -- my opinion is it's not fair
22   in the industry and discussing with              22   or reasonable.
23   people who know what they're -- I may            23       Q I didn't ask that. You can
24   have discussed it with Adam Taylor, who          24   have that opinion.
25   knows, because we did discuss his                25          MR. MARDEROSIAN: He told you
                                           Page 415                                            Page 417
 1                     KOHN                            1                   KOHN
 2   business when I met with him five, six            2       Sony Music, Don. You're leaving
 3   years ago, whenever it was. But I                 3       that out.
 4   learned this over a period of time.               4          MR. ZAKARIN: Sony Music is
 5   And it is not fair -- my opinion is               5       not a production music library.
 6   that it's not fair or reasonable to               6          MR. MARDEROSIAN: He told you
 7   base it upon the number of songs.                 7       how they handle the publishing in
 8   Nobody apparently but your client does            8       regard to those uses.
 9   it. You have not and your experts have            9          MR. ZAKARIN: Black Box. I
10   not pointed to anyone who does it that           10       understand black box. That's not
11   way.                                             11       the question.
12       Q You're the one who's talking               12       A Yes. The music industry
13   about custom and practice.                       13   allocates money that's presented on a
14       A Yes.                                       14   blanket basis whether it's the leftover
15       Q I'm not. So I want to know                 15   advance, whether it's black box money,
16   what the custom and practice is of               16   whether it's income. There's no one
17   production music libraries allocating            17   who's going to -- there's no one except
18   it. You have a statement --                      18   maybe one of your witnesses yesterday
19       A Production.                                19   who suggested that that might even be
20       Q -- the basis for the                       20   close to being fair. It's not.
21   statement -- you've talked about the             21          I don't have to talk to every
22   ASCAP and BMI. You've talked about               22   production music library in the world.
23   record companies. You've talked about            23       Q Do you have to talk to any?
24   black box.                                       24       A I don't even know all of the
25           MR. MARDEROSIAN: He's talked             25   ones that do it on a blanket basis,
                                                                                 105 (Pages 414 - 417)
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                                               Page 418                                                  Page 420
 1                   KOHN                                  1                    KOHN
 2   okay. Has your expert witnesses                       2       Q Have you done a survey of any
 3   reported back as to who other -- anyone               3   production --
 4   other than First Com that does it? You                4       A Yeah, I did a survey.
 5   have three -- you have an expert                      5       Q Of the production music
 6   witness who is the CEO of one of the                  6   library?
 7   largest production music libraries in                 7          COURT REPORTER: Excuse me.
 8   the world.                                            8       Gentlemen, please.
 9      Q Yes.                                             9          MR. MARDEROSIAN: You're just
10      A Your client is the CEO of a                     10       arguing.
11   production music library, one of the                 11          MR. ZAKARIN: I just want to
12   largest in the world.                                12       know the source.
13      Q Yes.                                            13       A I haven't been -- I haven't
14      A Have either of them suggested                   14   been asked to do a survey and nor have
15   that anyone other than Extreme does it               15   any of your experts come forth with
16   this way? What do they say?                          16   anybody else.
17      Q Are you aware of how many                       17       Q So you haven't done a
18   production music library --                          18   survey --
19      A I didn't see that.                              19       A Nor has your client.
20      Q Are you aware of how many                       20          COURT REPORTER: Excuse me.
21   production music libraries there are in              21       I'm going to need to take a break.
22   the United States?                                   22          MR. ZAKARIN: I know. I'm
23      A How many? The number?                           23       sorry. I'm asking questions, and
24      Q Yeah.                                           24       he's actually answering on top of
25      A No. It must be a large                          25       my questions.
                                               Page 419                                                  Page 421
 1                 KOHN                                    1                    KOHN
 2   number.                                               2       Q You haven't done a survey,
 3       Q And with the exception of                       3   right? I'm not saying you were asked
 4   Adam Taylor's testimony in his report                 4   to --
 5   about on a reported usage basis, do you               5       A I have not done a
 6   know how any of them -- any of these                  6   questionnaires kind of survey.
 7   many numbered production music                        7       Q And you haven't done a census
 8   libraries allocate blanket license                    8   or questioned any executives of any
 9   income? Do you know how any of them do                9   production music library about how do
10   it?                                                  10   they allocate their blanket license
11       A Yes, they do it on a usage                     11   income; is that right? Yes or no?
12   basis.                                               12       A In the -- since the start of
13       Q And what's the basis for your                  13   this case, no, for sure.
14   statement that they do it on a usage                 14       Q And you didn't ask them
15   bassi?                                               15   before the start of this case, did you?
16       A Because everybody does it                      16       A I might have.
17   that way in the business except your                 17       Q But you don't recall whether
18   client.                                              18   you did?
19       Q So this is just a conclusion.                  19       A I don't recall.
20   It's not based upon your knowledge of                20       Q Okay.
21   any facts, right?                                    21       A How did I come to this
22           MR. MARDEROSIAN: You're                      22   knowledge? I can't remember who I
23       arguing with him. You're arguing                 23   may -- might have talked to in the
24       with him. He's answered your                     24   1990s in researching the book.
25       question.                                        25       Q I understand.
                                                                                       106 (Pages 418 - 421)
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                                               Page 422                                                  Page 424
 1                    KOHN                                 1                    KOHN
 2          But it's your opinion,                         2   a fair, reasonable, practical basis.
 3   nonetheless, that it's custom and                     3       Q I know that. And then it
 4   practice to allocate it. So it's now                  4   says there after that, such basis to be
 5   not on an actual usage basis. It's on                 5   determined in company and the HM
 6   some usage basis?                                     6   transferee's sole discretion, right?
 7       A You used the word actual                        7       A Yes.
 8   usage, I didn't. I used the word                      8       Q You understand what sole
 9   usage. And you keep doing that. Your                  9   discretion means?
10   experts keep doing that.                             10           MR. MARDEROSIAN: Objection.
11          It was a strawman. It was                     11           Vague.
12   ridiculous for them to go on pages                   12       A I understand what the word
13   after pages and say that nobody does it              13   fair and reasonable and practical basis
14   on actual usage when they know that                  14   means. I know that when a contract,
15   everybody does it on usage. And that                 15   whether it has sole discretion or not,
16   was ridiculous. They look like fools.                16   it is going to be subject to an implied
17       Q Well, that's your opinion                      17   obligation of good faith and fair
18   which is another good opinion.                       18   dealing.
19          So it's a usage basis now.                    19           Sole discretion doesn't mean
20   It's not actual -- it's some sort of                 20   they can ignore what's in that
21   usage basis. That's your testimony?                  21   paragraph. They wouldn't have been
22       A That's correct.                                22   able to -- why didn't they just simply
23       Q Okay.                                          23   say they can agree to apportion the
24       A Some usage basis or projected                  24   licensing income on their sole
25   usage basis. And those are the words                 25   discretion, period? They didn't do
                                               Page 423                                                  Page 425
 1                     KOHN                                1                 KOHN
 2   that were used in the contract. I                     2   that.
 3   assume that's what you're moving to                   3       Q I agree.
 4   next.                                                 4       A Right? They led the person
 5       Q Yes. Yes, we are.                               5   who was reading this contract, the
 6   Excellent.                                            6   person who didn't draft the contract,
 7           Let's pull out Exhibit 3, I                   7   two young songwriters signed a contract
 8   think it is. I think it's                             8   because they're reading words like
 9   Paragraph 7.3.                                        9   fair, reasonable and practical. Anyone
10       A It is.                                         10   would read it what way. And then it
11       Q Now, what it says, I think --                  11   says without prejudice to the
12   let's see if I can recall your quote                 12   generality of the foregoing company and
13   from the contract. Top of Page 12,                   13   HM transferees reserves the right to
14   your quote from the contract says the                14   apportion the licensing income, the
15   2011 composer agreement states that the              15   blanket licensing income on the ways
16   determination or apportion of the                    16   that are standard with the customs and
17   relevant share is to be made on a fair,              17   practices of the music industry.
18   reasonable and practical basis, right?               18   Any -- on any actual usage basis
19       A Right.                                         19   determined by company. On any
20       Q And actually that's not the                    20   projected usage basis determined by
21   complete quote, is it?                               21   company or on a basis which is a
22       A This is a summary of the                       22   composite of the methods described
23   quote.                                               23   above. It doesn't have a D that says
24       Q The real quote says --                         24   or none of the above. All right?
25       A The only part I quoted was on                  25       Q Reserves the right --
                                                                                      107 (Pages 422 - 425)
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                                           Page 426                                                  Page 428
 1                    KOHN                             1                    KOHN
 2       A Anyone reading this paragraph               2       is vague and ambiguous and an
 3   is going to not be able -- not use the            3       incomplete hypothetical.
 4   word sole discretion to wipe out                  4           And it's been asked and
 5   everything else that's in it. You know            5       already answered.
 6   that very well. If you are on my side             6       A If -- then why -- if they
 7   of the table, you would be agreeing               7   were going to allocate it on the basis
 8   with me a thousand percent.                       8   of the number of songs, why didn't it
 9       Q Don't be so sure.                           9   say without prejudice of the generality
10       A Yes, you would.                            10   of the foregoing company reserves the
11       Q Sole discretion is to make                 11   right to apportion it based upon the
12   the determination that is fair,                  12   number of songs? Because if somebody
13   reasonable, and practical. I agree               13   read that in the contract, they'd say
14   with that.                                       14   I'm not signing this contract. There's
15          MR. MARDEROSIAN: I'm going                15   no way I'm going to have them increase
16       to object that it's calling for a            16   the size of the catalog and reduce the
17       legal opinion and conclusion.                17   amount of money I'm getting for my
18       A So you're saying that -- if                18   songs regardless of how popular they
19   that was a question, that the word sole          19   are.
20   discretion cannot be read in the                 20           They were already told by
21   context -- it can only be read in the            21   that point that they were producing for
22   context of fair, reasonable and                  22   them some of the best songs they've
23   practical. But it can't be read in the           23   got, some of the ones that -- that's
24   context --                                       24   why they signed them up to this
25          COURT REPORTER: Sir, I'm                  25   contract to begin with.
                                           Page 427                                                  Page 429
 1                   KOHN                              1                    KOHN
 2       really going to ask you to slow               2          No, I would not -- it is not
 3       down. It's getting late. The                  3   my opinion to interpret this contract
 4       context of fair and reasonable and            4   as basically making the words after
 5       practical.                                    5   without prejudice to the generality of
 6       A That you're suggesting that                 6   foregoing, make the words -- all those
 7   sole discretion is going to -- I forgot           7   words completely meaningless. They
 8   our train of thought -- given the court           8   have all the meaning in the world
 9   reporter had trouble saying what I                9   because they're perfectly consistent
10   said, I lost my train of thought.                10   with music industry, custom and
11       Q All I'm saying is that the                 11   practice.
12   general proposition is they're entitled          12       Q So it's your view that these
13   to allocate blanket license income in a          13   A, B, and C are requirements as opposed
14   fair, reasonable, practical method the           14   to simply reserving the right to use
15   basis of which they could determine in           15   those methods?
16   their sole discretion. And they                  16          MR. MARDEROSIAN: I'm going
17   reserve the right without prejudice to           17       to object. It's calling for a
18   that sole discretion to do so in a               18       legal opinion and conclusion.
19   fair, reasonable and practical basis.            19          It's vague and ambiguous.
20   They reserve the right to do it in               20       Incomplete hypothetical.
21   these other methods.                             21       A They provide as Justice
22           MR. MARDEROSIAN: I'm going               22   Cardozo said, and I forgot his words,
23       to object.                                   23   the -- he doesn't use the word context,
24           The question is calling for a            24   but fair, reasonable and practical,
25       legal opinion and conclusion. And            25   okay, are focused or modified or are
                                                                                  108 (Pages 426 - 429)
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                                               Page 430                                              Page 432
 1                    KOHN                                 1                    KOHN
 2   given meaning by A, B, and C. It                      2       Q Let's turn back -- let's deal
 3   doesn't say it has to be an actual                    3   with the blanket licensing allocations.
 4   usage, and I've never said it had to                  4          You agree with me when a
 5   be. I mean actual usage in the way                    5   blanket license is issued, a blanket
 6   your experts said it had to be perfect,               6   sync license is issued, the licensor
 7   it would have to be based upon, you                   7   doesn't know what works in its library
 8   know, electronic evidence recorded in                 8   will be used; is that right?
 9   realtime, whatever actual is in their                 9          MR. MARDEROSIAN: I'm going
10   minds. But it does say projected usage               10       to object.
11   and it does say a composite of the two.              11          That's an incomplete
12   That is what gives meaning to fair,                  12       hypothetical.
13   reasonable and practical.                            13       Q You can answer the question.
14          Sole discretion means it's                    14          MR. MARDEROSIAN: And it's
15   going to be within the realm of fair,                15       vague and ambiguous.
16   reasonable and practical on a usage                  16          And it doesn't apply to the
17   basis. Look, if you don't have the                   17       facts of this case.
18   reports just like, I assume Adam Taylor              18       Q You can answer the question.
19   does if a report goes missing, they're               19       A Even though a blanket sync
20   going to base -- I've seen -- I don't                20   license may use that title on the top
21   know where I've seen it. I've seen                   21   of a document to describe what's
22   production music library contracts, and              22   basically in it, what's happening is a
23   I'm going to have to go through my file              23   series of sync licenses, okay, are
24   to find it because it would be in                    24   being issued on a blanket -- on a -- a
25   storage, I have seen production music                25   catalog is being offered in which
                                               Page 431                                              Page 433
 1                    KOHN                                 1                   KOHN
 2   library contracts that have blanket                   2   someone can choose which songs in which
 3   synchronization licenses in it and it                 3   to sync into audio visual works and
 4   says exactly the detail of what                       4   that is what is being licensed.
 5   projected usage is. That if we don't                  5       Q Any or all --
 6   have an actual report we can use what's               6       A Any -- well --
 7   otherwise available to approximate what               7          MR. MARDEROSIAN: Excuse me.
 8   the usage would have been. And that's                 8       We're stopping. You're
 9   the sole discretion that they have to                 9       interrupting him again, Don.
10   do.                                                  10          MR. ZAKARIN: I apologize.
11           You follow me?                               11          MR. MARDEROSIAN: We can't do
12       Q I understand what you're                       12       that.
13   saying.                                              13       Q I apologize if I was
14       A That's what it is.                             14   interrupting.
15       Q Okay.                                          15       A And I apologize for all the
16           That's your view.                            16   times I interrupted you.
17       A Right. Right.                                  17          MR. MARDEROSIAN: Let's take
18       Q And you've now parsed the                      18       a breath here.
19   agreement the way you read the                       19          THE WITNESS: Okay.
20   agreement, correct?                                  20       Q Go ahead.
21           MR. MARDEROSIAN: Well, it's                  21       A Could you state the question
22       argumentative and it's calling for               22   again? Well, now I've lost my train of
23       a legal opinion and conclusion.                  23   thought.
24           He's answered the question                   24       Q I'll help you.
25       and given you his opinion.                       25          What I said was on the
                                                                                      109 (Pages 430 - 433)
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                                          Page 450                                                  Page 452
 1                   KOHN                             1                KOHN
 2   BMI and ASCAP to make it a more rapid            2      A   He wasn't terribly specific,
 3   process, I suppose.                              3   no.
 4       Q Do you have any familiarity                4       Q Okay. You understand, don't
 5   with the finances of production music            5   you, that if usage is not reported to
 6   libraries?                                       6   them, then they don't pay anybody
 7          MR. MARDEROSIAN: Objection.               7   who's -- for which they don't get
 8          Vague. Overbroad.                         8   reports?
 9       Q You can answer the question.               9       A Well, maybe they'll get sued
10       A No, I don't have any -- other             10   too. Because most production music
11   than the testimony that I've been able          11   libraries, my understanding of the
12   to provide and the expertise that I             12   customs and practices in the business
13   have about customs and practices. No,           13   and from agreements that I've seen in
14   I don't have -- when you say finances           14   the past is that when you don't get a
15   I'm thinking of balance sheet income            15   usage report you do allocate the money
16   statement --                                    16   on some projected basis based upon the
17       Q Yeah.                                     17   usage reports that you do get.
18       A -- cash flow, things like                 18       Q When you say from your
19   that.                                           19   understanding, you're talking -- we've
20       Q Yes.                                      20   already covered that. So I'll skip
21       A No.                                       21   that. We covered that pretty well.
22       Q We're talking the same                    22       A Thank you.
23   language.                                       23          (Whereupon, a brief recess
24       A Right. No. Nor have I been                24       was taken.)
25   asked to opine on any of that.                  25       Q On Page 14 of your report,
                                          Page 451                                                  Page 453
 1                   KOHN                             1                    KOHN
 2       Q I understand.                              2   I'll ask you to turn there, you say
 3          Do you have any understanding             3   Viacom Extreme's issuance of direct
 4   how much a usage apportionment approach          4   reproduction of public performance
 5   might cost a production music library            5   licenses to Viacom for just one dollar
 6   to implement?                                    6   was a violation of the composer -- Aron
 7       A Depends upon the                           7   and Robert's composer agreements. And
 8   circumstances. Apparently APM uses               8   on Page 83 of your report you address
 9   usage reports; and they seem to find it          9   that again. On Page 83 you say, and
10   not burdensome, otherwise why would             10   there's even a caption on it, Viacom
11   they do that.                                   11   Extreme's secret issuance of direct
12       Q You're aware --                           12   reproduction and public performance
13       A Well, they would do it for                13   licenses to Viacom for just one dollar
14   obligations for -- contractural                 14   was a violation of Aron and Robert's
15   obligations perhaps.                            15   composer agreements.
16       Q You're aware from having read             16           Then you say that it appears
17   Adam Taylor's report that his view of           17   that Viacom Extreme joint venture
18   the reported usage method is that a lot         18   actually granted back to Viacom not
19   of people whose works are used actually         19   only a blanket reproduction license but
20   don't get paid?                                 20   a blanket direct public performance
21       A I don't recall reading that               21   license to all of Viacom's broadcasters
22   in the report.                                  22   and producers. And then it continues
23       Q Well, on the reported usage               23   on and names a number of them.
24   basis -- do you understand what APM's           24           And on Page 84 you say
25   reported usage basis is?                        25   that -- you say it again, thus it
                                                                                  114 (Pages 450 - 453)
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                                              Page 466                                                  Page 468
 1                     KOHN                               1                    KOHN
 2       A Well, these are unique -- no,                  2       A Generally. I haven't read
 3   no, no. When I did -- no, no, no.                    3   them in years.
 4   When I did the looking at TuneSat I                  4       Q Sadly, I have much more
 5   eliminated -- I filtered out everything              5   familiarity I think.
 6   that was not a Bayhem song. There were               6          But you're aware generally
 7   only Bayhem songs in my 16,000.                      7   that they preclude publishers and
 8       Q I understand.                                  8   writers from granting ASCAP and BMI
 9       A And presumably on the 23 --                    9   exclusive public performance rights,
10   21,000.                                             10   aren't you?
11       Q There was only Bayhem songs                   11       A So what?
12   in yours?                                           12       Q So what? I didn't ask you so
13       A Only Bayhem songs. Yeah, I                    13   what. I asked you whether you're aware
14   filtered everything else out. I                     14   of that?
15   didn't -- I -- of course I did. Why                 15       A They -- it doesn't preclude
16   would I include Lonely Orchard stuff                16   the music publishers from granting it.
17   with stuff that's only involved in this             17       Q It actually requires that
18   case?                                               18   music publishers can't grant exclusive
19       Q Well, apparently, Karen                       19   rights to ASCAP and BMI. They have to
20   Rodriguez didn't filter it out.                     20   be --
21       A Well --                                       21       A That's right. That's right.
22          MR. MARDEROSIAN: Hold on.                    22   They have to reserve the right. It's a
23       Hold on.                                        23   non-exclusive basis so they have to
24       A -- you'll have to -- you ask                  24   reserve the right to issue direct
25   her.                                                25   blanket performance licenses. I saw
                                              Page 467                                                  Page 469
 1                   KOHN                                 1                     KOHN
 2           MR. MARDEROSIAN: That's                      2   that in Barry's report.
 3      argumentative. Assumes facts not                  3       Q You knew it beforehand,
 4      in evidence and mischaracterizes                  4   didn't you?
 5      the evidence.                                     5       A Yes.
 6           MR. ZAKARIN: Except that                     6       Q And broadcasters are also
 7      it's true.                                        7   fully aware of it, aren't they?
 8      A You'll have to --                               8       A Yes.
 9           MR. MARDEROSIAN: It's not                    9       Q And you're aware, aren't you,
10      true.                                            10   that broadcasters -- a number of
11      A Well, the number is either                     11   broadcasters will demand direct
12   going to be 16,000 or it's going to be              12   performance licenses?
13   21,000 or something in between. You                 13       A Yes, they will.
14   know, there's a correct number.                     14       Q Okay.
15      Q How many of them -- of those                   15       A When they can get it.
16   16,000 are Viacom, if you know?                     16       Q You can say no, but you can
17      A I didn't do that filter.                       17   also lose the license if you say no;
18      Q Because we didn't add up --                    18   isn't that right?
19   and this came from Karen Rodriguez                  19       A That's correct.
20   anyway, right?                                      20       Q Okay.
21      A Yes.                                           21       A Sometimes they need to have
22      Q So we'll skip that.                            22   the music they need to have and --
23           You're aware of the BMI --                  23       Q Well, need to have the music
24   excuse me, ASCAP consent decrees,                   24   they need to have is more frequent with
25   aren't you?                                         25   popular music library -- popular music
                                                                                      118 (Pages 466 - 469)
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                                               Page 470                                                  Page 472
 1                    KOHN                                 1                     KOHN
 2   publishers rather than production music               2   experts had quoted a consent decree in
 3   libraries, wouldn't you agree?                        3   connection with their argue. That it
 4       A I wouldn't necessarily put it                   4   was okay not to use a usage basis in
 5   that way. But I think the way you've                  5   their allocation. Yes, they did. And
 6   put it is that production music                       6   I thought that was -- that was
 7   libraries have been more amenable to                  7   incorrect.
 8   granting direct public performance                    8        Q I don't think that they say
 9   licenses than commercial -- what your                 9   that, but they say what they say. So
10   client called -- other kinds of music                10   we don't have to debate it between you
11   publishers, traditional music                        11   and I. I think the simple point that
12   publishers.                                          12   we're just trying to make is that the
13       Q Traditional music publishers                   13   consent decrees make it impossible for
14   have evergreens and must-haves as                    14   ASCAP and BMI at least to have
15   opposed to more generic music?                       15   exclusive licensing rights and
16       A Right. Because -- because                      16   performance rights. They can't have it
17   production music libraries have this --              17   exclusively.
18   it's not because the music is any                    18        A Yes.
19   worse.                                               19        Q And broadcasters know that
20       Q No, nobody is saying quality.                  20   and --
21       A But they also have the                         21        A We've already been through
22   ability to grant the sound recording at              22   this, right?
23   the same time, and that gives them                   23        Q So we agree.
24   their special advantage.                             24           It's not your contention, is
25       Q But they typically don't have                  25   it, I just want to make sure, that if a
                                               Page 471                                                  Page 473
 1                    KOHN                                 1                     KOHN
 2   must-have works or evergreen works.                   2   broadcaster, CNN, I think there are a
 3   They have genres that are used by                     3   couple of others, came to Extreme and
 4   broadcasters.                                         4   said we want to license, we want a
 5       A Sure.                                           5   direct performance license. It's not
 6       Q And popular music is just --                    6   your contention that Extreme should
 7   costs much more and you have much more,               7   have rejected that and potentially lost
 8   if you excuse, me F-U power when you                  8   the license, is it?
 9   have popular music?                                   9           MR. MARDEROSIAN: Objection.
10       A Sure.                                          10           Incomplete hypothetical.
11       Q I didn't think that it was                     11           Calls for speculation.
12   controversial.                                       12        Q Let me rephrase it. Let me
13       A I don't think so either. But                   13   rephrase it.
14   you can't -- you can't jump to the                   14        A Okay.
15   conclusion just because the consent                  15        Q It's not your contention, is
16   decrees say that publishers can issue                16   it, that if a broadcaster, whether it
17   direct licenses, that a publisher will               17   was CNN or another broadcaster said
18   issue a direct license and then not                  18   we're willing to enter into a blanket
19   allocate the money coming back                       19   license with you but only if you grant
20   properly.                                            20   us also a direct performance right,
21       Q But I'm not dealing with                       21   that Extreme should have simply said
22   allocation. I'm only dealing with,                   22   no, we won't do it?
23   right now --                                         23        A If Extreme is not prepared to
24       A But the way, one of your                       24   do the work necessary to comply with
25   experts had used -- I think two of your              25   its contracts with songwriters to
                                                                                       119 (Pages 470 - 473)
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                                               Page 478                                                  Page 480
 1                    KOHN                                 1                    KOHN
 2       hypothetical and vague.                           2   Viacom Extreme with third party
 3       A I'm not going to get -- so,                     3   licensees for the use of Aron and
 4   you know, you'll take my answer and                   4   Robert's music in commercial
 5   take it out of context. Because we                    5   advertising, it's my opinion that Aron
 6   just had a colloquy here among several                6   and Robert are entitled to the total
 7   things.                                               7   sum of 987,500 which represents their
 8           So to state the complete                      8   50 percent share of the market value of
 9   hypothetical, and that is, a                          9   the licenses. Right?
10   broadcaster goes to a copyright owner                10       A I'm looking at page --
11   and wants to have a sync license                     11   remember, whatever these bullets did, I
12   coupled with a direct public                         12   did what I could at the very end to
13   performance license for a particular                 13   summarize this so that the reader could
14   song and recording with that song,                   14   see.
15   right?                                               15       Q I know.
16       Q Comes to the production music                  16       A So they're kind of like
17   library, yes.                                        17   headlines and things. So Page 85 is
18       A Right. And let's say there's                   18   where I talk about that.
19   one or two songwriters who on the back               19       Q Yes.
20   end will be allocated their, let's say               20       A So why don't we just go
21   it's 50 percent of the license fee.                  21   there?
22       Q Um-hum.                                        22       Q Well -- okay. 85, here you
23       A I don't see any issue on the                   23   say it's for TV commercials and other
24   allocation side. We know what the                    24   promotional uses. That's what you say
25   usage is. It's going to be -- the                    25   in the middle of the page?
                                               Page 479                                                  Page 481
 1                     KOHN                                1                 KOHN
 2   contract is going to say you're allowed               2        A Right.
 3   to use it in one episode or ten                       3        Q The bullet point only talks
 4   episodes, or you can use it in as many                4   about commercial advertising?
 5   episodes as you want during the year,                 5        A Well, that's what I said. It
 6   you could do whatever basis it is.                    6   was meant to be a summary. It may not
 7       Q It's not a blanket. It's not                    7   be a accurate summary. It was done at
 8   a blanket.                                            8   the very last minute to try to
 9       A Right. It's a discreet                          9   facilitate people understanding where
10   license.                                             10   the document's going. It was a long
11       Q I agree.                                       11   document and I figured I'd try to do
12       A Of course they have -- the                     12   the best I can to give you a guideline.
13   copyright owner has the right to do                  13   Even quoting it like it's the gospel
14   that.                                                14   and, as you just found out, it's not
15       Q Okay. I just wanted to make                    15   the gospel. The gospel is in the body
16   sure.                                                16   of the agreement, I mean the body of
17          Turn again, if you would --                   17   the report.
18   first of all, turn to Page 14 of your                18        Q I view the entire report as
19   opinion again, if you would.                         19   the body of the report, but that's
20          This is the second to last                    20   helpful.
21   bullet point on 14. We're referring                  21          So you're agreeing then that
22   really to your Exhibit A again, okay?                22   it's not merely on Exhibit A commercial
23   And it says with respect to a fair and               23   licenses. There's promos, there's
24   reasonable market value for the body of              24   trailers?
25   the sync licenses as negotiated by                   25        A Various things.
                                                                                       121 (Pages 478 - 481)
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                                               Page 482                                                  Page 484
 1                    KOHN                                 1                     KOHN
 2       Q There's a number of things.                     2       A I do remember that.
 3   And I think you've already testified                  3       Q Okay.
 4   that essentially the values were                      4           So other than looking at
 5   provided to you by Aron and Robert and                5   these 10 or 15 licenses, did you do any
 6   you assessed them?                                    6   other kind of a survey in order to come
 7       A Correct. The copyright owner                    7   up with the values that you thought
 8   or any property owners are aloud to                   8   were fair and reasonable?
 9   make their own assessment as to the                   9       A I have done surveys. Not
10   value of their own property.                         10   written surveys, but surveys over the
11       Q Right. Subject to the                          11   past 20 years which I've kept up to
12   contract, but --                                     12   date in terms of what are reasonable
13       A Right.                                         13   license fees for the use of music in
14       Q Let's talk about this for a                    14   commercials and theatricals and
15   little bit.                                          15   television programming. I summarize
16           They provided you with some                  16   that or I try to keep it up to date in
17   licenses that they had entered into,                 17   the 26 chapter of Kohn Music Licensing.
18   correct?                                             18           And so -- yeah, so I didn't
19       A Yes.                                           19   do anything beyond all the accumulated
20       Q Did they provide you any of                    20   knowledge that I've had over the years
21   their gratis licenses to look at?                    21   in talking to people and talking to as
22       A No.                                            22   a -- I feel like in a way I'm like a
23       Q So they selected the licenses                  23   reporter talking to various people in
24   that they wanted to show you?                        24   the industry. I might know more than
25           MR. MARDEROSIAN: Only if you                 25   any individual at any particular music
                                               Page 483                                                  Page 485
 1                   KOHN                                  1                   KOHN
 2       know that that's the case.                        2   publishing company because they only
 3       A I don't -- yeah, that's true.                   3   know what they do. And they tell me,
 4   All I know is I got a set of licenses                 4   and then I verify it with somebody
 5   that were like, I don't know whether it               5   else. And somebody will say, that's
 6   was 10 or 15 are 20. Something like                   6   sounds too high to me or sounds too
 7   that.                                                 7   low. They would have antitrust
 8       Q They provided you with 10 or                    8   problems in talking to each other about
 9   15 licenses.                                          9   what they charge for license fees, but
10       A That's true.                                   10   they have no problem talking to me.
11       Q Do you know how many licenses                  11       Q You've done your -- you've
12   of their works they've entered into?                 12   done a lot of work in terms of your
13       A No.                                            13   book. Did you do a study of the
14       Q And do you know the range of                   14   license fees being paid for production
15   values of the licenses for their works               15   music outside of looking at the 10 to
16   they've entered into?                                16   15 licenses given to you by Aron and
17       A Not entirely.                                  17   Robert?
18       Q Okay. And have you seen                        18       A Yeah. There's a -- well,
19   their answers to interrogatories where               19   when you say study, I would say that my
20   they identify all of the licenses --                 20   Chapter 26 does talk about licenses for
21   not they'll produce them, but they                   21   production music libraries -- licenses
22   identify the license amounts --                      22   of music from production music
23       A Yes.                                           23   libraries. I don't recall actually the
24       Q -- and include about                           24   depth to which I was doing that
25   15 percent of them being gratis?                     25   because, remember, production music
                                                                                      122 (Pages 482 - 485)
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                                               Page 486                                                  Page 488
 1                   KOHN                                  1                    KOHN
 2   libraries license both the sound                      2          I actually sorted them by
 3   recording and the musical work. And                   3   dates. I went from 2010 to 2017 to
 4   they're providing some real value there               4   make sure that I'm kind of matching
 5   in reducing the transaction cost of the               5   their growth and their popularity of
 6   licensees. So it's a level of                         6   their songs. I actually listened to
 7   refinement that I might consider                      7   the songs to make sure that what I was
 8   putting in the next edition of my book.               8   hearing from Mulholland Drive, which I
 9       Q Did you go to and examine the                   9   was able to do by going to the Extreme
10   backup for your book in assessing the                10   website and just click on it and use my
11   reasonableness of these values given to              11   TuneSat account or access. And
12   you by Aron and Robert?                              12   listened to the songs to say, okay,
13       A I don't have any backup in                     13   what was in Lonely Orchard sounds
14   any written form for any of the license              14   production values that are just as
15   fees that I have in my book.                         15   good, equivalent to the ones that they
16       Q Did you -- given that, did                     16   have given on a work-for-hire basis to
17   you consult with any source to try to                17   Viacom.
18   determine the reasonableness of the                  18          So I felt that they were
19   fees that they propose to you, you                   19   comparable and they -- I'm watching
20   know, in assessing? Did you do any                   20   them get 60,000, 55,000 option 85,000,
21   source at all?                                       21   you know, 30,000, 40,000. I see all of
22       A I wouldn't have to do that                     22   that.
23   because whatever sources I had over the              23       Q But you didn't see any of the
24   past ten years or so to update the                   24   gratis licenses?
25   figures that I had in my book were my                25       A I didn't see any of the
                                               Page 487                                                  Page 489
 1                   KOHN                                  1                 KOHN
 2   sources for determining these license                 2   gratis licenses.
 3   fees.                                                 3      Q You didn't see any of the
 4       Q And did you compare what you                    4   lower value licenses. They selected
 5   have in your book for production music                5   what they wanted you to see?
 6   license fees ranges to the numbers that               6          MR. MARDEROSIAN: Well, no,
 7   Rob and Aron gave you? Did you consult                7      you're arguing with him.
 8   your book at all in doing it?                         8          And you asked that question
 9       A I did consult my book, but I                    9      before, Don; and he's already told
10   also took a look at my license fees                  10      you he doesn't know if that's the
11   that are in my book for production                   11      case.
12   music. And I took a look at the                      12          You've had your opportunity
13   license fees that they were issuing for              13      to depose Aron and Robert, and
14   production music. Or I would say if                  14      you'll hear them again at trial
15   you want to call it production music,                15      explain all of this.
16   that's what they do in Lonely Orchard                16          So I'm going to object. It's
17   Music Publishing. They're producing                  17      argumentative and you're just
18   production music with their sound                    18      asking this witness to speculate.
19   recordings. And I found -- they gave                 19      A There are a variety of
20   me a license that said they got $75,000              20   reasons why a gratis license might be
21   sync fee for one. They got a 50,000                  21   given. I felt I was getting a good
22   sync fee for another one. They got                   22   overview. It covered the entire
23   20,000 -- 10,000, I think, was the                   23   time frame. It covered things that
24   lowest which is the one they -- they                 24   were very similar to the licenses that
25   got from -- in 2010.                                 25   were listed in the exhibits in my
                                                                                      123 (Pages 486 - 489)
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                                           Page 490                                                  Page 492
 1                     KOHN                            1                     KOHN
 2   report. And what the fees that we came            2   legal conclusion and I apologize for
 3   up with was reasonable -- were                    3   that but that's a summary -- where I
 4   reasonable.                                       4   felt this -- I see a $14,000 license
 5       Q By the way under the                        5   fee for the use of music in Land Rover.
 6   agreement, the 2011 agreement, is there           6   I see small license fees, Starbucks.
 7   any provision that gives Robert and               7   They were way, way under.
 8   Aron the right to second guess the                8       Q Way, way under what?
 9   license fees that Extreme was able to             9       A Way, way under what I thought
10   obtain?                                          10   was going to be -- based upon what they
11           MR. MARDEROSIAN: I'm just                11   were getting for their quality of
12       going to object. It calls for a              12   music. You can't just say this is
13       legal opinion and conclusion.                13   just -- oh, just a piece of production
14           It's called good faith and               14   music. Just some genre thing. These
15       fair dealing as we all know which            15   were some of the best songs that you
16       is a legal opinion and conclusion.           16   guys had.
17           MR. ZAKARIN: Could you swear             17       Q You listened to the entire
18       in Mr. Marderosian? He wants to              18   library? Did you listen to Hans Zimmer
19       testify.                                     19   stuff?
20           MR. MARDEROSIAN: You're                  20       A No, I wasn't giving it a
21       asking for a legal opinion, Don.             21   qualitative judgment. I did a
22           MR. ZAKARIN: No, I asked him             22   quantitative judgment based upon
23       whether there's a provision in the           23   reports that you provided during this
24       agreement that gives him the right           24   litigation.
25       to second guess.                             25       Q Two libraries, not all the
                                           Page 491                                                  Page 493
 1                    KOHN                             1                 KOHN
 2           That wasn't a legal opinion.              2   libraries.
 3           MR. MARDEROSIAN: You both                 3       A They're the two libraries
 4       scraped at the agreement and                  4   that one says Mix Tape and one says
 5       there's an implied covenant of                5   Hype and they seems to be the two --
 6       good faith and --                             6   where are the rest? Show us the rest,
 7           MR. ZAKARIN: You're                       7   and we'll see.
 8       testifying again, Mr. Marderosian.            8          (Excerpt from the book
 9           MR. MARDEROSIAN: Well,                    9       entitled, Kohn On Music Licensing,
10       you're asking me --                          10       was marked K Exhibit 6, for
11       A No, he's just repeating what               11       identification, as of this date.)
12   I said earlier.                                  12       Q I don't have to.
13       Q I understand.                              13          I'm going to give you what
14           I asked you whether there was            14   we'll mark as Exhibit 6, another page
15   a provision, not whether there's an              15   from your book and your father's book.
16   implied covenant.                                16          And this relates to value.
17       A I would consider an implied                17   I'm going to read under quantitative
18   covenant a provision of the agreement.           18   factors effecting value.
19   I would consider -- I would consider             19          Do you see that?
20   given other things that I found in the           20       A Yes.
21   evidence as to how these two                     21       Q And it says, about halfway
22   songwriters were treated by their music          22   in, a music publisher with thousands of
23   publishing company. And I went through           23   songs in its catalog and with years of
24   a long list of things that I felt were           24   experience in licensing music is likely
25   breaches of contract -- and that is a            25   to have access to much of the
                                                                                   124 (Pages 490 - 493)
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                                              Page 502                                                  Page 504
 1                    KOHN                                1                   KOHN
 2           MR. ZAKARIN: That's the                      2       Q And your point is?
 3       answer.                                          3       A And you already -- well, you
 4           COURT REPORTER: Oh.                          4   already know it's one of your top
 5           MR. ZAKARIN: I don't have an                 5   songs. And Starbucks comes along; and
 6       answer.                                          6   you grant it for $4,000.
 7       Q They could have been paid                      7       Q And half of the license fee
 8   nothing.                                             8   at least goes to Extreme, right, which
 9           MR. MARDEROSIAN: And then he                 9   it shares with Viacom?
10       disagreed with you. He said it                  10       A Yeah. Yes.
11       could be higher.                                11       Q And is it your view that
12           MR. ZAKARIN: You can't                      12   Extreme wants to make as little money
13       testify.                                        13   as it can?
14           MR. MARDEROSIAN: I'm not                    14       A I am not saying that they --
15       testifying. It's just elementary                15   what their goal should be. I'm saying
16       and juvenile this type of                       16   given everything that's occurred in
17       examination.                                    17   this, I am suspect about the license
18           MR. ZAKARIN: Thank you.                     18   fees that were gained by -- garnered by
19       A They would not have granted a                 19   Extreme for Rob and Aron's music.
20   license for nothing. They would not                 20       Q But you've never licensed
21   have granted a license for 4,000, they              21   production music on your own? You've
22   would probably have granted it in the               22   never negotiated or issued --
23   hundreds of thousands.                              23       A I've negotiated sync
24       Q Hundreds of thousands?                        24   licenses.
25       A Yes.                                          25       Q -- for a production music
                                              Page 503                                                  Page 505
 1                   KOHN                                 1                 KOHN
 2      Q So your -- it's your                            2   library?
 3   testimony that if they had asked for                 3       A What does it -- you know,
 4   hundreds of thousands, they would have               4   I've negotiated sync licenses for
 5   gotten it and that's what your                       5   theatricals on both sides. I've
 6   testimony is?                                        6   advised music publishing companies who
 7      A That's what -- you know, I                      7   were -- I -- people -- I write what I
 8   think on that one I have $200,000 for                8   learn in my book and hundreds of others
 9   Starbucks, right?                                    9   use my license fees for negotiating
10      Q Yeah. You think that's what                    10   those synchronization licenses.
11   they would have gotten?                             11          I would venture to say that a
12      A I think that that is well                      12   large portion of the music publishing
13   within reason for that song.                        13   industry uses my Chapter 26 as a
14      Q And that's based upon your                     14   guideline.
15   examining 10 to 15 licenses?                        15       Q You would venture to guess
16      A No, it's based upon -- yeah,                   16   that?
17   the licenses as well as what I know                 17       A I'd venture to guess that
18   commercial advertisements get from                  18   many people -- I change it to I -- even
19   companies the size of Starbucks.                    19   the word venture is not even a good
20      Q Okay.                                          20   word.
21      A That license was granted                       21          I would suggest that many
22   only -- if you look at the date, it                 22   people in the music publishing industry
23   says 2/16/2017, that's about a -- only              23   look to my book as for guidance as to
24   about a year before this litigation                 24   what to charge for their music for the
25   began. All right?                                   25   use in theatrical motion pictures,
                                                                                     127 (Pages 502 - 505)
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                                               Page 514                                                  Page 516
 1                 KOHN                                    1                    KOHN
 2      A Yes.                                             2   listed Bergeson, B-E-R-G-E-S-O-N, and
 3      Q And you remember --                              3   Phoenix's names as the composers
 4      A I don't remember the                             4   instead of Aron and Roberts. Do you
 5   specifics of her testimony. But I                     5   see that?
 6   remember the -- seeing the report as an               6       A Yes.
 7   exhibit and it being discussed.                       7       Q Have you seen any documents
 8      Q And you remember, as well,                       8   that reflect that Extreme provided
 9   that, you know, cue sheet for cues                    9   erroneous metadata to anybody in
10   works registrations are not even                     10   that -- in connection with this use?
11   necessary?                                           11       A If the Bergeson's and
12      A That I'm aware of, yes.                         12   Phoenix's names were listed as
13      Q Because cue sheet                               13   composers, it's going to be as a result
14   registrations are actually sufficient,               14   of metadata being supplied that caused
15   and that's what will drive payments?                 15   that result.
16      A I think that's correct for                      16       Q Did you read Dan Pounder's
17   BMI. I'm not sure about ASCAP.                       17   reply declaration? Is that one of the
18      Q Well, we're talking about                       18   documents you read on the motion to
19   BMI. We'll limit it to BMI.                          19   dismiss?
20          Turn to Page 38 of your                       20       A Yes. Yes, I did.
21   report, please.                                      21       Q Did you look at the exhibits
22      A 39?                                             22   to his declaration?
23      Q Thirty-eight, the last                          23       A I'm sure I did at the time.
24   paragraph says, and you're talking                   24       Q Did you notice the
25   about Mulholland Drive with respect to               25   spreadsheet that was provided to manage
                                               Page 515                                                  Page 517
 1                    KOHN                                 1                   KOHN
 2   the Land Rover commercial is what                     2   ad music which listed the metadata for
 3   you're talking about. That's the                      3   the Land Rover commercial?
 4   context.                                              4      A What was the date of the
 5          Do you see it?                                 5   metadata?
 6       A The bottom of Page 38?                          6      Q The date of the metadata --
 7       Q Yes.                                            7      A What was the date of the
 8       A It appears from the evidence?                   8   metadata you're talking about?
 9       Q Looking at -- take a look at                    9      Q That was sent to manage ad
10   the two paragraphs above which are                   10   music?
11   dealing with the Land Rover commercial               11          MR. MARDEROSIAN: Can you
12   and Mulholland Drive.                                12      produce the metadata?
13       A On Mulholland Drive. Hold                      13          MR. ZAKARIN: It's attached
14   on. Let me look at this. Go ahead.                   14      to the --
15   Okay.                                                15          MR. MARDEROSIAN: The
16       Q The last paragraph, it says                    16      metadata isn't.
17   it appears from the evidence, however,               17          MR. ZAKARIN: Yes, it is.
18   that the problem stems from the                      18          MR. MARDEROSIAN: No, it's
19   metadata; i.e., the identifying                      19      not.
20   information including title, composers,              20          MR. ZAKARIN: Yes, it is.
21   publishers and associated work IDs and               21          There's a spreadsheet.
22   related identifying information), close              22          COURT REPORTER: Gentlemen,
23   paren, that Extreme provided to its                  23      wait.
24   licensees in connection with Aron and                24          MR. ZAKARIN: You're
25   Robert's Mulholland Drive song which                 25      ridiculous.
                                                                                      130 (Pages 514 - 517)
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                                               Page 538                                             Page 540
 1                   KOHN                                  1                   KOHN
 2   the songs between November 2010 and                   2       Q And you're aware that they
 3   November 2011 --                                      3   were represented by counsel, as well,
 4       A There were --                                   4   in connection with the 2011 contract?
 5       Q -- for which the plaintiffs                     5       A I don't remember that.
 6   were not paid performance incomes? Are                6       Q I think there's just one more
 7   you aware as you sit here now?                        7   topic that I want to cover. Turn to
 8       A I'm aware that they started                     8   Page 62 of your report. And it's under
 9   using it well before registrations were               9   Category F.
10   filed.                                               10          Do you see that? Where
11       Q Before works registrations?                    11   you're describing what the defendants'
12       A I have not been asked to                       12   contentions supposedly are. Do you see
13   research or opine on what effect that                13   that? And Number 2 says, the
14   might have had on their royalty income.              14   defendants contend that under the 2011
15       Q Okay.                                          15   composer agreement Aron and Robert are
16          And you have no opinion as to                 16   only entitled to 50 percent of gross
17   whether it had any effect on their                   17   receipts generated by the four songs,
18   royalty income; is that right?                       18   paren, of the 124 songs delivered that
19       A Well, I do know that if work                   19   Viacom Extreme placed into the
20   registrations weren't filed and the cue              20   production music library called the
21   sheets were inaccurate, they wouldn't                21   Hype music library.
22   have gotten paid.                                    22          Do you see that?
23       Q And if works --                                23       A Yes. I see that.
24       A And we found lots of cue                       24       Q And you say this again I
25   sheets that were inaccurate. Not to                  25   think on Page 67, something to the
                                               Page 539                                             Page 541
 1                    KOHN                                 1                    KOHN
 2   say that I know of every single cue                   2   effect where you say Extreme's COO Dan
 3   sheet during that period of time. I                   3   Pounder contends that the only songs
 4   don't know. But there's circumstantial                4   which will generate income to which
 5   evidence that they probably lost income               5   Aron and Robert will be entitled to a
 6   as a result of the poor administration                6   50 percent share is when their songs
 7   by Extreme, breach of contract.                       7   are placed in the production music
 8      Q And if -- and if works                           8   catalog entitled Hype Music Library,
 9   registrations were filed and cue sheets               9   that if their songs are placed in a
10   were filed with inaccurate information               10   catalog entitled Mixed Tape Music
11   they also wouldn't get paid, right?                  11   Library, they will not earn a
12          MR. MARDEROSIAN: Object to                    12   percentage of gross receipts.
13      incomplete hypothetical.                          13           Do you see that?
14          Assumes facts not in                          14      A Yes.
15      evidence.                                         15      Q Is it your recollection,
16      A Possibly.                                       16   Mr. Kohn, that Mr. Pounder said that
17      Q You're aware that Aron and                      17   the only songs on which Extreme was
18   Robert were represented by counsel in                18   paying sync licensing income was the
19   connection with the 2010 contract,                   19   four songs in the Hype music library?
20   aren't you?                                          20           MR. MARDEROSIAN: I'm going
21      A I'm not aware of that.                          21      to object. It's vague.
22      Q You didn't read Robert's                        22      Mischaracterizes the testimony.
23   deposition?                                          23      Q Is that your testimony?
24      A I read it, but I don't                          24      A He was clear about saying
25   remember it.                                         25   that he only had -- that Extreme only
                                                                                     136 (Pages 538 - 541)
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                                               Page 554                                                 Page 556
 1                    KOHN                                 1                   KOHN
 2   in September and October working on                   2   further opinions based upon additional
 3   this engagement?                                      3   information, additional reports that I
 4       A I haven't even looked --                        4   would supplement the report with.
 5   counted yet. I haven't put together a                 5      Q Have you come across any such
 6   bill for it.                                          6   additional information?
 7       Q You can't give me an estimate                   7      A Lots of additional
 8   right now?                                            8   information.
 9       A No, I really can't.                             9      Q Other than the depositions
10       Q Are all your opinions that                     10   and reports of defendants' experts,
11   you intend to testify to at the trial                11   what other information have you come
12   of this action or in summary judgment                12   across, just describe generally?
13   identified in this report?                           13      A Exhibits to those reports.
14           MR. MARDEROSIAN: Object.                     14   Whatever other physical materials that
15           It's vague and overbroad.                    15   might have been given to me since I
16       A Well, at the end, say at                       16   wrote my report.
17   trial I reserve the right to use all                 17      Q Other materials given to you
18   materials considered in preparing this               18   by whom?
19   report including without limitation                  19      A That might have been given to
20   materials set forth in foregoing                     20   me by somebody.
21   sections. I understand that additional               21      Q Well, did anybody give you
22   depositions of experts and other                     22   any other materials?
23   witnesses may be conducted in this                   23      A I don't remember. I mean,
24   matter. I plan on reviewing their                    24   I'm just being -- I'm trying to be
25   deposition transcripts when they become              25   general because I might have received
                                               Page 555                                                 Page 557
 1                   KOHN                                  1                    KOHN
 2   available and reserve the right to                    2   something during an attachment to
 3   supplement or amend this report after                 3   something that I -- I'm just trying to
 4   such review. Finally, I reserve the                   4   be all inclusive. I mean, I don't have
 5   right to supplement or modify this                    5   anything --
 6   report and the opinions expressed based               6       Q Let me make this easy for
 7   upon additional facts --                              7   you. Did Mr. Marderosian or Ms. Cohen,
 8           COURT REPORTER: Sir, please.                  8   did plaintiffs' counsel give you any
 9           MR. MARDEROSIAN: You just                     9   additional materials following the
10       have to really make an effort                    10   service of this report?
11       to --                                            11       A No.
12       A Finally, I reserve the right                   12       Q Did --
13   to supplement or modify this report and              13       A Not that I recall.
14   the opinions expressed based upon                    14       Q Did plaintiffs give you any
15   additional facts, documents or other                 15   additional material that you intend to
16   materials that may be brought to my                  16   reply upon directly, other than this
17   attention.                                           17   one identified in this report?
18       Q So is the answer no? The                       18       A I don't think so, no. No.
19   answer is no, that all -- the opinions               19       Q Other than what's identified
20   that you intend to testify to at                     20   in this report?
21   summary judgment or trial are not all                21       A No. No.
22   contained within this report?                        22       Q So as far as documents
23       A The report contains opinions                   23   provided to you by plaintiffs or
24   that I've come up to up until the time               24   plaintiffs' law firm, there are no
25   I issued the report. I might have                    25   additional materials on which you
                                                                                      140 (Pages 554 - 557)
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                                           Page 558                                                 Page 560
 1                   KOHN                              1                    KOHN
 2   intend to base your opinions other than           2   I'll refer to them collectively as the
 3   what's identified in this report; is              3   Viacom defendants.
 4   that accurate?                                    4        A Okay.
 5      A And additional documents that                5        Q But when I say Viacom, I mean
 6   might be attached to the expert witness           6   Viacom International, Inc. Okay? Is
 7   reports, their deposition testimony               7   that clear?
 8   that I heard, documents that I might              8        A So when you say Viacom, you
 9   have seen in the process of their                 9   mean Viacom International, Inc.?
10   taking of depositions. And then the              10        Q Correct.
11   transcripts that may come in and                 11        A And when you say Viacom
12   documents attached to those transcripts          12   defendants you mean anyone or all or
13   that I might not have seen during their          13   some?
14   deposition because I hadn't looked at            14        Q Both Viacom International,
15   them directly.                                   15   Inc., and New Creative Mix, Inc.
16      Q Okay.                                       16        A Okay. And not MTV Networks
17          There's nothing else?                     17   or any other subsidiaries.
18      A There's nothing else.                       18        Q Well, I'll disclose to you
19          MR. MARDEROSIAN: He received              19   that MTV Networks is a division of
20      all discovery documents and then              20   Viacom International, Inc. It's not a
21      your expert reports.                          21   subsidiary.
22          MR. HWANG: Understood.                    22        A It's a division but not a
23      A And that occurred after my                  23   subsidiary. It's not a separate
24   report, the expert reports.                      24   corporation?
25      Q Okay.                                       25        Q Correct.
                                           Page 559                                                 Page 561
 1                    KOHN                             1                      KOHN
 2          Switching gears. You                       2           So when I say Viacom, I'm
 3   understand -- let me just preface this,           3   referring to Viacom International,
 4   I'm going to -- tread over some ground            4   Inc., which includes MTV.
 5   that we've already covered today. I'm             5       A Okay.
 6   going to try to be as non-duplicative             6           I'm little confused about
 7   as possible.                                      7   some of this, but I think we're on the
 8       A Thank you.                                  8   same page in terms of Viacom. We'll
 9       Q But some of this will sound                 9   try to be careful about -- and you'll
10   familiar.                                        10   correct me if I use the word -- wrong
11          So switching gears, you                   11   Viacom in my answer.
12   understand that Viacom is an owner of            12       Q I don't think I'll know, but
13   the songs that are at issued in this             13   let's just set the ground rules now so
14   case?                                            14   we're both clear. When I refer to
15          MR. MARDEROSIAN: Objection.               15   Viacom, I'm referring to Viacom
16          Vague. Calls for a legal                  16   International, Inc. Does that make
17       opinion and conclusion.                      17   sense?
18       A Viacom meaning, I guess, New               18       A Yes.
19   Creative Mix. Aren't they co-owned?              19       Q Is it your understanding that
20       Q Let me withdraw the question.              20   Viacom is an owner of the songs at
21   Let me just clarify the question.                21   issue in this case?
22          When I refer to Viacom, I'm               22           MR. MARDEROSIAN: Objection.
23   referring to Viacom International, Inc.          23           Calls for a legal opinion and
24    If I'm referring to New Creative, I'll          24       conclusion.
25   call them New Creative. If I refer --            25       A I don't think they own the
                                                                                  141 (Pages 558 - 561)
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                                           Page 618                                                  Page 620
 1                    KOHN                             1                    KOHN
 2   are governed by the terms of the 2011             2       Q One more time. Let's not
 3   composer agreement. That's your                   3   speak over each other. It's making it
 4   understanding?                                    4   tough on her.
 5       A Yes.                                        5       A You did finish it.
 6          MR. MARDEROSIAN: Calls for a               6       Q You're always one word too
 7       legal opinion and conclusion.                 7   early. So just give it a pause, let me
 8       Q Just let me finish my                       8   finish the question.
 9   question before you answer, for her               9       A But he had objected to it
10   sake.                                            10   already.
11       A Yeah, I wasn't sure. I                     11   ^discussion off the record
12   thought you were.                                12       Q So let's turn to K3, which is
13          I'm sorry.                                13   the 2011 composer agreement.
14       Q Is there any other source of               14       A I have it in my hand.
15   rights the Marderosians or any of the            15       Q Where in this agreement does
16   plaintiffs have to the songs at issue            16   it say that Viacom is obligated to pay
17   in this action?                                  17   a license fee for the use of the songs
18          MR. MARDEROSIAN: Vague.                   18   at issue in this action?
19       Calls for a legal opinion.                   19          MR. MARDEROSIAN: Calls for a
20       A When I said they have                      20       legal opinion.
21   contractural rights, I included in               21       A I would take Section 1.4, the
22   expressed rights or implied rights               22   gross receipts definition combined with
23   under those contracts.                           23   Section 7, compensation, which to
24       Q By implied rights, you're                  24   summarize requires that the 1260 and
25   referring to the implied covenant and            25   the Marderosians are entitled to
                                           Page 619                                                  Page 621
 1                   KOHN                              1                     KOHN
 2   good faith and fair dealing?                      2   50 percent of gross receipts derived
 3       A Among others, to the extent                 3   from the exploitation of the songs that
 4   there are others.                                 4   they delivered under this agreement.
 5       Q What others?                                5       Q Anything else?
 6       A I don't know.                               6       A There is an implied
 7       Q So the only one you're aware                7   obligation of good faith that New
 8   of as far as implied rights go are --             8   Creative, which owned the copyrights,
 9   is the implied covenant and good faith            9   and whoever else derived rights from
10   and fair dealing, right?                         10   them, if they were transferred to
11           MR. MARDEROSIAN: Calls for a             11   somebody else, to charge arm's length
12       legal opinion.                               12   license fees to those affiliated
13       A Yeah, I'd like to do some --               13   entities that it might have a
14   I would want to do some legal research           14   relationship with. That would cause a
15   before answering that definitively as a          15   conflict of interest and to otherwise
16   legal conclusion, but that's the only            16   charge arm's length license fees would
17   one I can think of today.                        17   be, and this is a legal conclusion, be
18       Q That's the only implied right              18   in violation of the implied covenant of
19   referenced in your expert report,                19   good faith, which is the affiliated
20   right?                                           20   company problem that I talked about
21       A Yes.                                       21   earlier that I talked about in my
22           MR. MARDEROSIAN: Calls for a             22   report and that I talked about in my
23       legal opinion.                               23   book as early as 1992, the first
24       A Yes, that's the only one                   24   edition of Kohn on Music Licensing.
25   that's referenced in my --                       25       Q The first edition, was that
                                                                                   156 (Pages 618 - 621)
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                                              Page 622                                                  Page 624
 1                   KOHN                                 1                    KOHN
 2   written by your father?                              2       A Directly.
 3       A No, that was written by me.                    3       Q MTV is, again, a division of
 4          MR. MARDEROSIAN: Come on.                     4   Viacom International, Inc.
 5       He's told you that.                              5       A Okay. Okay.
 6          Why are you being personal                    6          So New Creative Mix is -- it
 7       like that?                                       7   says incorporated. So I assume it's a
 8          MR. HWANG: I honestly didn't                  8   corporation, right?
 9       know. I thought he took over a                   9       Q It's a subsidiary, correct.
10       subsequent edition.                             10       A Okay.
11       A I wrote the book over ten                     11          So it's a corporation that is
12   years. There is -- just to clarify, my              12   wholly owned by Viacom International,
13   father did write a little short history             13   Inc.?
14   of Warner Brother's Music or Warner                 14       Q Could I just -- I don't want
15   Chappell Music, which I did include in              15   to interrupt you, but I really just
16   the book. I added it, but it's about a              16   want to speed this up.
17   page or two long. And every other word              17          Who are the affiliated
18   in the book I wrote either through my               18   companies within Viacom?
19   own knowledge and research or through               19       A Well, I wanted to answer your
20   asking my father principle policies and             20   question because New Creative, Inc., is
21   licensing philosophies that he                      21   the company that these guys did the
22   developed over his many years as a                  22   deal with. If they did a -- so if they
23   music publisher.                                    23   did a deal with Warner Brothers -- if
24       Q I thought he had written a                    24   they did a deal with Universal Music,
25   book, no?                                           25   and Universal Music has a -- is owned
                                              Page 623                                                  Page 625
 1                    KOHN                                1                     KOHN
 2       A No. He's written some songs.                   2   by the same company that owns Universal
 3   He was an arranger. He never wrote a                 3   Pictures, it doesn't mean that
 4   book.                                                4   Universal Music, because it owns Works
 5       Q Your father never wrote a                      5   For Hire works that it can license
 6   book about licensing, music licensing?               6   their works to Universal Pictures for
 7       A No.                                            7   free.
 8       Q Okay.                                          8          And so what I'm trying to do
 9           The affiliated company                       9   by analogy is New Creative Mix cannot
10   problem you referred to, how does that              10   license any of the Viacom affiliated
11   manifest itself within the context of               11   entities; that is, their parent, their
12   this case as far as Viacom is                       12   subsidiaries, their sister companies,
13   concerned, to the best of your                      13   meaning other companies who are owned
14   understanding?                                      14   by Viacom, Inc., the parent of Viacom
15       A Okay.                                         15   Inc. They're all affiliated companies.
16           So the plaintiffs signed an                 16   They all have a direct financial
17   agreement with New Creative Mix, Inc.,              17   relationship.
18   which I understand is either a                      18          So it will be a conflict of
19   subsidiary or -- I don't know what you              19   interest for New Creative Mix to grant
20   call it, owned by either MTV Networks               20   to any of those affiliated companies a
21   or the entity that's now called MTV                 21   license that's not an arm's length
22   Networks. They changed the name.                    22   transaction to the best of it's ability
23       Q New Creative Mix, just to                     23   in good faith and nor could they
24   speed this up, is owned by Viacom                   24   transfer their rights to anyone who
25   International, Inc.?                                25   would do the same thing. Because their
                                                                                      157 (Pages 622 - 625)
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                                               Page 698                                              Page 700
 1                 KOHN                                    1                   KOHN
 2   13, correct?                                          2          Exhibit 10 is a printout from
 3      A I'll accept your                                 3   IMDB.com of all 20 episodes from the
 4   representation that it does.                          4   two seasons of the show Ain't That
 5      Q Okay.                                            5   America. And there are eight episodes
 6          So, in fact, your statement                    6   in Season 1 and there are 12 episodes
 7   that Viacom has not produced a                        7   in Season 2. Eleven is the 20 cue
 8   commensurate number of cue sheets for                 8   sheets corresponding to each of those
 9   the episodes aired with respect to                    9   episodes.
10   Jersey Shore, that's a false statement,              10          And you can take a look
11   right?                                               11   through and confirm that for me.
12      A I didn't find these when I                      12      A I accept your representation
13   was flipping through and looking for                 13   that these are what you just described.
14   that in the BMI statements that I have.              14      Q Okay.
15   I don't have paper copies, they're all               15      A Without going through every
16   PDFs. So I didn't see them.                          16   one of them.
17      Q But it's an incorrect                           17      Q So your statement that Viacom
18   statement, correct?                                  18   has not produced a commensurate number
19          MR. MARDEROSIAN: I am just                    19   of cue sheets for the episodes aired
20      going to object that it assumes                   20   with respect to the show Ain't That
21      facts not in evidence that these                  21   America is also incorrect, right?
22      cue sheets were submitted to BMI.                 22      A Apparently these are two
23      A Well, again, I -- they appear                   23   examples. I was given two examples and
24   to be cue sheets for those episodes.                 24   apparently -- if your representation is
25   The only one I looked at in detail was               25   correct that these represent every
                                               Page 699                                              Page 701
 1                 KOHN                                    1                    KOHN
 2   the first one.                                        2   single episode then that would be an
 3       Q Okay.                                           3   incorrect statement.
 4       A And there was a song that's                     4       Q Okay.
 5   in there, you know, that is the Rob and               5          Who gave these facts to you?
 6   Aron song -- an Aron and Rob song back                6       A I asked for two examples of
 7   there and The Young Heathens. It's                    7   missing cue sheets that would be
 8   there. I missed it.                                   8   familiar to people who are -- you know,
 9           MR. HWANG: Mark this as                       9   there's a lot of songs -- a lot of TV
10       Exhibit 10.                                      10   shows you can pick. I'm familiar with
11           (Printout from IMDB.com of                   11   Jersey Shore. I'm familiar with Ain't
12       all 20 episodes from the two                     12   That America. I recognize those. And
13       seasons of the show Ain't That                   13   they said these are two and they
14       America, was marked K Exhibit 10,                14   suggested that those are the two
15       for identification, as of this                   15   examples where cue sheets were missing.
16       date.)                                           16       Q They being -- they being the
17           (Cue sheets corresponding to                 17   plaintiffs?
18       K Exhibit 10, was marked K Exhibit               18       A Well, Mick, yes.
19       11, for identification, as of this               19       Q And these are the only two
20       date.)                                           20   examples within this category under
21           MR. HWANG: Exhibits K10 and                  21   Subsection B of Viacom's purported
22       K11.                                             22   failure to submit cue sheets to BMI,
23       Q Mr. Kohn, the reporter has                     23   correct?
24   handed you two separate exhibits,                    24       A I'm sorry, the only what?
25   Exhibits 10 and 11.                                  25       Q The two examples that you
                                                                                      176 (Pages 698 - 701)
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                                           Page 702                                              Page 704
 1                   KOHN                              1                 KOHN
 2   identity of instances where Viacom                2   that.
 3   failed to submit a sufficient number of           3      Q With respect to Ain't That
 4   cue sheets to BMI or Jersey Shore and             4   America, is it the same, you didn't go
 5   Ain't That America, right, in your                5   through the BMI statements for Robert
 6   entire report?                                    6   and Aron Marderosian to confirm whether
 7       A I think those are the two                   7   or not they received any public
 8   examples that I provided and they may             8   performance income with respect to the
 9   be the only ones; but, yes.                       9   20 episodes of that show?
10       Q And they're both incorrect,                10      A I didn't because I was
11   right?                                           11   operating under the assumption. I
12       A Looks like it.                             12   didn't see the cue sheets. I saw the
13       Q Do you know if the                         13   detections. I didn't go look at BMI
14   Marderosians received their writer               14   and I should have.
15   share of public performance royalties            15      Q And if, in fact, the
16   with respect to each of the 15 episodes          16   Marderosians received their writer
17   of Jersey Shore identified in your               17   share of public performance royalties
18   Footnote 13?                                     18   with respect to each of these 20
19       A Well, I have all of the                    19   episodes of Ain't That America and the
20   statements and if I went back and                20   15 episodes you identified for Jersey
21   looked I would be able to tell you.              21   Shore, that would necessarily mean that
22       Q Did you look?                              22   Viacom had submitted cue sheets for
23       A I was focused more on the                  23   each of those episodes to BMI, right?
24   detections on TuneSat, so I don't                24      A If, in fact, they got
25   remember looking at the BMI statements.          25   performance royalties in their
                                           Page 703                                              Page 705
 1                   KOHN                              1                   KOHN
 2   Or did I? I don't remember right now.             2   statements on these shows -- I don't
 3   I think I focused on the TuneSat                  3   know whether they have or not because I
 4   detections, that there were lots --               4   haven't looked at the statements. They
 5   they were missing cue sheets and there            5   might not have. I don't really know.
 6   were lots of performances. But I may              6          You represent to me that
 7   have missed going to the BMI statements           7   you've looked at the statements and you
 8   to check. They're very detailed and,              8   found monies paid to them for --
 9   as you know, looking for these are like           9   throughout this entire period.
10   a needle in a haystack. With                     10       Q I haven't represented that to
11   everything else that I was doing I               11   you, no.
12   wasn't going to go into that level of            12          MR. MARDEROSIAN: He said --
13   detail on this.                                  13       I don't remember him saying that.
14       Q So you didn't look at the BMI              14       A I'm asking him if he has,
15   statements to confirm that -- whether            15   so -- but I haven't seen it, so I can't
16   or not --                                        16   tell you that they have been paid
17       A No.                                        17   because I don't remember looking at the
18       Q Hold on.                                   18   BMI statements for that purpose. I
19          Whether or not the                        19   looked at them for other purposes but I
20   Marderosians received the writer share           20   don't recall doing that.
21   of public performance royalties with             21          I kind of may have jumped to
22   respect to each of the 15 episodes               22   the conclusion that since I couldn't
23   identified for Jersey Shore in your              23   find what you just showed me out of
24   Footnote 13, correct?                            24   thousands of BMI statements that were
25       A Yes. I don't remember doing                25   clogging up my hard disk, that there
                                                                                  177 (Pages 702 - 705)
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                                               Page 746                                               Page 748
 1                    KOHN                                 1                    KOHN
 2   upon who's manipulating the data and                  2       A That's a hypothetical that
 3   for what purpose.                                     3   you can ask. I'm not going to be
 4      Q Let me ask you this question:                    4   taking -- using Viacom -- using what
 5   Viewed in isolation, would these four                 5   you were trying to do in the context of
 6   cue sheets to you be an indication of                 6   everything else that's going on here.
 7   bad faith on the part of Viacom in its                7       Q I'm going to ask you -- I'm
 8   submission of cue sheets to BMI?                      8   going to ask you one more time. Okay?
 9          MR. MARDEROSIAN: That's the                    9          These four cue sheets viewed
10      same question. Asked and                          10   in isolation out of the hundreds of cue
11      answered.                                         11   sheets that Viacom submitted to BMI
12          I'm going to object. It                       12   listing one or more of the songs at
13      calls for a legal opinion and                     13   issue in this case, would you take
14      conclusion.                                       14   that -- do you take that as an
15      A I've answered that question.                    15   indicator of Viacom's bad faith in its
16      Q No, you answered a very                         16   cue sheet submission practices?
17   different question that you asked                    17          MR. MARDEROSIAN: I'm going
18   yourself.                                            18       to object. It calls for a legal
19          I'm asking you this narrow                    19       opinion and conclusion.
20   question. Viewed in isolation, would                 20       Q This is the last time I'm
21   the submission of these four cue                     21   going to ask this question and if you
22   sheets, out of the hundreds that Viacom              22   refuse to answer it will be noted.
23   submitted to BMI, be an indicator to                 23       A I've already answered the
24   you in your expert opinion of Viacom's               24   question.
25   bad faith in its submission of cue                   25       Q No, you gave me a totally
                                               Page 747                                               Page 749
 1                    KOHN                                 1                     KOHN
 2   sheets to BMI?                                        2   different hypothetical.
 3          MR. MARDEROSIAN: Object.                       3           MR. MARDEROSIAN: I'd like to
 4          It calls for a legal opinion                   4      finish my objection.
 5      and conclusion.                                    5      Q Are you refusing to answer my
 6      A Again, if you wanted to set                      6   question?
 7   up a hypothetical where a composer's                  7      A That was -- that was the
 8   name is incorrect on a cue sheet out of               8   second or third time I answered your
 9   thousands of cue sheets, and that's the               9   question.
10   only thing -- let's say it's Warner                  10           MR. MARDEROSIAN: I'd like to
11   Brothers Pictures, out of thousands of               11      finish my objection.
12   cue sheets they submitted to BMI -- or               12           It's an incomplete
13   Warners Brother's Television, out of                 13      hypothetical. And it's been asked
14   thousands of cue sheets they submitted               14      and answered and it's getting to
15   to BMI and they had one error that they              15      the point where it's harassment.
16   forgot to put a composer's name in or                16      Q Are you refusing to answer my
17   they either themselves had changed the               17   question?
18   name of the composer to something like               18      A I already answered your
19   Mix Tape or used somebody else's                     19   question.
20   metadata, in total isolation, in that                20      Q So the answer is yes,
21   hypothetical, you could say it sounded               21   you're --
22   like something that would not                        22      A You don't like the answer
23   necessarily bring about a accusation of              23   that's the only thing here.
24   bad faith.                                           24      Q So the answer is yes, you're
25      Q Okay.                                           25   refusing to answer my question?
                                                                                      188 (Pages 746 - 749)
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                                              Page 750                                                          Page 752
 1                                                        1
 2      A    I answered your question.                    2             CERTIFICATION
 3      Q    Okay.                                        3
                                                                 STATE OF NEW YORK )
 4          (Time noted: 1:47 a.m.)
                                                          4              ) ss.:
 5                                                               COUNTY OF NEW YORK )
 6                                                        5
 7                                                        6              I, JUDITH CASTORE, Shorthand Reporter
 8                                                        7          and Notary Public within and for the State
 9                                                        8          of New York, do hereby certify:
10                                                        9              That ROBERT H. KOHN, the witness
11                                                       10          whose deposition is hereinbefore set
12                                                       11          forth, was duly sworn by me and that this
                                                         12          transcript of such examination is a true
13                                                       13          record of the testimony given by such
14                                                       14          witness.
15                                                       15              I further certify that I am not
16                                                       16          related to any of the parties to this
17                                                       17          action by blood or marriage and that I am
18                                                       18          in no way interested in the outcome of
19                                                       19          this matter.
20                                                       20              IN WITNESS WHEREOF, I have hereunto
                                                         21          set my hand this 8th day of November,
21
                                                         22          2018.
22                                                       23
23                                                                              <%17436,Signature%>
24                                                       24                     JUDITH CASTORE
25                                                       25
                                              Page 751                                                          Page 753
 1                                                        1
                                                          2              INDEX
 2   STATE OF ______________ )                            3 WITNESS                            PAGE
                                                          4 ROBERT H. KOHN
 3              ) :ss                                     5   Examination by:
 4   COUNTY OF ______________)                            6       MR. ZAKARIN                       4
                                                                  MR. HWANG                       547
 5                                                        7
 6                                                        8            EXHIBITS
                                                          9
 7         I, ROBERT H. KOHN, the witness                10 K                             PAGE
 8   herein, having read the foregoing                   11 Exhibit 1 Expert Report of Bob Kohn, August 15
                                                                   17, 2018
 9   testimony of the pages of this deposition,          12 Exhibit 2 Blanket Composer Agreement          65
10   do hereby certify it to be a true and                         (Direct) dated as of May 19, 2010
                                                         13 Exhibit 3 March 7, 2011 Agreement          147
11   correct transcript, subject to the                     Exhibit 4 Excerpt from the book entitled, 201
12   corrections, if any, shown on the attached          14        Kohn On Music Licensing
                                                            Exhibit 5 Document entitled, Turner - BMI 339
13   page.                                               15        Music Performance License
14                                                                 Agreement
                                                         16 Exhibit 6 Excerpt from the book entitled, 493
15                ______________________                           Kohn On Music Licensing
16                  ROBERT H. KOHN                       17 Exhibit 7 Excerpts from the book entitled, 613
                                                                   Kohn On Music Licensing
17                                                       18 Exhibit 8 Form 8.2, Multi-Purpose Work For 631
18                                                                 Hire Agreement
                                                         19 Exhibit 9 Multi-page document containing     695
19                                                                 cue sheets
20   Sworn and subscribed to before me,                  20 Exhibit 10 Printout from IMDB.com of all 20 699
                                                                   episodes from the two seasons of
21   this ________ day of __________, 2018.              21        the show Ain't That America
22                                                          Exhibit 11 Cue sheets corresponding to K    699
                                                         22        Exhibit 10
23   _______________________________                        Exhibit 12 Document, Bates-stamped          730
24        Notary Public                                  23
                                                         24
                                                                   VIACOM_0000568 through 667

25                                                       25

                                                                                                 189 (Pages 750 - 753)
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                                                     Page 754
 1           INSTRUCTIONS TO WITNESS
 2
 3       Please read your deposition over carefully
 4   and make any necessary corrections. You should state
 5   the reason in the appropriate space on the errata
 6   sheet for any corrections that are made.
 7       After doing so, please sign the errata sheet
 8   and date it.
 9       You are signing same subject to the changes
10   you have noted on the errata sheet, which will be
11   attached to your deposition.
12       It is imperative that you return the original
13   errata sheet to the deposing attorney within thirty
14   (30) days of receipt of the deposition transcript by
15   you. If you fail to do so, the deposition transcript
16   may be deemed to be accurate and may be used in court.
17
18
19
20
21
22
23
24
25
                                                     Page 755
 1               ERRATA
 2
 3
 4
 5        I wish to make the following changes,
 6     for the following reasons:
 7
 8     PAGE LINE
 9     ___ ___ CHANGE:__________________________
10     REASON:___________________________________
11     ___ ___ CHANGE:__________________________
12     REASON:___________________________________
13     ___ ___ CHANGE:___________________________
14     REASON:___________________________________
15     ___ ___ CHANGE: __________________________
16     REASON:___________________________________
17     ___ ___ CHANGE: __________________________
18     REASON:___________________________________
19
20     _________________________ _____________
          ROBERT H. KOHN         DATE
21
22    SUBSCRIBED AND SWORN TO BEFORE
23    ME THIS ___DAY OF_______, 201 .
24
      __________________        __________________
25    NOTARY PUBLIC             COMMISSION EXPIRES

                                                                       190 (Pages 754 - 755)
                                             David Feldman Worldwide
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                 Federal Rules of Civil Procedure

                                 Rule 30



    (e) Review By the Witness; Changes.

    (1) Review; Statement of Changes. On request by the

    deponent or a party before the deposition is

    completed, the deponent must be allowed 30 days

    after being notified by the officer that the

    transcript or recording is available in which:

    (A) to review the transcript or recording; and

    (B) if there are changes in form or substance, to

    sign a statement listing the changes and the

    reasons for making them.

    (2) Changes Indicated in the Officer's Certificate.

    The officer must note in the certificate prescribed

    by Rule 30(f)(1) whether a review was requested

    and, if so, must attach any changes the deponent

    makes during the 30-day period.




    DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

    2016.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
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amended, with respect to Personally Identifiable
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                  Exhibit B(2)
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                                                       Page 1                                                  Page 3
·1                                                              ·1
·2·   ·UNITED STATES DISTRICT COURT                             ·2· ·A P P E A R A N C E S:
· ·   ·FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                ·3
·3·   ·--------------------------------------X
·4·   ·TWELVE SIXTY LLC, ARON MARDEROSIAN,                      ·4· · · ·MARDEROSIAN & COHEN,
· ·   ·and ROBERT MARDEROSIAN,                                  ·5· · · ·A Professional Corporation
·5
                                                                ·6· · · ·Attorneys for Plaintiffs
· ·   · · · · · · · Plaintiffs,
·6                                                              ·7· · · · · · ·1260 Fulton Street
· ·   · · · · · ·vs.· · · · · · · Civil Action No.              ·8· · · · · · ·Fresno, California· 93721
·7·   · · · · · · · · · · · · · · 1:17-CV-01479-PAC             ·9· · · ·BY:· ·MICHAEL G. MARDEROSIAN, ESQ.
·8·   ·EXTREME MUSIC LIBRARY LIMITED, a
                                                                10· · · · · · ·HEATHER S. COHEN, ESQ.
· ·   ·division of Sony/ATV Music Publishing;
·9·   ·EXTREME MUSIC LIMITED; VIACOM                            11
· ·   ·INTERNATIONAL INC., NEW CREATIVE                         12· · · ·PRYOR CASHMAN LLP
10·   ·MIX INC., HYPE PRODUCTION MUSIC,                         13· · · ·Attorneys for Defendants Extreme Music
11·   · · · · · · · Defendants.
                                                                14· · · ·Library Limited and Extreme Music Limited
12·   ·--------------------------------------X
13                                                              15· · · · · · ·7 Times Square
14                                                              16· · · · · · ·New York, New York· 10036
15·   ·   ·   ·   ·   ·   · · · · ·VOLUME II
                                                                17· · · ·BY:· ·DONALD S. ZAKARIN, ESQ.
16·   ·   ·   ·   ·   ·   ·CONTINUED DEPOSITION OF
17·   ·   ·   ·   ·   ·   · · · ·ROBERT H. KOHN                 18· · · · · · ·ROSS M. BAGLEY, ESQ.
18·   ·   ·   ·   ·   ·   · · ·New York, New York               19· · · · · · ·YEVGENIA S. KLEINER, ESQ.
19·   ·   ·   ·   ·   ·   · Friday, November 2, 2018            20
20
                                                                21
21
22                                                              22
23                                                              23
24·   ·Reported by:                                             24
· ·   ·JOAN WARNOCK
                                                                25
25·   ·JOB NO. J3015335A

                                                       Page 2                                                  Page 4
·1                                                              ·1
·2                                                              ·2· ·A P P E A R A N C E S:· (Cont'd.)
·3· · · · · · · · · November 2, 2018                            ·3
·4· · · · · · · · · 9:10 a.m.                                   ·4· · · ·LOEB & LOEB LLP
·5                                                              ·5· · · ·Attorneys for Defendants Viacom
·6· · · · VOLUME II - Continued deposition of                   ·6· · · ·International Inc., New Creative
·7· ·ROBERT H. KOHN, held at the offices of                     ·7· · · ·Mix Inc., and Hype Production Music
·8· ·Pryor Cashman LLP, 7 Times Square,                         ·8· · · · · · ·345 Park Avenue
·9· ·New York, New York, pursuant to Notice,                    ·9· · · · · · ·New York, New York· 10154
10· ·before Joan Warnock, a Notary Public of                    10· · · ·BY:· ·WOOK J. HWANG, ESQ.
11· ·the State of New York.                                     11· · · · · · ·ERIN SMITH DENNIS, ESQ.
12                                                              12
13                                                              13
14                                                              14· ·ALSO PRESENT:
15                                                              15· · · ·DAVID J. PRZYGODA, SONY CORPORATION OF
16                                                              16· ·AMERICA
17                                                              17· · · ·BARRY MASSARSKY
18                                                              18
19                                                              19
20                                                              20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25
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                                           Page 5                                              Page 7
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·R O B E R T· ·H.· ·K O H N, called as a         ·2· · · · Q.· ·So other than in the case of direct
·3· · · ·witness, having been duly sworn by          ·3· ·public performance licenses, there's no
·4· · · ·a Notary Public, was examined and           ·4· ·obligation from Viacom, New Creative, or
·5· · · ·testified further as follows:               ·5· ·Extreme to pay any public performance
·6· · · · · · ·COURT REPORTER:· Please state your    ·6· ·royalties to the Marderosians; correct?
·7· · · · name for the record.                       ·7· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls
·8· · · · · · ·THE WITNESS:· Robert H. Kohn.         ·8· · · · for a legal conclusion.
·9· ·EXAMINATION (Cont'd.)                           ·9· · · · A.· ·They have an obligation to pay BMI.
10· ·BY MR. HWANG:                                   10· ·BMI pays the Marderosians.
11· · · · Q.· ·Good morning, Mr. Kohn.               11· · · · Q.· ·Okay.· And that payment to BMI from
12· · · · A.· ·Good morning.                         12· ·Viacom would be in the form of a blanket
13· · · · Q.· ·You recall the instructions from      13· ·license fee?
14· ·yesterday?                                      14· · · · A.· ·Yes.
15· · · · A.· ·The instructions?                     15· · · · Q.· ·Pursuant to the separate agreement
16· · · · Q.· ·Yes.· The instructions, namely,       16· ·between BMI and Viacom --
17· ·that we shouldn't speak over each other?        17· · · · A.· ·That's correct.
18· · · · A.· ·Oh, the admonitions.                  18· · · · Q.· ·-- correct?
19· · · · Q.· ·Right.                                19· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls
20· · · · A.· ·Yes.                                  20· · · · for a legal opinion.
21· · · · Q.· ·Let's try not to do that for the      21· · · · Q.· ·Have you undertaken any analysis to
22· ·sake of the reporter.· So, Mr. Kohn,            22· ·determine how much the Marderosians were
23· ·throughout your report you raised several       23· ·purportedly underpaid in the writer's share
24· ·instances in which -- several bases for         24· ·of public performance income?
25· ·contending that the Marderosians may not have   25· · · · A.· ·No.· I was not asked to opine on
                                           Page 6                                              Page 8
·1· · · · · · · · · R. Kohn                        ·1· · · · · · · · · R. Kohn
·2· ·received their full entitlement to public     ·2· ·that.
·3· ·performance royalties.· Is that an accurate   ·3· · · · Q.· ·So you don't actually know if they
·4· ·characterization?                             ·4· ·were underpaid?
·5· · · · A.· ·May not have received their --      ·5· · · · A.· ·There's enough evidence that I've
·6· ·okay.· Yes.                                   ·6· ·seen in this case that suggest they were
·7· · · · Q.· ·From BMI; right?                    ·7· ·underpaid.
·8· · · · A.· ·Yeah.· Well, may not have received  ·8· · · · Q.· ·But you don't know how much?
·9· ·their public performance royalties.           ·9· · · · A.· ·I don't know how much.
10· · · · Q.· ·There's no obligation from Viacom,  10· · · · Q.· ·And you're not opining on how much?
11· ·New Creative, or Extreme to pay the public    11· · · · A.· ·No.· That's correct.· I mean yes, I
12· ·performance royalties; right?                 12· ·am not opining on how much.
13· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls 13· · · · Q.· ·If the Marderosians weren't paid
14· · · · for a legal conclusion.                  14· ·public performance income for a particular
15· · · · A.· ·Well, to the extent they issued     15· ·use, does that necessarily mean that a cue
16· ·direct performance licenses, they need to do 16· ·sheet wasn't submitted to BMI?
17· ·that.                                         17· · · · · · ·MR. MARDEROSIAN:· Objection.
18· · · · Q.· ·As a share of the gross receipts,   18· · · · Incomplete hypothetical.
19· ·as that term is defined --                    19· · · · A.· ·I agree with that.· I agree that
20· · · · A.· ·As gross receipts, right.           20· ·it's an incomplete hypothetical.· Does it
21· · · · Q.· ·As that term is defined in the 2011 21· ·necessarily mean?
22· ·--                                            22· · · · Q.· ·Someone's going to have to explain
23· · · · A.· ·Yes.                                23· ·to me what that is at some point.· But go
24· · · · Q.· ·-- Composer Agreement?              24· ·ahead.
25· · · · A.· ·Yes.                                25· · · · A.· ·There was a song -- well, you'll
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                                          Page 37                                              Page 39
·1· · · · · · · · · R. Kohn                        ·1· · · · · · · · · R. Kohn
·2· ·royalties can be traced back to the failure   ·2· · · · · · ·MR. ZAKARIN:· Actually, I'm not
·3· ·to timely register work with BMI?             ·3· · · · trying to intimidate --
·4· · · · · · ·MR. MARDEROSIAN:· Wook, I think he ·4· · · · · · ·MR. MARDEROSIAN:· Well, your facial
·5· · · · answered the question.                   ·5· · · · reaction is a manifestation --
·6· · · · · · ·MR. HWANG:· Objection noted.        ·6· · · · A.· ·I do know that Dan Pounder said in
·7· · · · A.· ·What I could say is that I might    ·7· ·his deposition, and this is true, that they
·8· ·have seen it in the course of the past eight  ·8· ·started using TuneSat in 2008.· They weren't
·9· ·months of working on this case.· Sitting here ·9· ·using it for the purposes of usage, which
10· ·right now, I would need something to refresh 10· ·they could have.· They were using it for
11· ·my recollection if I knew it at some point,   11· ·other purposes.· So Extreme is sitting with
12· ·but right now I can't point to you a missing  12· ·the data today that would help me make the
13· ·payment in a BMI statement, all right, that   13· ·determination as to whether there were
14· ·could be traced to a specific eleven-month    14· ·detections on TuneSat that were a direct
15· ·delay in registrations when those works were 15· ·result of the late registration.
16· ·being broadcast.                              16· · · · Q.· ·Okay.
17· · · · Q.· ·Okay.                               17· · · · A.· ·And I have not done it because I
18· · · · A.· ·I mean it's -- go ahead.· Go ahead. 18· ·don't -- I wasn't asked to do it, and we
19· · · · Q.· ·Direct your attention to --         19· ·haven't been given the data necessary to do
20· · · · A.· ·I would have --                     20· ·it, because we don't have the data.· We only
21· · · · Q.· ·-- page 45 of your report.          21· ·have data going back to 2013.
22· · · · · · ·MR. MARDEROSIAN:· Was there         22· · · · Q.· ·Okay.· Let me direct your attention
23· · · · something else you wanted to add?        23· ·to page 45 of your report.· Are you there?
24· · · · · · ·THE WITNESS:· Yeah.                 24· · · · A.· ·45.· Yes, I'm here.
25· · · · A.· ·I'm trying to think about -- you    25· · · · Q.· ·There's a paragraph that reads,
                                          Page 38                                              Page 40
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·asked me could that be done.· It could be       ·2· ·"The retitling mess compounded the
·3· ·done, but you would have to go back and get     ·3· ·registration problems," dot dot dot, "and
·4· ·the TuneSat data from 2010 to 2011 or the       ·4· ·ultimately Aron and Robert's writer share of
·5· ·TuneSat data on all of these broadcasts,        ·5· ·public performance royalties."· Do you see
·6· ·right, all these public performances during     ·6· ·that?
·7· ·the time frame that the registrations were      ·7· · · · A.· ·Well, read the dot, dot, dot.· So
·8· ·delayed in order to perform that.· Now,         ·8· ·it says from the beginning of the sentence,
·9· ·Extreme has the data.· I mean in                ·9· ·"The retitling mess compounded the
10· ·Mr. Massarsky's report there's a chart that     10· ·registration problems, including the
11· ·shows that giving us data, a summary chart      11· ·inexcusable delay in registrations, and may
12· ·going back two years.· But according to Dan     12· ·have affected the accuracy of cue sheets and
13· ·Pounder's deposition, he says that they've      13· ·ultimately Aron and Robert's writer's share
14· ·been using TuneSat dating back to 2008.· So     14· ·of public performance royalties discussed
15· ·Extreme has all of the broadcast data           15· ·below."· Go ahead.
16· ·necessary in order for me to answer your        16· · · · Q.· ·Okay.· I'm glad you read that,
17· ·question, but that hasn't been produced in      17· ·because I read a sentence fragment.· So if I
18· ·this litigation.· And I do believe it's been    18· ·can just focus on the retitling mess that you
19· ·asked.· Don just said it's not true.            19· ·you're referring to here.
20· · · · · · ·THE WITNESS:· But what is not true?   20· · · · A.· ·Yes.
21· · · · Q.· ·Okay.· Let's --                       21· · · · Q.· ·In sum and substance, you're saying
22· · · · · · ·MR. MARDEROSIAN:· Don't worry.        22· ·the retitling mess may have affected
23· · · · He's shaking his head.· He's just trying   23· ·adversely Aron and Robert's receipt of the
24· · · · to intimidate you.· Don't worry about      24· ·writer's share of public performance income?
25· · · · it.                                        25· · · · A.· ·Right.
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                                          Page 41                                              Page 43
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· · · · Q.· ·So when you say may, you don't        ·2· ·version and could have resulted in the
·3· ·actually know if it did; right?                 ·3· ·original payment of the Land Rover royalties
·4· · · · A.· ·Well, the evidence shows --           ·4· ·to Phoenix and Bergerson, which were the
·5· · · · · · ·MR. MARDEROSIAN:· Again, it's         ·5· ·result of, I believe, their being misnamed in
·6· · · · calling for speculation again.· Same       ·6· ·cue sheets that caused the misdirection of
·7· · · · reasons as before.                         ·7· ·those performance royalties.
·8· · · · · · ·MR. HWANG:· The reason I'm calling    ·8· · · · Q.· ·Okay.· Other than the Land Rover
·9· · · · for speculation is because he's            ·9· ·example, is there any other example that you
10· · · · speculating in his report.                 10· ·can identify?
11· · · · · · ·MR. MARDEROSIAN:· No.· Not true.      11· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls
12· · · · Q.· ·Go ahead.                             12· · · · for speculation.
13· · · · · · ·MR. MARDEROSIAN:· It's because the    13· · · · A.· ·I might have seen others, but
14· · · · data's available but you haven't           14· ·nothing comes to mind right now.
15· · · · produced it to show that these             15· · · · Q.· ·They're not identified in your
16· · · · nonpayments are due to Russell's           16· ·report either, right, other than the Land
17· · · · retitling of the songs.                    17· ·Rover example?
18· · · · Q.· ·When you say the retitling --         18· · · · A.· ·My report speaks for itself. I
19· · · · · · ·MR. MARDEROSIAN:· But I don't think   19· ·don't want to start reading it.
20· · · · I have to prove that for breach of         20· · · · Q.· ·But sitting here today, you can't
21· · · · contract in any event.· I just have to     21· ·identify any others?
22· · · · show other issues.                         22· · · · A.· ·Sitting here right now, that's the
23· · · · · · ·MR. HWANG:· We know you think you     23· ·one that comes to mind.
24· · · · have no burden of proof in this case.      24· · · · Q.· ·That's the only one that comes to
25· · · · · · ·MR. MARDEROSIAN:· No.· I didn't say   25· ·mind; right?
                                          Page 42                                              Page 44
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· · · · that.· You're misquoting me.               ·2· · · · · · ·MR. MARDEROSIAN:· Object.· It calls
·3· · · · Q.· ·The retitling mess may have           ·3· · · · for speculation.· Incomplete
·4· ·adversely affected Aron and Robert's receipt    ·4· · · · hypothetical.
·5· ·of the writer's share of public performance     ·5· · · · Q.· ·Please speculate as to what comes
·6· ·royalties.· That's what this says,              ·6· ·to mind.
·7· ·effectively; right?                             ·7· · · · · · ·MR. MARDEROSIAN:· Sorry?
·8· · · · A.· ·Yes, that's what it -- it says what   ·8· · · · Q.· ·I said please speculate as to what
·9· ·it says.                                        ·9· ·comes to your mind.
10· · · · Q.· ·Are you aware of a single instance    10· · · · · · ·MR. MARDEROSIAN:· He's not going to
11· ·in which the quote, unquote, retitling mess     11· · · · speculate.
12· ·can be traced as the cause of Aron and          12· · · · A.· ·I'm not going to speculate.
13· ·Robert's non-receipt of any public              13· · · · Q.· ·That was a rhetorical question.
14· ·performance royalties?                          14· ·I'm not asking you to speculate.· I'm asking
15· · · · · · ·MR. MARDEROSIAN:· I'm going to        15· ·you what's in your head right now.
16· · · · object.· It calls for speculation.         16· · · · A.· ·What's in my head right -- you've
17· · · · Incomplete hypothetical.                   17· ·asked --
18· · · · A.· ·In my opinion, the failure to         18· · · · · · ·MR. MARDEROSIAN:· Hold on.· The
19· ·retitle Mulholland Drive, which was a           19· · · · question is vague, overbroad.· You're
20· ·duplicate of another song in the Extreme        20· · · · asking him to speculate.· It's an
21· ·catalog, could ultimately have resulted in      21· · · · incomplete hypothetical.
22· ·people requesting Mulholland Drive for          22· · · · Q.· ·That's the only example, the Land
23· ·synchronization and using the Phoenix           23· ·Rover example is the only example that comes
24· ·Bergerson, I don't know how to spell            24· ·to mind sitting here today as to an instance
25· ·Bergerson, version instead of Rob and Aron's    25· ·in which you believe the quote, unquote,
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                                          Page 45                                              Page 47
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·retitling mess can be traced as the cause of    ·2· ·generated, would probably be generated for a
·3· ·any non-receipt of public performance           ·3· ·song that was subject to a direct performance
·4· ·royalties to Aron and Robert; correct?          ·4· ·license.
·5· · · · · · ·MR. MARDEROSIAN:· I'm going to        ·5· · · · Q.· ·Okay.· In which case there's no
·6· · · · object.                                    ·6· ·harm to a composer; right?· They would still
·7· · · · Q.· ·Correct?                              ·7· ·receive the writer's share of the public
·8· · · · · · ·MR. MARDEROSIAN:· I'm going to        ·8· ·performance royalties with respect to the
·9· · · · object.· You're asking him to speculate.   ·9· ·song as to which a direct public performance
10· · · · It's an incomplete hypothetical.· You      10· ·license had been granted under your
11· · · · want him to identify a specific            11· ·hypothetical; correct?
12· · · · nonpayment due to a retitling issue.       12· · · · A.· ·I'm not certain about that.· That
13· · · · And that's asking him to speculate.· And   13· ·depends upon BMI's systems in this case or
14· · · · it's an incomplete hypothetical.           14· ·ASCAP's systems in terms of whether it knows
15· · · · A.· ·That comes to mind as we discussed    15· ·that a song was subject to a direct
16· ·it yesterday, and it's very foremost in my      16· ·performance license or not.
17· ·mind, and that's the one that's in my mind      17· · · · Q.· ·Okay.· Let me make this clear. A
18· ·right now.· I can't think of any others right   18· ·direct public performance license means with
19· ·now.                                            19· ·respect to any particular song, that it
20· · · · Q.· ·Okay.· That's good enough.· Let's     20· ·doesn't have to be reported on a cue sheet to
21· ·move on to the direct public performance        21· ·BMI.· Is that your understanding?
22· ·licenses.                                       22· · · · · · ·MR. MARDEROSIAN:· I'm going to
23· · · · A.· ·Okay.                                 23· · · · object.· It's vague.· It's an incomplete
24· · · · Q.· ·For the sake of speeding this up --   24· · · · hypothetical.
25· ·well, you know what, I don't want to do that.   25· · · · A.· ·I don't know what BMI and ASCAP's
                                          Page 46                                              Page 48
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· · · · · · ·MR. MARDEROSIAN:· Well, it's 9:54.    ·2· ·policies are with respect to that, because
·3· · · · How much more time do you estimate here?   ·3· ·their contracts say that you must -- it
·4· · · · · · ·MR. HWANG:· Let's go off the          ·4· ·doesn't say in here -- well, I'd have to read
·5· · · · record.                                    ·5· ·this entire contract again, but I --
·6· · · · · · ·(Discussion off the record.)          ·6· · · · Q.· ·Mr. Kohn, you're aware of the
·7· · · · Q.· ·So, Mr. Kohn, when a licensee has a   ·7· ·consent decree; right?· You talked about that
·8· ·direct public performance license, that         ·8· ·yesterday?
·9· ·obviates the need to submit cue sheets to       ·9· · · · A.· ·Oh, but that's completely -- yeah.
10· ·BMI.· Is that an accurate statement?            10· ·So you want to go back to music publishers
11· · · · A.· ·It should.· Well, let me rephrase     11· ·and music --
12· ·that.· I think the answer is no, because, let   12· · · · Q.· ·No, no, I don't want to go back. I
13· ·me explain why, when you have a program,        13· ·want to --
14· ·let's say it has, and I'm creating a            14· · · · A.· ·Okay, then don't.
15· ·hypothetical, that's got ten musical works in   15· · · · Q.· ·-- streamline this.
16· ·it.· Only one of the songs might be subject     16· · · · A.· ·It's totally irrelevant to what I'm
17· ·to a direct performance license.· So a cue      17· ·saying.
18· ·sheet would probably be generated for the       18· · · · Q.· ·You're opining on the negative
19· ·purposes of that program to include not only    19· ·adverse effect of a purported direct public
20· ·the nine songs that are in the program that     20· ·performance license that you think has been
21· ·are not subject to a direct performance         21· ·granted to Viacom.· Is that an accurate
22· ·license, but would also include a song that     22· ·statement as to the contents of your report?
23· ·is subject to a direct performance license.     23· · · · A.· ·The contents of my report, Viacom
24· ·I don't think the systems are -- well,          24· ·was -- had received clearly a direct blanket
25· ·whatever.· So I think a cue sheet would be      25· ·synchronization license to everything covered
  Case 1:17-cv-01479-PAC Document 146-2 Filed 03/11/19 Page 86 of 88



                                         Page 113                                             Page 115
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· · · · Q.· ·Teenage Vamps.                        ·2· · · · asked him a question.
·3· · · · A.· ·Not on Teenage Vamps, but on          ·3· · · · A.· ·Based on everything I've seen in
·4· ·Mulholland Drive --                             ·4· ·this case, I have asked for and I have not
·5· · · · Q.· ·That's the only question.· Did I      ·5· ·seen the royalty statements that Russell
·6· ·ask you about Mulholland Drive?                 ·6· ·Emanuel and under all of his aliases have
·7· · · · A.· ·I saw 60 pages of Mulholland Drive    ·7· ·received through ASCAP, PRS so I can make an
·8· ·promotional announcements that Bayham was       ·8· ·absolute determination which composers
·9· ·paid on, and they were not paid.· And when I    ·9· ·received those royalties.· And if you would
10· ·see 60 pages where Bayham is paid and are       10· ·show us those and be transparent about it,
11· ·clearly identified and associated with the      11· ·and perhaps Sony ATV might be very interested
12· ·plaintiffs and not in the BMI statements, the   12· ·in knowing whether that's the case, because
13· ·only thing I can imagine is that there are      13· ·if it turns out to be the case, we all have
14· ·other composers who were paid on those works.   14· ·problems.
15· ·That's what I was focused on.· Teenage Vamps    15· · · · Q.· ·Okay.· Now that you just finished
16· ·was just a matter of the fact that you          16· ·that long statement, the question was not
17· ·provided a report that didn't include it.       17· ·what you didn't see, what you didn't get to
18· · · · Q.· ·Is it possible you have a limited     18· ·see, whether you were entitled to see it.· My
19· ·imagination?                                    19· ·question was much simpler.
20· · · · A.· ·I think that's an insulting           20· · · · A.· ·I answered your question.
21· ·question.                                       21· · · · Q.· ·Then what was the speech for?
22· · · · Q.· ·I'll withdraw the question.· You      22· · · · A.· ·That was my answer.
23· ·just said the only thing that you can imagine   23· · · · Q.· ·I don't think I asked anything
24· ·is that there was some, you know, some change   24· ·relating to that.
25· ·in the data or it was misdirected; is that      25· · · · · · ·MR. ZAKARIN:· I have no further
                                         Page 114                                             Page 116
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·right?                                          ·2· · · · questions.
·3· · · · A.· ·It's a figure of speech.· I said      ·3· · · · · · ·MR. MARDEROSIAN:· Thank you, Don.
·4· ·earlier --                                      ·4· · · · Are we done?
·5· · · · Q.· ·Oh.· It's a figure of speech when     ·5· · · · · · ·MR. HWANG:· Close it out.
·6· ·you say it's the only thing you can imagine.    ·6· · · · · · ·MR. MARDEROSIAN:· Same stipulation
·7· ·Let me just try it.· Other --                   ·7· · · · as we reached with the other experts
·8· · · · · · ·MR. MARDEROSIAN:· You're getting      ·8· · · · where I get the original, notify you of
·9· · · · argumentative, Don.· Argumentative.        ·9· · · · any changes.· We good with that?
10· · · · Q.· ·Are there other possibilities that    10· · · · · · ·MR. ZAKARIN:· Yes.
11· ·you could imagine, Mr. Kohn?                    11· · · · · · ·(Time noted:· 11:00 a.m.)
12· · · · · · ·MR. MARDEROSIAN:· He's not going to   12
13· · · · speculate.· He's not going to speculate.   13
14· · · · · · ·MR. ZAKARIN:· That's all he's done    14
15· · · · today.                                     15· · · · · · · · · · · ·____________________
16· · · · · · ·MR. MARDEROSIAN:· Incorrect.          16· · · · · · · · · · · ·ROBERT H. KOHN
17· · · · That's an argumentative and insulting      17
18· · · · statement.· And I object to that.          18· ·Subscribed and sworn to before me
19· · · · · · ·MR. ZAKARIN:· It's an accurate        19· ·this ___ day of __________, 2018.
20· · · · statement.                                 20
21· · · · A.· ·I would like to see, given what --    21· ·_________________________________
22· · · · · · ·MR. MARDEROSIAN:· It's based on the   22
23· · · · evidence that you've produced in the       23
24· · · · case.                                      24
25· · · · · · ·MR. ZAKARIN:· I understand.· I've     25
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                                            Page 117                                                  Page 119
·1                                                     ·1
·2· · · · · · · ·C E R T I F I C A T E                 ·2· ·Deposition
·3· ·STATE OF NEW YORK· · · · ·)                       ·3· ·EXHIBIT K-16· · · · · · · · · · · · ·80
·4· · · · · · · · · · · · : ss.                        ·4· ·Subextract taken from extract
·5· ·COUNTY OF WESTCHESTER· · ·)                       ·5· ·produced by Extreme, Exhibit 8 to
·6                                                     ·6· ·Katz Deposition
·7· · · · · · ·I, JOAN WARNOCK, a Notary Public        ·7· ·EXHIBIT K-17· · · · · · · · · · · · ·87
·8· · · · within and for the State of New York, do     ·8· ·Spread sheet produced by Extreme
·9· · · · hereby certify:                              ·9· ·setting forth performance value of
10· · · · · · ·That ROBERT H. KOHN, the witness        10· ·Aron and Robert's songs compared to
11· · · · whose deposition is hereinbefore set         11· ·other songs
12· · · · forth, was duly sworn by me and that         12· ·EXHIBIT K-18· · · · · · · · · · · · ·92
13· · · · such deposition is a true record of the      13· ·Six-page document beginning with
14· · · · testimony given by the witness.              14· ·Bates stamp Extreme 0083277,
15· · · · · · ·I further certify that I am not         15· ·Excerpts of Semiannual Statements
16· · · · related to any of the parties to this        16
17· · · · action by blood or marriage, and that I      17
18· · · · am in no way interested in the outcome       18
19· · · · of this matter.                              19
20· · · · · · ·IN WITNESS WHEREOF, I have hereunto     20
21· · · · set my hand this 8th day of November,        21
22· · · · 2018.                                        22
23                                                     23
24· · · · · · · · · · · ·_____________________         24
25· · · · · · · · · · · ·JOAN WARNOCK                  25

                                            Page 118                                                  Page 120
·1                                                     ·1· · · · · DEPOSITION ERRATA SHEET
·2· ·------------------ I N D E X ----------------     ·2
·3· ·WITNESS· · · · · EXAMINATION BY· · · · ·PAGE      ·3· ·Our Assignment No.:· J3015335A
·4· ·R. Kohn· · · · · Mr. Hwang· · · · · · · · ·5      ·4· ·Case Caption:· Twelve Sixty LLC vs. Extreme
·5· · · · · · · · · · Mr. Marderosian· · · · · 78      ·5· ·Music Library Limited
·6· · · · · · · · · · Mr. Hwang· · · · · · · · 96      ·6
·7· · · · · · · · · · Mr. Zakarin· · · · · · ·106      ·7· · · ·DECLARATION UNDER PENALTY OF PERJURY
·8                                                     ·8
·9· ·------------ INFORMATION REQUESTS -----------     ·9· · · · · · ·I declare under penalty of perjury
10· ·DIRECTIONS:                                       10· ·that I have read the entire transcript of my
11· ·RULINGS:                                          11· ·Deposition taken in the captioned matter or
12· ·TO BE FURNISHED:                                  12· ·the same has been read to me, and the same is
13· ·REQUESTS:                                         13· ·true and accurate, save and except for
14· ·MOTIONS:                                          14· ·changes and/or corrections, if any, as
15                                                     15· ·indicated by me on the DEPOSITION ERRATA
16· ·------------------- EXHIBITS ----------------     16· ·SHEET hereof, with the understanding that I
17· ·DEFENDANTS'· · · · · · · · · · · · · FOR ID.      17· ·offer these changes as if still under oath.
18· · EXHIBIT K-13· · · · · · · · · · · · ·64          18· · · · · · · · · · · · _______________________
19· · Expert Report of Roger Miller                    19· · · · · · · · · · · · ·Robert H. Kohn
20· · EXHIBIT K-14· · · · · · · · · · · · ·73          20· ·Subscribed and sworn to on the ____ day of
21· · First Amended Complaint for Damages              21· ·___________, 20 ____ before me.
22· · and Demand for Jury Trial                        22· ·_______________________________
23· · EXHIBIT K-15· · · · · · · · · · · · ·79          23· ·Notary Public,
24· · Document Bates stamped Extreme                   24· ·in and for the State of
25· · 0006585, Exhibit 7 to Mr. Katz's                 25· ·_________________________.
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·1· · · · · DEPOSITION ERRATA SHEET
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10· ·Reason for change:___________________________
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19· ·Reason for change:___________________________
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21· ·_____________________________________________
22· ·Reason for change:___________________________
23
24· ·SIGNATURE:____________________DATE:__________
25· · · · · · · ·Robert H. Kohn

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19· ·Reason for change:___________________________
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21· ·_____________________________________________
22· ·Reason for change:___________________________
23
24· ·SIGNATURE:____________________DATE:__________
25· · · · · · · ·Robert H. Kohn
